                                 Case 23-18093-MAM                   Doc 1       Filed 10/03/23            Page 1 of 157


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Molekule, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  10455 Riverside Drive, Suite 100
                                  Palm Beach Gardens, FL 33410
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Palm Beach                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.molekule.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                 Case 23-18093-MAM                      Doc 1         Filed 10/03/23              Page 2 of 157
Debtor    Molekule, Inc.                                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                   Case 23-18093-MAM                           Doc 1       Filed 10/03/23              Page 3 of 157
Debtor    Molekule, Inc.                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                          Case 23-18093-MAM              Doc 1       Filed 10/03/23           Page 4 of 157
Debtor   Molekule, Inc.                                                            Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                Case 23-18093-MAM                    Doc 1         Filed 10/03/23             Page 5 of 157
Debtor    Molekule, Inc.                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 3, 2023
                                                  MM / DD / YYYY


                             X /s/ Ryan Tyler                                                             Ryan Tyler
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X /s/ Bradley S. Shraiberg                                                    Date October 3, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Bradley S. Shraiberg 121622
                                 Printed name

                                 Shraiberg Page PA
                                 Firm name

                                 2385 NW Executive Center Dr
                                 Suite 300
                                 Boca Raton, FL 33431
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     561 443 0800                  Email address      bss@slp.law

                                 121622 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 6 of 157
                                Case 23-18093-MAM                     Doc 1         Filed 10/03/23                Page 7 of 157


 Fill in this information to identify the case:
 Debtor name Molekule, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 ALOM Technologies                                                                                                                                             $242,067.07
 Corp
 ALOM - Fremont
 44660 Osgood Rd
 Fremont, CA 94539
 Amazon                                                                                                                                                        $149,619.69
 Advertising, LLC
 P.O. Box 81207
 Seattle, WA
 98108-1207
 Capgemini America,                                                                                                                                            $428,400.00
 Inc
 79 Fifth Ave
 Third Floor
 New York, NY 10003
 Citrin Cooperman                                                                                                                                              $255,500.00
 529 Fifth Ave
 New York, NY 10017
 Columbus                                                                                                                                                      $822,709.37
 Industries Texas,
 LLP
 Columbus
 Industries Inc
 2938 State Route
 752
 P.O. Box 257
 Amanda, OH 43102
 Dandelion, Inc                                                                                                                                                $727,239.71
 211 Yonge St
 Suite 400
 Toronto, ON M5B
 1M4
 Employee Wages                                                                                                                                                $614,847.94




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                                Case 23-18093-MAM                     Doc 1         Filed 10/03/23                Page 8 of 157



 Debtor    Molekule, Inc.                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Fenwick & West,                                                               Disputed                                                                          $87,049.42
 LLP
 P.O. Box 742814
 Los Angeles, CA
 90074-2814
 Goldfarb Gross                                                                                                                                                $117,153.11
 Seligman & Co.
 98 Yigal Alon Street
 Tel Aviv, Israel
 6789141
 Inventec Appliances                                                                                                                                             $65,520.00
 Corporation
 37 Wugong 5th
 Rd,Industrial Park
 Wugu Di
 New Taipei, 24890
 Taiwan
 Mack Molding                                                                  Disputed                                                                      $3,529,065.34
 Company, Inc
 608 Warm Brook Rd
 Arlington, VT 05250
 Marbury Law Group                                                                                                                                               $47,149.09
 11800 Sunrise
 Valley Dr
 Floor 15
 Reston, VA 20191
 Meta Platforms, Inc                                                                                                                                           $396,636.72
 Facebook, Inc
 Attn: Accounts
 Receivable
 15161 Collections
 Center Dr
 Chicago, IL 60693
 Mirriad, Inc                                                                                                                                                  $100,000.00
 96 Great Suffolk St
 London, SE1 0BE
 England
 Narvar, Inc                                                                   Disputed                                                                          $58,250.00
 50 Beale St
 7th Floor
 San Francisco, CA
 94105
 Oracle                                                                                                                                                          $92,019.05
 500 Oracle Pkwy
 Redwood City, CA
 94065
 PricewaterhouseCo                                                                                                                                             $415,000.00
 opers, LLP
 4040 West Boy
 Scout Blvd
 Tampa, FL 33607



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                                Case 23-18093-MAM                     Doc 1         Filed 10/03/23                Page 9 of 157



 Debtor    Molekule, Inc.                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Silicon Valley Bank,                                                                                 $30,000,000.00              $4,064,302.18            $25,935,697.82
 a Division of
 First Citizens Bank
 and Trust
 3003 Tasman Dr,
 HF150
 Santa Clara, CA
 95054
 TELUS International                                                                                                                                             $91,128.72
 (US) Corp
 TELUS Customer
 Payments
 2251 South Decatur
 Las Vegas, NV
 89102
 Toppan Merrill                                                                                                                                                $126,170.00
 P.O. Box 74007295
 Chicago, IL 60674




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
                                        Case 23-18093-MAM                                      Doc 1               Filed 10/03/23                        Page 10 of 157

 Fill in this information to identify the case:

 Debtor name            Molekule, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       11,592,471.38

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       11,592,471.38


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       37,528,259.19


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           758,013.88

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        8,666,636.72


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         46,952,909.79




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                             Case 23-18093-MAM                   Doc 1       Filed 10/03/23            Page 11 of 157

Fill in this information to identify the case:

Debtor name         Molekule, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   SVB Bank Account
                   Checking - #6638
                   Collateral MMA - #8581
                   Direct Customer Collection - #7553
                   Operating - #6387
          3.1.     SVB Cash Sweep - #9301                            Business Accounts                                                           $746,641.80



                   First Republic Account
          3.2.     Aeroclean Technologies, LLC                       Business Checking                     7012                                     $4,779.33




          3.3.     SVB Bank Account                                  EUR Business Account                  0702                                             $0.00




          3.4.     SVB Bank Account                                  GBP Business Account                  3097                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $751,421.13
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                               Case 23-18093-MAM                 Doc 1        Filed 10/03/23           Page 12 of 157

Debtor           Molekule, Inc.                                                           Case number (If known)
                 Name



      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Deposits                                                                                                 $179,810.75



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     Prepaid Insurance, Software, Inventory, Marketing, Misc.                                                 $595,769.95




9.        Total of Part 2.                                                                                               $775,580.70
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                  1,772,102.00      -                           45,393.00 = ....       $1,726,709.00
                                       face amount                          doubtful or uncollectible accounts



          11a. 90 days old or less:                   111,582.27       -                         111,582.27 = ....                $0.00
                                       face amount                          doubtful or uncollectible accounts



          11a. 90 days old or less:                     18,575.94      -                                 0.00 = ....         $18,575.94
                                       face amount                          doubtful or uncollectible accounts




          11b. Over 90 days old:                      224,163.00       -                         21,135.00 =....            $203,028.00
                                       face amount                          doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                              $1,948,312.94
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                             page 2
                             Case 23-18093-MAM                   Doc 1      Filed 10/03/23        Page 13 of 157

Debtor       Molekule, Inc.                                                           Case number (If known)
             Name


      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used   Current value of
                                            physical inventory       debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.       Raw materials
          Raw Materials                                                      $1,966,888.74     10% Market Cost                  $196,688.87



20.       Work in progress
          Work in Progress                                                  $10,237,832.62     10% Market Cost                $1,023,783.26



21.       Finished goods, including goods held for resale
          Finished Goods                                                     $9,309,482.02     10% Liquidation                  $930,948.20



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                $2,151,420.33
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 3
                            Case 23-18093-MAM                     Doc 1        Filed 10/03/23          Page 14 of 157

Debtor       Molekule, Inc.                                                                 Case number (If known)
             Name

          Office furniture and fixtures, several
          Autonomous furniture/desks, meeting rooms
          furniture, reception desks, AV equipment,
          security cameras, Bluetooth SIG, production
          workbench, room schedulers, refrigerator,
          Strong: SM-RAZOR-ART2-XL, Sanus:
          VMPR1B, 3 Stong: SM-CS-ART1-M-Universal
          Mount Displays                                                          $304,946.45       10% Depreciation       $30,494.65



40.       Office fixtures
          Fixed Assets/Leasehold Improvements                                   $2,321,626.06       Depreciation                $0.00



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Office Electronics                                                       $89,824.39       10% Depreciation        $8,982.44


          Computer Software                                                     $1,400,046.61       Depreciation                $0.00


          Office equipment, lab equipment, vacuum
          chambers, filter break stations, equipment
          parts, VOC test chambers, Pneumatic Alfa
          Cutter, Steel Die wear plate, Lab casework and
          Fume hood, GCMS equipment, Capital
          equipment, Akustron Air Permeability Tester,
          Scholder SESD 230 30kV Handheld Battery
          Operated ESD Simulator, framing equipment,
          insulation, proto parts for Alder fan
          development, HEPA 2H X 1W Side Access
          Housing GH1R-212P-2010-316L-SP21400,
          Spare parts resulting from Filtration Tech
          Laminator project cancellation,
          BioTrak®9510-BD, APC/VPC,
          0.5/0.7/1.0/3.0/5.0/10.0µm, 1 CFM with Printer,
          Pelican cases and Printer - PMT USA, sales
          and marketing units, Big Joe Battery Powered
          Pallet Truck                                                                    $0.00     Est. Present Val    $2,228,259.19



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                              $2,267,736.28
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                            page 4
                             Case 23-18093-MAM                    Doc 1    Filed 10/03/23            Page 15 of 157

Debtor       Molekule, Inc.                                                            Case number (If known)
             Name


      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used       Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value           debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    Forklift - Lease with Lift Trucks, Inc.                           $0.00                                                 $0.00


          47.2.    Forklift - Lease with Ramond Leasing
                   Corporation                                                       $0.00                                                 $0.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Lab Equipment - Lease with De Lage Landen
          Financial Services, Inc.                                                   $0.00                                                 $0.00




51.       Total of Part 8.                                                                                                              $0.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Office/Warehouse -
                   10455 Riverside Dr,
                   Ste 100, Palm Beach
                   Gardens, FL 33410            Lease                           Unknown                                               Unknown




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 5
                              Case 23-18093-MAM                  Doc 1        Filed 10/03/23             Page 16 of 157

Debtor        Molekule, Inc.                                                              Case number (If known)
              Name

           55.2.    Office/Lab - 3802
                    Spectrum Blvd, Stes
                    112B, 143, 202; Lab
                    205A&B, Tampa, FL
                    33612                        Lease                             Unknown                                               Unknown


           55.3.    Office/Warehouse/Filt
                    er Manufacturing -
                    4000 N Combee Rd,
                    Bays 27, Lakeland,
                    FL 33805                     Lease                             Unknown                                               Unknown


           55.4.    Office/Warehouse/Filt
                    er Manufacturing -
                    4040 N Combee Rd,
                    Bays 28, Lakeland,
                    FL 33805                     Lease                             Unknown                                               Unknown


           55.5.    Office (Closed Sept
                    2023) - 1301 Folsom
                    St., San Francisco,
                    CA 94103                     Lease                             Unknown                                               Unknown




56.        Total of Part 9.                                                                                                                 $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 6
                             Case 23-18093-MAM                 Doc 1     Filed 10/03/23           Page 17 of 157

Debtor      Molekule, Inc.                                                           Case number (If known)
            Name

         Patents [Air Purifiers, Filtration Systems, Fluid
         Disinfection Device and Method, Systems and
         Method for Photoelectrochemical Air
         Purification, Systems for Extinguishing Fires,
         Filter media and System and Method for
         Manufacture Thereof, Air Filter and Filter
         Media Thereof

         Patent Nos: D829, 312; D888, 919;
         CN304684615S; 004502144-0001; 299380;
         XX-XXXXXXX; 9004502144; D912,793; D980,960;
         192306; CN306151008S; 007424064-0001;
         326536-001; XX-XXXXXXX; 9007424064; 200613;
         ZL 2021300676195; 008339345-0001;
         338195-001; XX-XXXXXXX; 6113680; 10,137,216;
         10,842,907; 11,638,773; 10,584,886; 11,761,652;
         XX-XXXXXXX; 10,684,027; 10,625,207;
         CN112739655B 7228039; XX-XXXXXXX;
         11,291,874; 2019396216; 11,097,525;
         11,596,900                                                           Unknown                                               Unknown


         Trademarks - MOLEKULE / MOLEKULE AIR                           $26,980,000.00        10% Fair Value                   $2,698,000.00



61.      Internet domain names and websites
         www.molekule.com                                                     Unknown                                               Unknown



62.      Licenses, franchises, and royalties

63.      Customer lists, mailing lists, or other compilations
         Customer Relationships                                           $3,250,000.00       Fair Value                            Unknown



64.      Other intangibles, or intellectual property
         Development Technology                                         $15,660,000.00        Fair Value                            Unknown


         Assembled Workforce                                              $1,750,000.00       Fair Value                            Unknown



65.      Goodwill
         Goodwill                                                       $19,163,219.55        Fair Value                            Unknown



66.      Total of Part 10.                                                                                                   $2,698,000.00
         Add lines 60 through 65. Copy the total to line 89.

67.      Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
           No
            Yes

68.      Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes

69.      Has any of the property listed in Part 10 been appraised by a professional within the last year?

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                       page 7
                               Case 23-18093-MAM                 Doc 1        Filed 10/03/23            Page 18 of 157

Debtor        Molekule, Inc.                                                               Case number (If known)
              Name


              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                         Current value of
                                                                                                                         debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

           Equipment Arbitration - Manz                                                                                         $1,000,000.00
           Nature of claim         Machinery not performing to
                                   spec
           Amount requested                   $1,000,000.00



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                 $1,000,000.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                    page 8
                                   Case 23-18093-MAM                               Doc 1            Filed 10/03/23                  Page 19 of 157

Debtor          Molekule, Inc.                                                                                      Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $751,421.13

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $775,580.70

82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,948,312.94

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $2,151,420.33

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                      $2,267,736.28

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                              $2,698,000.00

90. All other assets. Copy line 78, Part 11.                                                    +              $1,000,000.00

91. Total. Add lines 80 through 90 for each column                                                       $11,592,471.38             + 91b.                       $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $11,592,471.38




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 9
                                   Case 23-18093-MAM                      Doc 1         Filed 10/03/23           Page 20 of 157

Fill in this information to identify the case:

Debtor name         Molekule, Inc.

United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
      De Lage Landen Financial
2.1                                                Describe debtor's property that is subject to a lien                      Unknown                  Unknown
      Services, Inc.
      Creditor's Name
      1111 Old Eagle School
      Road
      Wayne, PA 19087
      Creditor's mailing address                   Describe the lien
                                                   UCC
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Raymond Leasing
2.2                                                Describe debtor's property that is subject to a lien                      Unknown                  Unknown
      Corporation
      Creditor's Name
      Corporate Headquarters
      PO Box 130
      Greene, NY 13778
      Creditor's mailing address                   Describe the lien
                                                   UCC
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3
                                   Case 23-18093-MAM                     Doc 1         Filed 10/03/23           Page 21 of 157

Debtor      Molekule, Inc.                                                                        Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Silicon Valley Bank, a
2.3                                                                                                                  $30,000,000.00    $4,064,302.18
      Division of                                 Describe debtor's property that is subject to a lien
      Creditor's Name
      First Citizens Bank and
      Trust
      3003 Tasman Dr, HF150
      Santa Clara, CA 95054
      Creditor's mailing address                  Describe the lien
                                                  UCC
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Silicon Valley Bank, a
2.4                                                                                                                    $5,300,000.00   $5,300,000.00
      Division of                                 Describe debtor's property that is subject to a lien
      Creditor's Name                             General Personal Property
      First Citizens Bank and
      Trust
      3003 Tasman Dr, HF150
      Santa Clara, CA 95054
      Creditor's mailing address                  Describe the lien
                                                  UCC
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Trinity Capital Inc.                        Describe debtor's property that is subject to a lien                 $2,228,259.19   $2,228,259.19




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 3
                                   Case 23-18093-MAM                     Doc 1         Filed 10/03/23           Page 22 of 157

Debtor      Molekule, Inc.                                                                        Case number (if known)
            Name

      Creditor's Name                             General Personal Property and Specific
      3075 West Ray Road, Suite                   Laboratory Equipment
      525
      Chandler, AZ 85226
      Creditor's mailing address                  Describe the lien
                                                  UCC
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



                                                                                                                           $37,528,259.
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      19

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
                                 Case 23-18093-MAM                      Doc 1           Filed 10/03/23                Page 23 of 157

Fill in this information to identify the case:

Debtor name        Molekule, Inc.

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           Unknown
          Acevedo, Christian                                  Check all that apply.
          1501 Shepherd Rd                                       Contingent
          Apt # 55                                               Unliquidated
          Lakeland, FL 33811                                     Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Amount Redacted
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           Unknown
          Alsova, Irina                                       Check all that apply.
          57 4th St                                              Contingent
          Apt. 3                                                 Unliquidated
          Ashland, OR 97520                                      Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Amount Redacted
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 60
                                                                                                              40549
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 24 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Arevalo, Barbara M.                                Check all that apply.
         4870 St. James Ct                                     Contingent
         Winter Haven, FL 33881                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Attanayake, Supun                                  Check all that apply.
         14612 North 43rd St                                   Contingent
         Apt 39                                                Unliquidated
         Tampa, FL 33613                                       Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Atterman, Melanie R.                               Check all that apply.
         8921 Alana Cove                                       Contingent
         Cordova, TN 38016                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Auprey, Shannon M.                                 Check all that apply.
         108 Locustberry Ln                                    Contingent
         101                                                   Unliquidated
         Jupiter, FL 33458                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 2 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 25 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $22,212.30   $15,150.00
         Azhar M. Zuberi                                    Check all that apply.
         13510 Sagewood Drive                                  Contingent
         Poway, CA 92064                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance w/ Cobra
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Barkley, Austin D.                                 Check all that apply.
         211 Southeast 52nd Ct                                 Contingent
         Ocala, FL 34471                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Beisel, Rachel L.                                  Check all that apply.
         3339 West Kiowa St                                    Contingent
         Colorado Springs, CO 80904                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Bennett, Lara E.                                   Check all that apply.
         P.O. Box #867                                         Contingent
         Morongo Valley, CA 92256                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 3 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 26 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Benton, Brad M.                                    Check all that apply.
         309 Washington St                                     Contingent
         2402                                                  Unliquidated
         Conshohocken, PA 19428                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Bianco, Frank                                      Check all that apply.
         6718 Aberdale Cir                                     Contingent
         San Ramon, CA 94582                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Boryszewski-Peters, Anna E.                        Check all that apply.
         837 Bayou View Dr                                     Contingent
         Brandon, FL 33510                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Bruggeman, Rory E.                                 Check all that apply.
         1976 South 1700 E                                     Contingent
         Salt Lake City, UT 84108                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 4 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 27 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         California Dept of Revenue                         Check all that apply.
         PO Box 942879                                         Contingent
         Sacramento, CA 94279                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            For Information Purposes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Chambers, Erin M.                                  Check all that apply.
         19521 West 59th Ave                                   Contingent
         Golden, CO 80403                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Chidambaram, Subramanian                           Check all that apply.
         477 West San Juan Ct                                  Contingent
         Mountain House, CA 95391                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Ciulla, Shannon K.                                 Check all that apply.
         3464 Diamond Terr                                     Contingent
         Mulberry, FL 33860                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 5 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 28 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Cointepoix, Robert T.                              Check all that apply.
         330 South F St                                        Contingent
         Lake Worth, FL 33460                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Cook, Crystal M.                                   Check all that apply.
         6908 Culver Ave                                       Contingent
         Fort Worth, TX 76116                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Cooper, Rob Y.                                     Check all that apply.
         7901 Margate Way                                      Contingent
         Lakeland, FL 33809                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Cromwell, Troy                                     Check all that apply.
         16906 Forked Lake Dr                                  Contingent
         Houston, TX 77044                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 6 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 29 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Dauwalter, Ashley                                  Check all that apply.
         2522 South Crystal Lake Dr                            Contingent
         Lakeland, FL 33801                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Davis, Josh A.                                     Check all that apply.
         4202 Havenstone Way                                   Contingent
         Valrico, FL 33596                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         DeBoard, Tanner J.                                 Check all that apply.
         330 Crescent Village Cir                              Contingent
         Unit 2416                                             Unliquidated
         San Jose, CA 95134                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         DelGaldo, Jim M.                                   Check all that apply.
         13 Norwich Pl.                                        Contingent
         Somerset, NJ 08873                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 7 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 30 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       Unknown     Unknown
         Dhau, Jaspreet S.                                  Check all that apply.
         15258 Anguilla Isle Ave                               Contingent
         Tampa, FL 33647                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       Unknown     Unknown
         DiBona, Jason                                      Check all that apply.
         1402 Dakota Dr                                        Contingent
         Jupiter, FL 33458                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       Unknown     Unknown
         Ehrbar, Gene M.                                    Check all that apply.
         1940 Southeast Bidwell St                             Contingent
         Portland, OR 97202                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $614,847.94   $15,150.00
         Employee Wages                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 8 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 31 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.31     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Fabbro, Ali F.                                     Check all that apply.
         65 Granada Ct                                         Contingent
         Portola Valley, CA 94028                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.32     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Fintland, Brian R.                                 Check all that apply.
         1210 Pacific Ave                                      Contingent
         Alameda, CA 94501                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.33     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Florida Department of Revenue                      Check all that apply.
         P.O. Box 6668                                         Contingent
         Tallahassee, FL 32314-6668                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            For Information Purposes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.34     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Freas, Jasmine J.                                  Check all that apply.
         6914 Minaxi Dr                                        Contingent
         Lakeland, FL 33810                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 9 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 32 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.35     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Gajula, Veena Badaje                               Check all that apply.
         11594 Fenwick Ct                                      Contingent
         Dublin, CA 94568                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.36     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Garcia Ramos, Demetrio D.                          Check all that apply.
         563 Eagle Landing Blvd                                Contingent
         Winter Haven, FL 33880                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.37     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Gatty, Christopher A.                              Check all that apply.
         147 Pine Dr                                           Contingent
         Fairfax, CA 94930                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.38     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Gonzalez-Laboy , Orlando                           Check all that apply.
         1348 Fairway Dr                                       Contingent
         Lakeland, FL 33801                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 10 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 33 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.39     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $17,485.64   $15,150.00
         Haldane C. King                                    Check all that apply.
         7849 Lynch Road                                       Contingent
         Sebastopol, CA 95472                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance w/ Cobra
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.40     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Hallwachs, Alec N.                                 Check all that apply.
         9652 South Brown Rd                                   Contingent
         Fenwick, MI 48834                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.41     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Hammond, Hayden                                    Check all that apply.
         275 Murcia Dr                                         Contingent
         Apt 203                                               Unliquidated
         Jupiter, FL 33458                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.42     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Hammond, William A.                                Check all that apply.
         456 Amethyst Ave                                      Contingent
         Auburndale, FL 33823                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 11 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 34 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.43     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Harkey, Jody D.                                    Check all that apply.
         2034 Windward Pass                                    Contingent
         Lakeland, FL 33813                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.44     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Harris, Moore M.                                   Check all that apply.
         100 New Place Rd                                      Contingent
         HIllsborough, CA 94010                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.45     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Hollister, David R.                                Check all that apply.
         2726 Bush                                             Contingent
         San Francisco, CA 94115                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.46     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Howard, Kareem L.                                  Check all that apply.
         5350 Bridge St                                        Contingent
         # 5408                                                Unliquidated
         Tampa, FL 33611                                       Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 12 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 35 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.47     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         Internal Revenue Service                           Check all that apply.
         Attn: Special Procedures                              Contingent
         P.O. Box 34045                                        Unliquidated
         Stop 572                                              Disputed
         Jacksonville, FL 32202
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Information Purposes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.48     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         Jiang, Xunge                                       Check all that apply.
         3534 Vanet Rd                                         Contingent
         Chamblee, GA 30341                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.49     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $8,413.82   $8,413.82
         Joe Campos                                         Check all that apply.
         25 Redondo St                                         Contingent
         San Francisco, CA 94124                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance w/ Cobra
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.50     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         Jun, Jane W.                                       Check all that apply.
         4122 Raleigh St                                       Contingent
         Denver, CO 80212                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 13 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 36 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.51     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $7,060.46   $7,060.46
         Kelly M. Leonardson                                Check all that apply.
         23592 Windsong #29J                                   Contingent
         Aliso Viejo, CA 92656                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance w/ Cobra
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.52     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         Kelly, Jenn M.                                     Check all that apply.
         15184 81st Terrace N                                  Contingent
         Palm Beach Gardens, FL 33418                          Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.53     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         Kershner, Jay T.                                   Check all that apply.
         144 Occidental Ave                                    Contingent
         Burlingame, CA 94010                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.54     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         King, Kristian S.                                  Check all that apply.
         2013 Sancerre Ln                                      Contingent
         Carrollton, TX 75007                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 14 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 37 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.55     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Kinloch, Tim A.                                    Check all that apply.
         4994 Black Falcon Way                                 Contingent
         Sun Valley, NV 89433                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.56     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Koclanes, Saiya Z.                                 Check all that apply.
         5565 East Yale Ave                                    Contingent
         Apt 4                                                 Unliquidated
         Denver, CO 80222                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.57     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Korth, Katie E.                                    Check all that apply.
         315 South Pope St                                     Contingent
         Apt 6                                                 Unliquidated
         Athens, GA 30605                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.58     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Kosulin, Igor V.                                   Check all that apply.
         1367 Oslo Ln                                          Contingent
         San Jose, CA 95118                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 15 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 38 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.59     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Largo, Gerson A.                                   Check all that apply.
         20702 Grove Park Pl                                   Contingent
         Hayward, CA 94541                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.60     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Lesters, Joseph                                    Check all that apply.
         25819 Ross St                                         Contingent
         Plainfield, IL 60585                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.61     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Levi, Ronen                                        Check all that apply.
         120 Peaceable Hill Rd                                 Contingent
         Brewster, NY 10509                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.62     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Li, Elizabeth Y.                                   Check all that apply.
         9 Ben Lomond                                          Contingent
         Hercules, CA 94547                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 16 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 39 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.63     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Lombardo, Betty G.                                 Check all that apply.
         1491 Crooked Stick Loop                               Contingent
         Lakeland, FL 33801                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.64     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Louie, Kai A.                                      Check all that apply.
         206 Johnce Rd                                         Contingent
         Newark, DE 19711                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.65     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Lumanlan, Khyle                                    Check all that apply.
         2025 Yankee Ct                                        Contingent
         San Leandro, CA 94579                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.66     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Marks, John A.                                     Check all that apply.
         3732 Mott Rd                                          Contingent
         Dover, FL 33527                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 17 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 40 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.67     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Martinez, Flor E.                                  Check all that apply.
         2917 Wheeler St                                       Contingent
         Bartow, FL 33830                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.68     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Mathew, George                                     Check all that apply.
         150 Sabine St                                         Contingent
         413                                                   Unliquidated
         Houston, TX 77007                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.69     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         McGarrity, Elizabeth A.                            Check all that apply.
         12 Calle La Espalda                                   Contingent
         San Clemente, CA 92673                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.70     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Milavsky, Sonia                                    Check all that apply.
         2815 Sunbury Dr                                       Contingent
         Jupiter, FL 33458                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 18 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 41 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.71     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Mohapatra, Jeotikanta                              Check all that apply.
         19419 Via Del Mar                                     Contingent
         207                                                   Unliquidated
         Tampa, FL 33647                                       Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.72     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Muro-Small, Maria L.                               Check all that apply.
         4020 Prima Lago Cir                                   Contingent
         Lakeland, FL 33810                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.73     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Murodshoev, Timur                                  Check all that apply.
         2 Kingwood Rd                                         Contingent
         Oakland, CA 94619                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.74     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Narayana Rao, Nagaraj                              Check all that apply.
         37923 Bright Common                                   Contingent
         Fremont, CA 94536                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 19 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 42 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.75     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Navarrete, Edgar W.                                Check all that apply.
         8 Stowa Way                                           Contingent
         Daly City, CA 94014                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.76     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Nicolay, Matthew W.                                Check all that apply.
         625 Clearfield Dr                                     Contingent
         Millbrae, CA 94030                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.77     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $15,249.61   $15,150.00
         Nicole M. Fiore                                    Check all that apply.
         215 Marlberry Circle                                  Contingent
         Jupiter, FL 33458                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance w/ Cobra
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.78     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Nunez, Jose E.                                     Check all that apply.
         5028 Elon crescent                                    Contingent
         Lakeland, FL 33810                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 20 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 43 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.79     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Office of Attorney General                         Check all that apply.
         State of Florida                                      Contingent
         The Capitol PL-01                                     Unliquidated
         Tallahassee, FL 32399-1050                            Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            For Information Purposes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.80     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Palacio, Henry A.                                  Check all that apply.
         381 Almansa St                                        Contingent
         Davenport, FL 33837                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.81     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Patch, Ryan M.                                     Check all that apply.
         2172 Queen Palm Rd                                    Contingent
         Boca Raton, FL 33432                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.82     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Patel, Margi B.                                    Check all that apply.
         1918 Garden Bing Cir                                  Contingent
         San Jose, CA 95131                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 21 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 44 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.83     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Peck, Tabitha S.                                   Check all that apply.
         9777 Osceola St                                       Contingent
         Westminster, CO 80031                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.84     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Puljan, Meredith M.                                Check all that apply.
         1645 West Huron St                                    Contingent
         Apt 3F                                                Unliquidated
         Chicago, IL 60622                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.85     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Quintana, Brian R.                                 Check all that apply.
         15290 West 50th Dr                                    Contingent
         Golden, CO 80403                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.86     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Rickert, Darin S.                                  Check all that apply.
         2950 North Sheridan Rd                                Contingent
         804                                                   Unliquidated
         Chicago, IL 60657                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 22 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 45 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.87     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $27,726.81   $15,150.00
         Ritankar Pal                                       Check all that apply.
         225 Down Path                                         Contingent
         Southampton, NY 11968                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance w/ Cobra
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.88     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Sanabria, David F.                                 Check all that apply.
         4305 Forest Hills Dr                                  Contingent
         Lakeland, FL 33813                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.89     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Savaram, Shashwathi Rao                            Check all that apply.
         2700 East Grand Reserve Cir                           Contingent
         Apt 1034                                              Unliquidated
         Clearwater, FL 33759                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.90     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Schraner, Danielle M.                              Check all that apply.
         2811 California St                                    Contingent
         14                                                    Unliquidated
         San Francisco, CA 94115                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 23 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 46 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.91     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Securities and Exchange                            Check all that apply.
         Commission                                            Contingent
         801 Brickell Ave., Suite 1800                         Unliquidated
         Miami, FL 33131                                       Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            For Information Purposes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.92     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Sering, Glenn C.                                   Check all that apply.
         1650 Highland Blvd                                    Contingent
         Bartow, FL 33830                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.93     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Shanks, Yelizaveta B.                              Check all that apply.
         5343 Maui Way                                         Contingent
         Fair Oaks, CA 95628                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.94     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Singh, Avtar                                       Check all that apply.
         10310 Venitia Real Ave                                Contingent
         203                                                   Unliquidated
         Tampa, FL 33647                                       Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 24 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 47 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.95     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         Sisco, Joshua S.                                   Check all that apply.
         4215 Southeast Yamhill St                             Contingent
         Portland, OR 97215                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.96     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         Sjoberg, Shea B.                                   Check all that apply.
         P.O. Box 3575                                         Contingent
         Idyllwild, CA 92549                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.97     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         Small, Roderick L.                                 Check all that apply.
         2868 Barton Pl                                        Contingent
         Bartow, FL 33830                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.98     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,424.47   $5,424.47
         Steve O. Small                                     Check all that apply.
         4020 Prima Lago Cir                                   Contingent
         Lakeland, FL 33810                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance w/ Cobra
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 25 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 48 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.99     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $16,263.60   $15,150.00
         Steven Cervantes                                   Check all that apply.
         500 Lynbrook Drive                                    Contingent
         Pacifica, CA 94044                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance w/ Cobra
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.100    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Stufflebeam, Adam H.                               Check all that apply.
         888 Biscayne Blvd                                     Contingent
         Miami, FL 33132                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.101    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $4,185.00   $4,185.00
         Tamonan Wendell                                    Check all that apply.
         Rm 15AA-2, No. 528                                    Contingent
         Wensin South 3rd Road, Nantun                         Unliquidated
         District                                              Disputed
         Taichung City 40855 - Taiwan
         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance w/ Cobra
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.102    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Taylor, Brett A.                                   Check all that apply.
         245 Indian Peaks Dr                                   Contingent
         Erie, CO 80516                                        Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 26 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 49 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.103    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Tella, Rao R.                                      Check all that apply.
         16900 Stonehaven Dr                                   Contingent
         Village of Loch Lloyd, MO 64012                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.104    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Thammaiah, Namitha K.                              Check all that apply.
         1001 Tahiti Ln                                        Contingent
         Alameda, CA 94502                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.105    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Thompson, Jimmy                                    Check all that apply.
         18660 Southeast River Ridge Rd                        Contingent
         Tequesta, FL 33469                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.106    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Thorpe, Christopher                                Check all that apply.
         331 Greens Edge Dr                                    Contingent
         Chesapeake, VA 23322                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 27 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 50 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.107    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $12,335.09   $12,335.09
         Timothy L. Buys                                    Check all that apply.
         1524 1st Ave #503                                     Contingent
         Oakland, CA 94606                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance w/ Cobra
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.108    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Toney, Regina J.                                   Check all that apply.
         5026 Long Lake Cir                                    Contingent
         Apt 303                                               Unliquidated
         Lakeland, FL 33805                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.109    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Truckenbrod, Lukas R.                              Check all that apply.
         172 46th St                                           Contingent
         Pittsburgh, PA 15201                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.110    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown      Unknown
         Tyler, Ryan                                        Check all that apply.
         1711 West Community Dr                                Contingent
         Jupiter, FL 33458                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 28 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 51 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.111    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         United States Attorney General's                   Check all that apply.
         Office                                                Contingent
         US Department of Justice                              Unliquidated
         950 Pennsylvania Avenue                               Disputed
         Washington, DC 20530-0001
         Date or dates debt was incurred                    Basis for the claim:
                                                            For Information Purposes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.112    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         Valdez, Chris P.                                   Check all that apply.
         615 West 6th Ave                                      Contingent
         Fort Morgan, CO 80701                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.113    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     Unknown
         Vallarta, Annabelle L.                             Check all that apply.
         2831 Blossom Ct                                       Contingent
         El Monte, CA 91733                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.114    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,809.14   $6,809.14
         Vanessa N. Graham                                  Check all that apply.
         19993 Questhaven Rd                                   Contingent
         Escondido, CA 92029                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance w/ Cobra
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 29 of 60
                              Case 23-18093-MAM                       Doc 1           Filed 10/03/23              Page 52 of 157

Debtor      Molekule, Inc.                                                                           Case number (if known)
            Name

2.115    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         VanScoy, Shari A.                                  Check all that apply.
         313 Sparrow Ave                                       Contingent
         Sebring, FL 33870                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.116    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Velasco, Hans                                      Check all that apply.
         146 La Verne Ave                                      Contingent
         Long Beach, CA 90803                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.117    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         White, Claire A.                                   Check all that apply.
         1219 Knob Hill Blvd                                   Contingent
         Georgetown, IN 47122                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.118    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Wickramaratne, Chatura                             Check all that apply.
         5100 Burchette Rd                                     Contingent
         Unit 606                                              Unliquidated
         Tampa, FL 33647                                       Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Amount Redacted
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                Page 30 of 60
                               Case 23-18093-MAM                         Doc 1           Filed 10/03/23                Page 53 of 157

Debtor       Molekule, Inc.                                                                             Case number (if known)
             Name

2.119     Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown   Unknown
          Williams, Jeremiah H.                                Check all that apply.
          8032 Sugar Pine Blvd                                    Contingent
          Lakeland, FL 33810                                      Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Amount Redacted
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                  Yes


2.120     Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown   Unknown
          Young, Lydia                                         Check all that apply.
          10381 Farmland Dr                                       Contingent
          Frisco, TX 75035                                        Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Amount Redacted
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                  Yes


2.121     Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown   Unknown
          Younus, Kamran                                       Check all that apply.
          6 Hallmark Gardens                                      Contingent
          Apt 1                                                   Unliquidated
          Burlington, MA 01803                                    Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Amount Redacted
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          140 Partners, LP
          c/o Darin T. Judd, Esq.                                                Contingent
          Thompson Welch Soroko & Gilbert, LLP                                   Unliquidated
          3950 Civic Center Dr, Suite 300                                        Disputed
          San Rafael, CA 94903
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 31 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 54 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         2231192 Ontario Inc.                                         Contingent
         99 Alcorn Dr                                                 Unliquidated
         Lindsay ON K9V0M8                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         4000 North Combee Road, LLC                                  Contingent
         41 Lake Morton Drive                                         Unliquidated
         Lakeland, FL 33801                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $40.63
         8x8, Inc                                                     Contingent
         2125 O'nel Dr                                                Unliquidated
         San Jose, CA 95131                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $12,100.00
         ADO Professional Solutions
         LHH Recruitment                                              Contingent
         4800 Deerwood Campus Pkwy                                    Unliquidated
         Building 800                                                 Disputed
         Jacksonville, FL 32246
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $147.84
         Airgas USA, LLC                                              Contingent
         6601 East 14th Ave                                           Unliquidated
         Tampa, FL 33619-2913                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Alarm Center, Inc.                                           Contingent
         PO Box 6281                                                  Unliquidated
         Lakeland, FL 33807                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $242,067.07
         ALOM Technologies Corp                                       Contingent
         ALOM - Fremont                                               Unliquidated
         44660 Osgood Rd                                              Disputed
         Fremont, CA 94539
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 32 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 55 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Alrich, Inc.                                                 Contingent
         130 Erick Street                                             Unliquidated
         Crystal Lake, IL 60014                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,664.47
         Amazon Advertising Canada, Inc                               Contingent
         120 Bremner Blvd                                             Unliquidated
         26th Floor                                                   Disputed
         Toronto, ON M5J 0A8
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $149,619.69
         Amazon Advertising, LLC                                      Contingent
         P.O. Box 81207                                               Unliquidated
         Seattle, WA 98108-1207                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         ARE Labs, Inc.                                               Contingent
         15320 S. Cornice Street                                      Unliquidated
         Olathe, KS 66062                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $8,132.38
         Arroyo Process Equipment, Inc                                Contingent
         1550 Centennial Blvd                                         Unliquidated
         Bartow, FL 33830                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,871.19
         Association of Home Appliance Manufactur                     Contingent
         1111 19th St NW                                              Unliquidated
         Suite 402
                                                                      Disputed
         Washington, DC 20036
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $23,978.72
         Aura Smart Air, Inc                                          Contingent
         1007 Orange St                                               Unliquidated
         10th Floor
                                                                      Disputed
         Wilmington, DE 19801
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 33 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 56 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Avalara                                                      Contingent
         PO Box 3213                                                  Unliquidated
         Carol Stream, IL 60132-3213                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         AVASK Accounting                                             Contingent
         2570 North First Street, Suite 500                           Unliquidated
         San Jose, CA 95131                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $15,731.00
         Baker & Hostetler, LLP
         Key Tower                                                    Contingent
         127 Public Sq                                                Unliquidated
         Suite 2000                                                   Disputed
         Cleveland, OH 44114-1214
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Based on a Budget, LLC                                       Contingent
         1000 Lake Street, Unit D                                     Unliquidated
         Venice, CA 90291                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Bay Alarm Co.                                                Contingent
         Suite #102 Peninsula Branch                                  Unliquidated
         510 Myrtle Avenue South                                      Disputed
         South San Francisco, CA 94080
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $11,180.00
         Blair Greenwood Consulting, LLC                              Contingent
         1215 Saint John Pl                                           Unliquidated
         Fort Collins, CO 80525                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,732.55
         BPM, LLP                                                     Contingent
         600 California St                                            Unliquidated
         Suite 600                                                    Disputed
         San Francisco, CA 94108
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 34 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 57 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,713.93
         Brandography.com, LLC                                        Contingent
         1910 East Medicine Lake Blvd                                 Unliquidated
         Plymouth, MN 55441                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Brian T. Jackson                                             Contingent
         120 Bremner Blvd, 26th Floor                                 Unliquidated
         Toronto ON M5J 0A8                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         C Clean, Inc.                                                Contingent
         214 Frida Kahlo Way                                          Unliquidated
         San Francisco, CA 94112                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         CA Distributing LLC                                          Contingent
         35 Rod and Gun Club Road                                     Unliquidated
         Forestburgh, NY 12777                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $477.64
         Canteen Refreshment Services                                 Contingent
         d/b/a A Div of Canteen                                       Unliquidated
         P.O. Box 50196                                               Disputed
         Los Angeles, CA 90074-0196
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $428,400.00
         Capgemini America, Inc                                       Contingent
         79 Fifth Ave                                                 Unliquidated
         Third Floor                                                  Disputed
         New York, NY 10003
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Catherine Poslusny                                           Contingent
         3112 Cristo Ct                                               Unliquidated
         Norman, OK 73071                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 35 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 58 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Christian Haslett                                            Contingent
         393 Hamilton St, H1                                          Unliquidated
         Costa Mesa, CA 92627                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Cigna Health and Life Insurance Company                      Contingent
         900 Cottage Grove Road                                       Unliquidated
         Bloomfield, CT 06002                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,051.04
         Cintas Document Management                                   Contingent
         P.O. Box 633842                                              Unliquidated
         Cincinnati, OH 45263-0921                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $255,500.00
         Citrin Cooperman                                             Contingent
         529 Fifth Ave                                                Unliquidated
         New York, NY 10017                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Client Partner Mgmt Group LLC                                Contingent
         1111 19th Street NW, Suite 402                               Unliquidated
         Washington, DC 20036                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $822,709.37
         Columbus Industries Texas, LLP
         Columbus Industries Inc                                      Contingent
         2938 State Route 752                                         Unliquidated
         P.O. Box 257                                                 Disputed
         Amanda, OH 43102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $65.00
         Commerce Technologies, LLC
         d/b/a CommerceHub                                            Contingent
         800 Troy-Schenectady Rd                                      Unliquidated
         Suite 100                                                    Disputed
         Latham, NY 12110
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 36 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 59 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $39,000.00
         Comprise                                                     Contingent
         1919 14th St                                                 Unliquidated
         Suite 700                                                    Disputed
         Boulder, CO 80302
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,533.47
         Computershare, Inc                                           Contingent
         Dept CH 19228                                                Unliquidated
         Palatine, IL 60055-9228                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Creare, LLC                                                  Contingent
         2570 North First Street, Suite 500                           Unliquidated
         San Jose, CA 95131                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $15,284.89
         Criteo Corp                                                  Contingent
         387 Park Ave S                                               Unliquidated
         12th Floor                                                   Disputed
         New York, NY 10016
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $727,239.71
         Dandelion, Inc                                               Contingent
         211 Yonge St                                                 Unliquidated
         Suite 400                                                    Disputed
         Toronto, ON M5B 1M4
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Deel                                                         Contingent
         425 1st Street                                               Unliquidated
         San Francisco, CA 94105-4621                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $16,402.17
         Dell                                                         Contingent
         1 Dell Way                                                   Unliquidated
         Round Rock, TX 78664                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 37 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 60 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         DHL Express                                                  Contingent
         16416 Northchase Dr                                          Unliquidated
         Houston, TX 77060                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,361.45
         DigiKey Electronics                                          Contingent
         701 Brooks Ave S                                             Unliquidated
         Thief River Falls, MN 56701                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,165.97
         Dimass Group B.V.                                            Contingent
         Laak, Grote Laak 17                                          Unliquidated
         6088 NJ Roggel                                               Disputed
         Netherlands
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $16,851.26
         Dynamic Logistix, LLC                                        Contingent
         7220 West 98th Terr                                          Unliquidated
         Overland Park, KS 66212                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         EMA Design Automation                                        Contingent
         PO Box 50196                                                 Unliquidated
         Charlotte, NC 28217                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         FAB                                                          Contingent
         1265 Sand Hill Road                                          Unliquidated
         Candler, NC 28715                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Fans-Tech                                                    Contingent
         P.O. Box 11904                                               Unliquidated
         Mulberry, FL 33860                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 38 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 61 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,695.16
         FedEx                                                        Contingent
         P.O. Box 7221                                                Unliquidated
         Pasadena, CA 91109-7321                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $87,049.42
         Fenwick & West, LLP                                          Contingent
         P.O. Box 742814                                              Unliquidated
         Los Angeles, CA 90074-2814
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Figma                                                        Contingent
         1321 Upland Dr. PMB 19236                                    Unliquidated
         Houston, TX 77043                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,442.98
         Fisher Scientific Co, LLC                                    Contingent
         Acct#060778-001                                              Unliquidated
         300 Industry Dr                                              Disputed
         Pittsburgh, PA 15275
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,713.63
         Flexport                                                     Contingent
         760 Market St                                                Unliquidated
         8th Floor                                                    Disputed
         San Francisco, CA 94102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $30,086.18
         Freightquote.com, Inc                                        Contingent
         P.O. Box 9121                                                Unliquidated
         Minneapolis, MN 55480                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $152.65
         gandi.net                                                    Contingent
         121 2nd St                                                   Unliquidated
         5th Floor                                                    Disputed
         San Francisco, CA 94105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 39 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 62 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Gardens Bio Science Partners, LLC                            Contingent
         525 Okeechobee Blvd, Suite 1650                              Unliquidated
         West Palm Beach, FL 33401                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $488.87
         Global Industrial                                            Contingent
         11 Harbor Park Dr                                            Unliquidated
         Port Washington, NY 11050                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $117,153.11
         Goldfarb Gross Seligman & Co.                                Contingent
         98 Yigal Alon Street                                         Unliquidated
         Tel Aviv, Israel 6789141                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $106.10
         Grainger                                                     Contingent
         100 Grainger Pkwy                                            Unliquidated
         Lake Forest, IL 60045-5201                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,590.00
         Graywolf Sensing Solutions, LLC                              Contingent
         6 Research Dr                                                Unliquidated
         Shelton, CT 06484                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         GRIN Technologies, Inc.                                      Contingent
         2820 S. English Station Road                                 Unliquidated
         Louisville, KY 40299                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,776.00
         Handy Spark Co, LLC                                          Contingent
         Robert Ayers                                                 Unliquidated
         1312 Sugar Pine Rd                                           Disputed
         Apopka, FL 32703
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 40 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 63 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Hartford                                                     Contingent
         2705 S. Lake Park Rd Suite 103                               Unliquidated
         Appleton, WI 54915                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $30,000.00
         Holland & Knight, LLP                                        Contingent
         560 Mission Street, Ste 1900                                 Unliquidated
         San Francisco, CA 94105                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Homestead Studio, LLC                                        Contingent
         PO Box 14970                                                 Unliquidated
         Greenville, SC 29610                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         HongKong MirDan Technology co. Ltd                           Contingent
         PO Box 50196                                                 Unliquidated
         Charlotte, NC 28217                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,125.00
         Houzz, Inc                                                   Contingent
          285 Hamilton Ave                                            Unliquidated
         4th Floor                                                    Disputed
         Palo Alto, CA 94301
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $31,200.00
         HP Holdings, Inc
         d/b/a Invariant                                              Contingent
         901 7th St NW                                                Unliquidated
         Suite 600                                                    Disputed
         Washington, DC 20001
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,025.00
         Hunter Holthaus                                              Contingent
         4320 48th St                                                 Unliquidated
         San Diego, CA 92115                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 41 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 64 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,445.00
         Hyman, Phelps & McNamara, PC                                 Contingent
         700 Thirteenth St NW                                         Unliquidated
         Suite 1200                                                   Disputed
         Washington, DC 20005
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Illuminate Social                                            Contingent
         214 Frida Kahlo Way                                          Unliquidated
         San Francisco, CA 94112                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Independent Machine Works                                    Contingent
         2810 Parkway St                                              Unliquidated
         Lakeland, FL 33811                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,451.61
         InkHouse, LLC                                                Contingent
         260 Charles St                                               Unliquidated
         Suite 200
                                                                      Disputed
         Waltham, MA 02453
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $35,537.50
         Innovative Bioanalysis                                       Contingent
         3188 Airway Ave                                              Unliquidated
         Unit D                                                       Disputed
         Costa Mesa, CA 92626
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Insight Global Finance DBA LEAF                              Contingent
         PO Box 5066                                                  Unliquidated
         Hartford, CT 06102-5066                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $15,900.00
         Intertek Testing Services NA, Inc                            Contingent
         P.O. Box 405176                                              Unliquidated
         Atlanta, GA 30384-5176                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 42 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 65 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,012.00
         Intrado Digital Media, LLC                                   Contingent
         c/o Intrado Corp                                             Unliquidated
         P.O. Box 74007143                                            Disputed
         Chicago, IL 60674-7143
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $65,520.00
         Inventec Appliances Corporation                              Contingent
         37 Wugong 5th Rd,Industrial Park Wugu Di                     Unliquidated
         New Taipei, 24890 Taiwan                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Iterable                                                     Contingent
         71 Stevenson St, #300                                        Unliquidated
         San Francisco, CA 94105
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         JACS Solutions, Inc.                                         Contingent
         1763 Main St. Apt 120-E                                      Unliquidated
         Dunedin, FL 34698                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         James R Whitson                                              Contingent
         3019 Wilshire Blvd, Suite 206                                Unliquidated
         Santa Monica, CA 90403                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Jamie Sutor                                                  Contingent
         P.O Box 14970                                                Unliquidated
         Greenville, SC 29610                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Jasmeet Singh                                                Contingent
         #2199/12, Street No.2                                        Unliquidated
         Islamabad, Amritsar                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 43 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 66 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $9,953.95
         Jeffer Mangels Butler & Mitchell, LLP                        Contingent
         1900 Avenue of the Stars                                     Unliquidated
         7th Floor
                                                                      Disputed
         Los Angeles, CA 90067
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         John Detzauer                                                Contingent
         c/o Joshua B. Swigart, Esq.                                  Unliquidated
         2221 Camino Del Rio S, Suite 308
                                                                      Disputed
         San Diego, CA 92108
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Joseph Synnott                                               Contingent
         56 Greenbank Drive                                           Unliquidated
         Glenhaven NSW 2156                                           Disputed
         Australia
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         K Of Course LLC                                              Contingent
         2711 18th st., Apt 9                                         Unliquidated
         San Francisco, CA 94110                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $45,610.40
         Kargo Global, LLC                                            Contingent
         826 Broadway                                                 Unliquidated
         5th Floor                                                    Disputed
         New York, NY 10003
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,870.36
         KB Commercial Services, LLC                                  Contingent
         d/b/a Office Pride of Lakeland                               Unliquidated
         401 West Belvedere St                                        Disputed
         Lakeland, FL 33803
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $89.94
         KBA Document Solutions, LLC                                  Contingent
         P.O. Box 3687                                                Unliquidated
         Hayward, CA 94540-3687                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 44 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 67 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Kelly Jo Grandy                                              Contingent
         1432 South Gary Place                                        Unliquidated
         Tulsa, OK 74104                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         KlientBoost Performance, LLC                                 Contingent
         Van Nelleweg 1 3044                                          Unliquidated
         BC Rotterdam                                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Knight Agency, Inc.                                          Contingent
         P.O. Box 405176                                              Unliquidated
         Atlanta, GA 30384-5176                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Knights of Security                                          Contingent
         2418 Auto Park Way                                           Unliquidated
         Escondido, CA 92029                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $85.15
         Larrabee Albi Coker, LLP                                     Contingent
         P.O. Box 919016                                              Unliquidated
         San Diego, CA 92191-9016                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Lauren McCaully Patch                                        Contingent
         P.O. Box 405176                                              Unliquidated
         Atlanta, GA 30384-5176                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $6,156.50
         Law Office of Stacy J. Grossman                              Contingent
         500 Mamaroneck Ave                                           Unliquidated
         Suite 320                                                    Disputed
         Harrison, NY 10528
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 45 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 68 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Lindsey Solden Reiser DBA LMSR LLC                           Contingent
         6073 Horseshoe Bend Road                                     Unliquidated
         Ludlow Falls, OH 45339                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Linkator Group, LLC                                          Contingent
         2570 North First Street Suite 500                            Unliquidated
         San Jose, CA 95131                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Linkedin                                                     Contingent
         601 Lexington Ave 31st Floor                                 Unliquidated
         New York, NY 10022                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,800.00
         Lirik, Inc                                                   Contingent
         1525 McCarthy Blvd                                           Unliquidated
         Suite 228                                                    Disputed
         Milpitas, CA 95035
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Lite on Singapore PTE Ltd                                    Contingent
         1020 Crews Rd., Suite K                                      Unliquidated
         Matthews, NC 28105                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,658.33
         Lite-On Technology Corp                                      Contingent
         90, Chien 1 Road                                             Unliquidated
         Chung Ho New Taipei City                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,250.00
         LMS Technologies, Inc                                        Contingent
         P.O. Box 24185                                               Unliquidated
         Edina, MN 55424-0185                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 46 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 69 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      Unknown
         Loctek Inc. (Flexispot)                                      Contingent
         6475 Las Positas Rd                                          Unliquidated
         Livermore, CA 94551                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $12,101.39
         Lojistic, LLC                                                Contingent
         1225 Deer Valley Dr                                          Unliquidated
         Suite 201                                                    Disputed
         Park City, UT 84060
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,000.00
         Longs Peak Digital, LLC                                      Contingent
         21 Garner Ln                                                 Unliquidated
         Erie, CO 80516                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      Unknown
         Luis Lopez                                                   Contingent
         PO Box 677973                                                Unliquidated
         Dallas, TX 75267-7973                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $3,529,065.34
         Mack Molding Company, Inc                                    Contingent
         608 Warm Brook Rd                                            Unliquidated
         Arlington, VT 05250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      Unknown
         Manz AG                                                      Contingent
         Steigäckerstrasse 5                                          Unliquidated
         72768 Reutlingen                                             Disputed
         Germany
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $47,149.09
         Marbury Law Group                                            Contingent
         11800 Sunrise Valley Dr                                      Unliquidated
         Floor 15                                                     Disputed
         Reston, VA 20191
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 47 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 70 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Mary Frances Pierson Brizz                                   Contingent
         P.O. Box 405176                                              Unliquidated
         Atlanta, GA 30384-5176                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Materials, Inc.                                              Contingent
         4244 South Market Court Suite D                              Unliquidated
         Sacramento, CA 95834                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $17,000.00
         Mattio Communications                                        Contingent
         4515 Waldo Ave                                               Unliquidated
         Bronx, NY 10471                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $633.10
         McMaster Carr Supply                                         Contingent
         600 North County Line Rd                                     Unliquidated
         Elmhurst, IL 60126                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $261.00
         MDT Agency                                                   Contingent
         461 Bush St                                                  Unliquidated
         Suite 350                                                    Disputed
         San Francisco, CA 94108
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Mediant Communications Inc.                                  Contingent
         PO Box 677973                                                Unliquidated
         Dallas, TX 75267-7973                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         MERR Consulting Group                                        Contingent
         6708 Lipscomb Dr                                             Unliquidated
         Wilmington, NC 28412                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 48 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 71 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $396,636.72
         Meta Platforms, Inc
         Facebook, Inc                                                Contingent
         Attn: Accounts Receivable                                    Unliquidated
         15161 Collections Center Dr                                  Disputed
         Chicago, IL 60693
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         MethodSense Inc.                                             Contingent
         Russ King                                                    Unliquidated
         One Copley Parkway Ste 410                                   Disputed
         Morrisville, NC 27560
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $100,000.00
         Mirriad, Inc                                                 Contingent
         96 Great Suffolk St                                          Unliquidated
         London, SE1 0BE                                              Disputed
         England
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $24,753.75
         MNTN Digital, Inc                                            Contingent
         823 Congress Ave                                             Unliquidated
         #182                                                         Disputed
         Austin, TX 78768
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         MoP/Modern                                                   Contingent
         24700 Center Ridge Road Suite 280                            Unliquidated
         Westlake, OH 44145                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $33,000.00
         Muir Sustainability Solutions, LLC                           Contingent
         78 Harbor Rd                                                 Unliquidated
         Oyster Bay, NY 11771                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $58,250.00
         Narvar, Inc                                                  Contingent
         50 Beale St                                                  Unliquidated
         7th Floor
                                                                      Disputed
         San Francisco, CA 94105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 49 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 72 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $16,527.66
         Nasdaq, Inc                                                  Contingent
         Nasdaq Corporate Solutions, LLC                              Unliquidated
         151 West 42nd St                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,795.00
         Near Future, LLC                                             Contingent
         2954 Treat Blvd                                              Unliquidated
         Suite F                                                      Disputed
         Concord, CA 94518
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,000.00
         Neighborhood Goods, Inc                                      Contingent
         1321 Upland Dr                                               Unliquidated
         PMB 19236                                                    Disputed
         Houston, TX 77043
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,106.52
         New Vision Display, Inc                                      Contingent
         1430 Blue Oaks Blvd                                          Unliquidated
         Suite 100                                                    Disputed
         Roseville, CA 95747-5156
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $34,440.00
         NexGen IOT Solutions, LLC                                    Contingent
         450 Century Pkwy                                             Unliquidated
         Suite #250                                                   Disputed
         Allen, TX 75013
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Nicholas DeAngelis                                           Contingent
         552 Freedom Blvd                                             Unliquidated
         West Brandywine, PA 19320                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $92,019.05
         Oracle                                                       Contingent
         500 Oracle Pkwy                                              Unliquidated
         Redwood City, CA 94065                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 50 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 73 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,308.00
         Ossentjuk & Botti                                            Contingent
         2815 Townsgate Rd                                            Unliquidated
         Suite 320                                                    Disputed
         Westlake Village, CA 91361
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Packform USA LLC                                             Contingent
         3802 Spectrum Blvd, Suite # 143                              Unliquidated
         Tampa, FL 33612                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Pathens, Inc. DBA Office Solutions                           Contingent
         735 Coleman Ave                                              Unliquidated
         San Jose, CA 95110
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $470.85
         Paylocity                                                    Contingent
         1400 American Ln                                             Unliquidated
         Schaumburg, IL 60173                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Pepperjam, LLC                                               Contingent
         2125 Delaware Ave, Ste E                                     Unliquidated
         Santa Cruz, CA 95060                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,495.00
         Persistent Systems Limited                                   Contingent
         Bhageerath, 402, Senapati Bapat Road                         Unliquidated
         Maharashtra State, Pune 411016                               Disputed
         India
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Photon Interactive Services, Inc.                            Contingent
         12300 Ford Road, Ste #B270                                   Unliquidated
         Dallas, TX 75234
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 51 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 74 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Plan Management Corp                                         Contingent
         78 Harbor Road                                               Unliquidated
         Oyster Bay, NY 11771                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $5,565.00
         PowerReviews                                                 Contingent
         1 North Dearborn                                             Unliquidated
         Suite 800                                                    Disputed
         Chicago, IL 60602
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $415,000.00
         PricewaterhouseCoopers, LLP                                  Contingent
         4040 West Boy Scout Blvd                                     Unliquidated
         Tampa, FL 33607                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $5,625.00
         PrideBites
         Danielle Lotz                                                Contingent
         3616 Far West Blvd                                           Unliquidated
         Suite 117-356                                                Disputed
         Austin, TX 78731
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Prime Group                                                  Contingent
         16192 Coastal Hwy                                            Unliquidated
         Lewes, DE 19958                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         PTTOW! LLC                                                   Contingent
         21 Alton Rd                                                  Unliquidated
         Miami Beach, FL 33140
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Ravacan                                                      Contingent
         1600 East Franklin Avenue Suite D                            Unliquidated
         El Segundo, CA 90245                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 52 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 75 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Raymond Cromwell                                             Contingent
         9407 Super Street                                            Unliquidated
         Waldorf, MD 20603                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,413.75
         Raymond Handling Consultants, LC                             Contingent
         P.O. Box 865491                                              Unliquidated
         Orlando, FL 32886                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Recycling Services of Florida                                Contingent
         3560 126th Ave North                                         Unliquidated
         Clearwater, FL 33762                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Republic Services of Florida                                 Contingent
         8595 Pelam Road, Suite 400 #318                              Unliquidated
         Greenville, SC 29615                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $26,565.00
         Riveron Consulting, LLC                                      Contingent
         2515 McKinney Ave                                            Unliquidated
         Suite 1200                                                   Disputed
         Dallas, TX 75201
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,500.00
         RK Strategies, LLC                                           Contingent
         1405 Baychester Ave                                          Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $29,700.00
         Ryan Patch, ESQ                                              Contingent
         2172 Queen Palm Rd                                           Unliquidated
         Boca Raton, FL 33432                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 53 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 76 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Saba Faruqui                                                 Contingent
         c/o Rudy, Exelrod, Zieff & Lowe, LLP                         Unliquidated
         351 California Street, Ste 700
                                                                      Disputed
         San Francisco, CA 94104
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $28.14
         Safety Products, Inc                                         Contingent
         3517 Craftsman Blvd                                          Unliquidated
         Lakeland, FL 33803                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,120.00
         Salesforce.com, Inc                                          Contingent
         415 Mission St                                               Unliquidated
         3rd Floor                                                    Disputed
         San Francisco, CA 94105
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Salman Abdallah Mohamed Hassan                               Contingent
         Saifedeen                                                    Unliquidated
         Dept CH 19228                                                Disputed
         Palatine, IL 60055-9228
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         San Diego Model Management Inc.                              Contingent
         760 Market Street, Floor 10                                  Unliquidated
         San Francisco, CA 94102                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,000.00
         SCHOX, PLC                                                   Contingent
         500 3rd St                                                   Unliquidated
         Suite 215                                                    Disputed
         San Francisco, CA 94107
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Sensrion                                                     Contingent
         3251 W 135th St                                              Unliquidated
         Hawthorne, CA 90250                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 54 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 77 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Shivan Bassaw
         c/o Ian Piasecki, Esq.                                       Contingent
         Mizrahi Kroub, LLP                                           Unliquidated
         225 Broadway, FL 39                                          Disputed
         New York, NY 10007
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Shred Connect                                                Contingent
         760 E Lambert, Unit B                                        Unliquidated
         La Habra, CA 90631                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $8,471.96
         Sigma-Aldrich, Inc                                           Contingent
         3050 Spruce St                                               Unliquidated
         Saint Louis, MO 63103                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         ST Micro                                                     Contingent
         2 Radcliff Road                                              Unliquidated
         Tewksbury, MA 01876                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,263.32
         Staples Contract & Commercial, LLC                           Contingent
         d/b/a Staples Business Advantage                             Unliquidated
         P.O. Box 105748                                              Disputed
         Atlanta, GA 30348-5748
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Steve Elster                                                 Contingent
         8595 Pelam Road, Suite 400 #318                              Unliquidated
         Greenville, SC 29615                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $7,148.75
         Synergy North America, Inc                                   Contingent
         11001 West 120th Ave                                         Unliquidated
         Suite 400,                                                   Disputed
         Broomfield, CO 80021
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 55 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 78 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Talend, Inc.                                                 Contingent
         7220 W 98th Terrace                                          Unliquidated
         Overland Park, KS 66212                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $26,030.82
         TBC Supply                                                   Contingent
         732 Joseph E Lowery Blvd. NW                                 Unliquidated
         Atlanta, GA 30318                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $23,750.00
         Tealium, Inc                                                 Contingent
         9605 Scranton Rd                                             Unliquidated
         Suite 600                                                    Disputed
         San Diego, CA 92121
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $91,128.72
         TELUS International (US) Corp                                Contingent
         TELUS Customer Payments                                      Unliquidated
         2251 South Decatur                                           Disputed
         Las Vegas, NV 89102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,500.00
         The Bluebird Group, LLC                                      Contingent
         81 South 9th St                                              Unliquidated
         Suite 420                                                    Disputed
         Minneapolis, MN 55402
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,375.00
         The Dog Agency, LLC                                          Contingent
         135 Madison Ave                                              Unliquidated
         5th Floor                                                    Disputed
         New York, NY 10016
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         The EMC Shop                                                 Contingent
         Dept CH 19228                                                Unliquidated
         Palatine, IL 60055-9228                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 56 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 79 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         The Flip Hubb, LLC                                           Contingent
         1265 Sand Hill Rd                                            Unliquidated
         Candler, NC 28715                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         The Pooch Coach                                              Contingent
         7220 W 98th Terrace                                          Unliquidated
         Overland Park, KS 66212                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,239.74
         The Quality Edit, LLC                                        Contingent
         113 North San Vicente Blvd                                   Unliquidated
         Suite 236                                                    Disputed
         Beverly Hills, CA 90211
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $36,705.83
         The Yocca Law Firm, LLP                                      Contingent
         18881 Von Karman Ave                                         Unliquidated
         Suite 1620                                                   Disputed
         Irvine, CA 92612
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Theodore Sage Davis                                          Contingent
         102 N Glassell St                                            Unliquidated
         Orange, CA 92866                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Thermo Fisher Scientific Chemicals Inc.                      Contingent
         9605 Scranton Rd Ste 600                                     Unliquidated
         San Diego, CA 92121                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $500.00
         ThinkLite                                                    Contingent
         117 West Central St                                          Unliquidated
         Suite 201                                                    Disputed
         Natick, MA 01760
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 57 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 80 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,500.00
         Thorncrest Coastal, LLC                                      Contingent
         1310 Rosecrans St                                            Unliquidated
         Suite C                                                      Disputed
         San Diego, CA 92106
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $500.00
         TikTok, Inc                                                  Contingent
         5800 Bristol Pkwy                                            Unliquidated
         Suite 100                                                    Disputed
         Culver City, CA 90230
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $126,170.00
         Toppan Merrill                                               Contingent
         P.O. Box 74007295                                            Unliquidated
         Chicago, IL 60674                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Toyoplas                                                     Contingent
         117 W Central Street, Suite 201                              Unliquidated
         Natick, MA 01760                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         UCPS                                                         Contingent
         18881 Von Karman Ave, Suite 1620/650                         Unliquidated
         Irvine, CA 92612                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,482.99
         UL, LLC                                                      Contingent
         75 Remittance Dr                                             Unliquidated
         Suite #1524                                                  Disputed
         Chicago, IL 60675-1524
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,745.97
         Uline                                                        Contingent
         P.O. Box 88741                                               Unliquidated
         Chicago, IL 60680-1741                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 58 of 60
                             Case 23-18093-MAM                  Doc 1         Filed 10/03/23                 Page 81 of 157

Debtor      Molekule, Inc.                                                                  Case number (if known)
            Name

3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $2,746.50
         Unified Accounting & Tax, LLP                                Contingent
         1308 Wisteria Dr                                             Unliquidated
         Fremont, CA 94539                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         University of South Florida                                  Contingent
         Research Foundation                                          Unliquidated
         445 Cole Street # 3                                          Disputed
         San Francisco, CA 94117
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Valuecart Private Limited                                    Contingent
         1075 Curtis Street                                           Unliquidated
         Menlo Park, CA 94025                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Well Shin                                                    Contingent
         14118 Pemberley Passage Ave                                  Unliquidated
         Bakersfield, CA 93311                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         Wrike, Inc.                                                  Contingent
         P.O. Box 660916                                              Unliquidated
         Dallas, TX 75266-0916                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $6,426.48
         Wursta Corporation                                           Contingent
         2614 South 5th St                                            Unliquidated
         Allentown, PA 18103                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $9,825.00
         Yellow Logistics                                             Contingent
         P.O. Box 775556                                              Unliquidated
         Chicago, IL 60677-5556                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 59 of 60
                               Case 23-18093-MAM                        Doc 1         Filed 10/03/23                    Page 82 of 157

Debtor       Molekule, Inc.                                                                         Case number (if known)
             Name

3.198     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $27,630.00
          Zendesk, Inc                                                        Contingent
          1019 Market St                                                      Unliquidated
          San Francisco, CA 94103                                             Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?        No      Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Internal Revenue Service
          P.O. Box 7346                                                                             Line     2.47
          Philadelphia, PA 19114
                                                                                                           Not listed. Explain

4.2       Meta Platforms, Inc
          1601 Willow Rd                                                                            Line     3.121
          Menlo Park, CA 94025
                                                                                                           Not listed. Explain

4.3       SEC Headquarters
          100 F Street, NE                                                                          Line     2.91
          Washington, DC 20549
                                                                                                           Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                     758,013.88
5b. Total claims from Part 2                                                                           5b.    +     $                   8,666,636.72

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                      9,424,650.60




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 60 of 60
                             Case 23-18093-MAM                    Doc 1        Filed 10/03/23            Page 83 of 157

Fill in this information to identify the case:

Debtor name       Molekule, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease - 1301 Folsom
           lease is for and the nature of        Street, San Francisco,
           the debtor's interest                 CA
                                                                                    140 Partners, LP
               State the term remaining                                             c/o Darin T. Judd, Esq.
                                                                                    Thompson Welch Soroko & Gilbert, LLP
           List the contract number of any                                          3950 Civic Center Dr, Suite 300
                 government contract                                                San Rafael, CA 94903


2.2.       State what the contract or            Vendor Chargeback
           lease is for and the nature of        Recovery Agreement
           the debtor's interest

               State the term remaining
                                                                                    3CG DimeTyd, LLC
           List the contract number of any                                          16192 Coastal Hwy
                 government contract                                                Lewes, DE 19958


2.3.       State what the contract or            Afterpay Global Master
           lease is for and the nature of        Services Agreement
           the debtor's interest
                                                                                    Afterpay US, Inc.
               State the term remaining                                             Afterpay US Services, LLC
                                                                                    Attn: Legal
           List the contract number of any                                          760 Market St, Floor 2 Unit 2.03
                 government contract                                                San Francisco, CA 94102


2.4.       State what the contract or            Global Merchant
           lease is for and the nature of        Services - Marketing
           the debtor's interest                 Insertion Order

               State the term remaining                                             American Express Merchant Marketing
                                                                                    Attn: Department 87
           List the contract number of any                                          PO Box 299051
                 government contract                                                Fort Lauderdale, FL 33329




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 11
                         Case 23-18093-MAM                    Doc 1   Filed 10/03/23         Page 84 of 157
Debtor 1 Molekule, Inc.                                                           Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.5.      State what the contract or        Tax compliance
          lease is for and the nature of    software
          the debtor's interest

             State the term remaining       07/30/2024
                                                                          Avalara Inc.
          List the contract number of any                                 255 S. King St #1800
                government contract                                       Seattle, WA 98104


2.6.      State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining       12/12/2023                    Blair Greenwood Consulting LLC
                                                                          Attn.: Blair Greenwood
          List the contract number of any                                 1215 Saint John Place
                government contract                                       Fort Collins, CO 80525


2.7.      State what the contract or        Channel Market
          lease is for and the nature of    Consultant Sales
          the debtor's interest             Representative
                                            Agreement
             State the term remaining
                                                                          Bobby Whitson
          List the contract number of any                                 125 Temple Crest Trail
                government contract                                       Franklin, TN 37069


2.8.      State what the contract or        Master Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                          Capgemini America Inc.
          List the contract number of any                                 79 Fifth Ave, 3rd FL
                government contract                                       New York, NY 10003


2.9.      State what the contract or        Employment
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining       10/1/2022 - 10/1/2023
                                                                          Chris Thorpe
          List the contract number of any                                 8300 N. View Blvd
                government contract                                       Norfolk, VA 23518




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 11
                         Case 23-18093-MAM                    Doc 1   Filed 10/03/23         Page 85 of 157
Debtor 1 Molekule, Inc.                                                           Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.10.     State what the contract or        Month to Month
          lease is for and the nature of    Software Service
          the debtor's interest             Agreement

             State the term remaining
                                                                          Churn Buster, LLC
          List the contract number of any                                 237 A St #74803
                government contract                                       San Diego, CA 92101


2.11.     State what the contract or        Communications
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                          Comprise
          List the contract number of any                                 1919 14th St. #700
                government contract                                       Boulder, CO 80302


2.12.     State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining       01/01/2024
                                                                          Elise Skiver
          List the contract number of any                                 3086 W. Denver Pl
                government contract                                       Denver, CO 80211


2.13.     State what the contract or        Integrated Marketing
          lease is for and the nature of    Communications
          the debtor's interest             Vendor Agreement

             State the term remaining       02/28/2024
                                                                          Epic Strategies LLC
          List the contract number of any                                 1370 E Primrose St, Suite A
                government contract                                       Springfield, MO 65804


2.14.     State what the contract or        Lease - 10455 Riverside
          lease is for and the nature of    Dr, Palm Beach
          the debtor's interest             Gardens, FL

             State the term remaining
                                                                          Gardens Bio Science Partners, LLC
          List the contract number of any                                 525 Okeechobee Blvd, Suite 1650
                government contract                                       West Palm Beach, FL 33401




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 3 of 11
                         Case 23-18093-MAM                    Doc 1   Filed 10/03/23         Page 86 of 157
Debtor 1 Molekule, Inc.                                                           Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.15.     State what the contract or        Marketing Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining                                     Homestead Studio, LLC
                                                                          Riley Trotter
          List the contract number of any                                 2705 Lake Park Rd #103
                government contract                                       Appleton, WI 54915


2.16.     State what the contract or        Advertising Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Houzz Media Company
          List the contract number of any                                 285 Hamilton Ave, 4th FL
                government contract                                       Palo Alto, CA 94301


2.17.     State what the contract or        Design, Manufacturing
          lease is for and the nature of    and Supply Agreement
          the debtor's interest
                                                                          Inventec Appliances Corporation
             State the term remaining                                     No.37, Wugong 5th Road
                                                                          Wugu District, New Taipei City
          List the contract number of any                                 Taiwan 24890
                government contract


2.18.     State what the contract or        Enterprise Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining       03/30/2024
                                                                          Ironclad, Inc.
          List the contract number of any                                 71 Stevenson St #600
                government contract                                       San Francisco, CA 94105


2.19.     State what the contract or        Master Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining       04/04/2024
                                                                          Iterable
          List the contract number of any                                 71 Stevenson St, #300
                government contract                                       San Francisco, CA 94105




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 4 of 11
                         Case 23-18093-MAM                    Doc 1   Filed 10/03/23         Page 87 of 157
Debtor 1 Molekule, Inc.                                                           Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.20.     State what the contract or        Employment
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining       1/12/2023 - until
                                            terminated                    Jason DiBona
          List the contract number of any                                 1402 Dakota Dr
                government contract                                       Jupiter, FL 33458


2.21.     State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining       08/09/2024
                                                                          Jaylon King
          List the contract number of any                                 4058 Cornell Blvd SW
                government contract                                       Atlanta, GA 30331


2.22.     State what the contract or        Employment
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining       6/27/2022 - until
                                            terminated                    Jimmy Thompson
          List the contract number of any                                 18660 SE River Ridge Rd
                government contract                                       Jupiter, FL 33469


2.23.     State what the contract or        Employment
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining       6/27/2022 - until
                                            terminated                    Joe Lesters
          List the contract number of any                                 25819 Ross St
                government contract                                       Plainfield, IL 60585


2.24.     State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                     K of Course, LLC
                                                                          c.o Shanna Polesovsky
          List the contract number of any                                 3175 Wright St
                government contract                                       Wheat Ridge, CO 80215




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 5 of 11
                         Case 23-18093-MAM                    Doc 1   Filed 10/03/23         Page 88 of 157
Debtor 1 Molekule, Inc.                                                           Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.25.     State what the contract or        Advertising Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Kargo Global Inc.
          List the contract number of any                                 826 Broadway, 4th FL
                government contract                                       New York, NY 10003


2.26.     State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Katherine Elizabeth Ouimette
          List the contract number of any                                 445 Cole St. #3
                government contract                                       San Francisco, CA 94117


2.27.     State what the contract or        Influencer Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Kelsey Johnson
          List the contract number of any                                 4130 Wycliff Ave, #104
                government contract                                       Dallas, TX 75219


2.28.     State what the contract or        Marketing Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          KlientBoost, LLC
          List the contract number of any                                 2787 Bristol St
                government contract                                       Costa Mesa, CA 92626


2.29.     State what the contract or        Forklift Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                     Life Trucks, Inc.
                                                                          Toyota/Nationwide Lift Trucks, Inc.
          List the contract number of any                                 3900 N. 28th Terrace
                government contract                                       Hollywood, FL 33020-1105




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 6 of 11
                         Case 23-18093-MAM                    Doc 1   Filed 10/03/23         Page 89 of 157
Debtor 1 Molekule, Inc.                                                           Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.30.     State what the contract or        Print and Mail
          lease is for and the nature of    subscription
          the debtor's interest

             State the term remaining
                                                                          Lob
          List the contract number of any                                 210 King St
                government contract                                       San Francisco, CA 94107


2.31.     State what the contract or        Contribution
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                          Lunya
          List the contract number of any                                 1032 Broadway
                government contract                                       Santa Monica, CA 90401


2.32.     State what the contract or        On-Line Marketplace
          lease is for and the nature of    Seller Agreement
          the debtor's interest

             State the term remaining
                                                                          Macy's Marketplace, LLC
          List the contract number of any                                 145 Progress Pl
                government contract                                       Cincinnati, OH 45246-1717


2.33.     State what the contract or        Software Development
          lease is for and the nature of    Services Contract
          the debtor's interest

             State the term remaining
                                                                          MisterBit Ltd
          List the contract number of any                                 4 HaBonim St
                government contract                                       Ramat Gan, Israel


2.34.     State what the contract or        Tiny Home Contract
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Nookncranny, LLC dba Nook Tiny Homes
          List the contract number of any                                 22111 Hwy 71 West, Suite 801
                government contract                                       Spicewood, TX 78669




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 7 of 11
                         Case 23-18093-MAM                    Doc 1   Filed 10/03/23         Page 90 of 157
Debtor 1 Molekule, Inc.                                                           Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.35.     State what the contract or        Service Subscription
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                          Nova Module
          List the contract number of any                                 7901 Oakport St #4250
                government contract                                       Oakland, CA 94621


2.36.     State what the contract or        Cloud service
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                          Oracle America, Inc
          List the contract number of any                                 2300 Oracle Way
                government contract                                       Austin, TX 78741


2.37.     State what the contract or        Customer Referral
          lease is for and the nature of    Promotion Program
          the debtor's interest             Agreement

             State the term remaining                                     Ouraring Inc.
                                                                          c/o WeWork
          List the contract number of any                                 415 Mission St, 37th Floor
                government contract                                       San Francisco, CA 94105


2.38.     State what the contract or        OptionTrax Service
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                          Paramount Financial Communications, Inc.
          List the contract number of any                                 1001 Conshohocken State Rd, #600
                government contract                                       West Conshohocken, PA 19428


2.39.     State what the contract or        Membership
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                          PTTOW! LLC
          List the contract number of any                                 21 Alton Rd
                government contract                                       Miami Beach, FL 33140




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 8 of 11
                         Case 23-18093-MAM                    Doc 1   Filed 10/03/23         Page 91 of 157
Debtor 1 Molekule, Inc.                                                           Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.40.     State what the contract or        Forklift Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                     Raymond Leasing Corporation
                                                                          Attn: Accounts Receivable
          List the contract number of any                                 PO Box 130
                government contract                                       Greene, NY 13778


2.41.     State what the contract or        Subscription Platform
          lease is for and the nature of    Contract
          the debtor's interest

             State the term remaining
                                                                          Recharge Inc.
          List the contract number of any                                 1507 20 St.
                government contract                                       Santa Monica, CA 90404


2.42.     State what the contract or        Employment
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining       1/12/2023 - until
                                            terminated                    Ryan Tyler
          List the contract number of any                                 1711 West Community Dr
                government contract                                       Jupiter, FL 33458


2.43.     State what the contract or        Cloud/Software
          lease is for and the nature of    Contract
          the debtor's interest

             State the term remaining                                     Salesforce, Inc.
                                                                          Salesforce Tower
          List the contract number of any                                 415 Mission St, 3rd FL
                government contract                                       San Francisco, CA 94105


2.44.     State what the contract or        Influencer Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Samantha Hermann
          List the contract number of any                                 16018 Ames Ave
                government contract                                       Omaha, NE 68111




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 9 of 11
                         Case 23-18093-MAM                    Doc 1   Filed 10/03/23         Page 92 of 157
Debtor 1 Molekule, Inc.                                                           Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.45.     State what the contract or        Shopify Plus
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                          Shopify Inc.
          List the contract number of any                                 151 O'Connor St, Ground Floor
                government contract                                       Ottawa, ON K2P2L8


2.46.     State what the contract or        Marketing Contract
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Supermetrics Inc.
          List the contract number of any                                 1175 Peachtree St NE
                government contract                                       Atlanta, GA 30361


2.47.     State what the contract or        Data Management
          lease is for and the nature of    Contract
          the debtor's interest

             State the term remaining
                                                                          Talend, Inc.
          List the contract number of any                                 800 Bridge Pkwy #200
                government contract                                       Redwood City, CA 94065


2.48.     State what the contract or        Lease - 3802 Spectrum
          lease is for and the nature of    Blvd, Suite 112E, 119,
          the debtor's interest             143, and Lab 205 A&B,
                                            Tampa, FL
             State the term remaining                                     Tampa Bay Technology Incubator
                                                                          Attn: Director, Business Incubation
          List the contract number of any                                 3802 Spectrum Blvd, Suite 100
                government contract                                       Tampa, FL 33612


2.49.     State what the contract or        Lease - 4000 N.
          lease is for and the nature of    Combee Road,
          the debtor's interest             Lakeland, FL and 4040
                                            N. Combee Road,
                                            Lakeland, FL
             State the term remaining                                     The Ruthvens
                                                                          41 Lake Morton Drive
          List the contract number of any                                 PO Box 2420
                government contract                                       Lakeland, FL 33806-2420




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 10 of 11
                         Case 23-18093-MAM                    Doc 1   Filed 10/03/23         Page 93 of 157
Debtor 1 Molekule, Inc.                                                           Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.50.     State what the contract or        Sublease - 3802
          lease is for and the nature of    Spectrum Blvd, Suite
          the debtor's interest             112E, 119, 143, and Lab
                                            205 A&B, Tampa, FL
             State the term remaining                                     The Univerity of South Florida
                                                                          Board of Trustees
          List the contract number of any                                 4202 East Fowler Ave
                government contract                                       Tampa, FL 33620


2.51.     State what the contract or        Equipment Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Trinity Capital, Inc.
          List the contract number of any                                 3075 West Ray Road
                government contract                                       Chandler, AZ 85226


2.52.     State what the contract or        Employment
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining       10/1/2022 - 10/1/2023
                                                                          Troy Cromwell
          List the contract number of any                                 12823 Ilderton Drive
                government contract                                       Humble, TX 77346


2.53.     State what the contract or        Zoom Video Services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Zoom Video Communications Inc.
          List the contract number of any                                 55 Almaden Blvd, 6th FL
                government contract                                       San Jose, CA 95113




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 11 of 11
                           Case 23-18093-MAM                   Doc 1        Filed 10/03/23           Page 94 of 157

Fill in this information to identify the case:

Debtor name      Molekule, Inc.

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Molekule Group,             10455 Riverside Drive, Suite 100                          Silicon Valley Bank, a             D   2.3
          Inc.                        Palm Beach Gardens, FL 33410                              Division of                        E/F
                                                                                                                                   G




   2.2    Molekule Group,             10455 Riverside Drive, Suite 100                          Silicon Valley Bank, a             D   2.4
          Inc.                        Palm Beach Gardens, FL 33410                              Division of                        E/F
                                                                                                                                   G




   2.3    Molekule Group,             10455 Riverside Drive, Suite 100                          Trinity Capital Inc.               D   2.5
          Inc.                        Palm Beach Gardens, FL 33410                                                                 E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
                            Case 23-18093-MAM                   Doc 1         Filed 10/03/23             Page 95 of 157




Fill in this information to identify the case:

Debtor name         Molekule, Inc.

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                          amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                        04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,           Sources of revenue                   Gross revenue
      which may be a calendar year                                                   Check all that apply                 (before deductions and
                                                                                                                          exclusions)

      From the beginning of the fiscal year to filing date:                              Operating a business                    $32,113,782.00
      From 1/01/2023 to Filing Date
                                                                                         Other    9/26/2023


      From the beginning of the fiscal year to filing date:                              Operating a business                    $28,107,867.00
      From 1/01/2023 to Filing Date
                                                                                         Other    8/31/2023


      For prior year:                                                                    Operating a business                    $48,028,194.00
      From 1/01/2022 to 12/31/2022
                                                                                         Other


      For prior year:                                                                    Operating a business                        $227,186.00
      From 1/01/2022 to 12/31/2022                                                                Aeroclean
                                                                                                  Technologies - Gross
                                                                                         Other    Income


      For year before that:                                                              Operating a business                    $76,052,125.00
      From 1/01/2021 to 12/31/2021
                                                                                         Other


      For year before that:                                                              Operating a business                        $616,511.00
      From 1/01/2021 to 12/31/2021                                                                Aeroclean
                                                                                                  Technologies - Gross
                                                                                         Other    Income




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
                              Case 23-18093-MAM                  Doc 1         Filed 10/03/23             Page 96 of 157
Debtor       Molekule, Inc.                                                                    Case number (if known)



2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:
      From 1/01/2023 to Filing Date                                                   Interest Income - 9/26/2023                           $156,861.00


      From the beginning of the fiscal year to filing date:
      From 1/01/2023 to Filing Date                                                   Grant Income - 9/26/2023                              $140,468.00


      From the beginning of the fiscal year to filing date:
      From 1/01/2023 to Filing Date                                                   Interest Income - 8/31/2023                           $149,276.00


      From the beginning of the fiscal year to filing date:
      From 1/01/2023 to Filing Date                                                   Grant Income - 8/31/2023                              $140,468.00


      For prior year:
      From 1/01/2022 to 12/31/2022                                                    Interest Income                                        $55,260.00


      For prior year:
      From 1/01/2022 to 12/31/2022                                                    Grant Income                                          $207,143.00


      For year before that:
      From 1/01/2021 to 12/31/2021                                                    Interest Income                                          $7,495.00


      For year before that:
      From 1/01/2021 to 12/31/2021                                                    Grant Income                                          $269,581.00


Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
      3.1.
              See Attached Exhibit "A"                                                                                  Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 2
                              Case 23-18093-MAM                    Doc 1        Filed 10/03/23             Page 97 of 157
Debtor       Molekule, Inc.                                                                     Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    140 Partners, LP v. Molekule,            Civil                       Superior Court of California                  Pending
              Inc.                                                                 San Francisco                                 On appeal
              CGC-23-609205                                                        400 McAllister Street
                                                                                                                                 Concluded
                                                                                   San Francisco, CA
                                                                                   94102-4514

      7.2.    Molekule Group, Inc. v. Aura             Civil                       US District Court                             Pending
              Smart Air, Ltd.                                                      Southern District of Florida                  On appeal
              23-81291-CIV-CANNON                                                  701 Clematis Street, Room
                                                                                                                                 Concluded
                                                                                   202
                                                                                   West Palm Beach, FL 33401

      7.3.    Photon Interactive Services,             Civil                       Superior Court of California                  Pending
              Inc. v. Molekule, Inc.                                               County of Santa Clara                         On appeal
              22CV405770                                                           400 McAllister Street
                                                                                                                                 Concluded
                                                                                   San Francisco, CA
                                                                                   94102-4514




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
                              Case 23-18093-MAM                  Doc 1         Filed 10/03/23             Page 98 of 157
Debtor       Molekule, Inc.                                                                    Case number (if known)



              Case title                              Nature of case              Court or agency's name and               Status of case
              Case number                                                         address
      7.4.    Molekule Inc. v. Manz AG                Civil                       International Chamber of                    Pending
              ICC27794 PDP                                                        Commerce                                    On appeal
                                                                                  Tribunal New York
                                                                                                                              Concluded
                                                                                  1212 Avenue of The
                                                                                  Americas
                                                                                  New York, NY 10036

      7.5.    Shivan Bassaw v. Molekule,              Civil                       US District Court for                       Pending
              Inc.                                                                Southern District of New                    On appeal
              1:23-cv-04667-JPC                                                   York
                                                                                                                              Concluded
                                                                                  40 Foley Square
                                                                                  New York, NY 10007


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                 Dates given                          Value

      9.1.    The Way Station                         Donations of product were made to
              769 Springfield Rd                      support the town of East Palestine
              Columbiana, OH 44408                    following the train derailment and
                                                      following disaster/recovery. 200 Air Mini
                                                      +'s                                                       3/8/2023                      $38,595.50

              Recipients relationship to debtor



      9.2.    Village of East Palestine               Donations of product were made to
              85 N. Market St                         support the town of East Palestine
              East Palestine, OH 44413                following the train derailment and
                                                      following disaster/recovery. 100 Air Mini
                                                      +'s                                                       3/8/2023                      $19,297.76

              Recipients relationship to debtor




Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
                               Case 23-18093-MAM                   Doc 1         Filed 10/03/23               Page 99 of 157
Debtor        Molekule, Inc.                                                                      Case number (if known)



      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.                                                                                                            5/26/2023 -
                                                                                                                       $10,000.00
                                                                                                                       8/28/2023 -
                                                                                                                       $20,000.00
                Shraiberg Page PA                                                                                      9/12/2023 -
                2385 NW Executive Center Dr                                                                            $150,000.00
                Suite 300                                                                                              9/28/2023 -
                Boca Raton, FL 33431                     Attorney Fees                                                 $75,000.00              $255,000.00

                Email or website address
                bss@slp.law

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                      Dates transfers             Total amount or
                                                                                                                were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                            Dates of occupancy
                                                                                                                   From-To


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5
                              Case 23-18093-MAM                   Doc 1         Filed 10/03/23             Page 100 of 157
Debtor        Molekule, Inc.                                                                     Case number (if known)



                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     1301 Folsom St                                                                                      2019 - Petition Date
                San Francisco, CA 94103

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Name, Address, and Credit Card Information
                 Does the debtor have a privacy policy about that information?
                   No
                     Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Molekule 401(k) Plan                                                                EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    AeroClean Technologies, Inc. 401(k) Plan                                            EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
                            Case 23-18093-MAM                       Doc 1       Filed 10/03/23             Page 101 of 157
Debtor      Molekule, Inc.                                                                       Case number (if known)



    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      ALOM - Fremont                                                                               Outsourced warehousing and                     No
      48105 Warm Spring Blvd                                                                       logistics                                      Yes
      Fremont, CA 94539

      ALOM - Indy                                                                                  Outsourced warehousing and                     No
      3910 Wademere Ave                                                                            logistics                                      Yes
      Indianapolis, IN 46241

      ALOM - Canada                                                                                Outsourced warehousing and                     No
      140a Great Gulf Dr.                                                                          logistics                                      Yes
      Vaughan, Canada L4K5W1

      ALOM - UK                                                                                    Outsourced warehousing and                     No
      Gildeweg 10 Voerde                                                                           logistics                                      Yes
      Germany 46562

      ALOM - UK                                                                                    Outsourced warehousing and                     No
      Gildeweg 167 Voerde                                                                          logistics                                      Yes
      Germany 46562

      UK Storage                                                                                   Outsourced warehousing and                     No
      Green Bank Saxby Rd                                                                          logistics                                      Yes
      Melton Mowbray UK LE13 1FF

      EU Storage - Dimass                                                                          Outsourced warehousing and                     No
      Grote Ohe-weg 3 6081 PT                                                                      logistics                                      Yes
      Haelen Netherlands



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 7
                           Case 23-18093-MAM                     Doc 1         Filed 10/03/23             Page 102 of 157
Debtor      Molekule, Inc.                                                                      Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 8
                             Case 23-18093-MAM                     Doc 1         Filed 10/03/23             Page 103 of 157
Debtor      Molekule, Inc.                                                                        Case number (if known)



          within 2 years before filing this case.

             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Citrin Cooperman & Company, LLP                                                                                 Last 2 years
                    50 Rockefeller Plaza
                    New York, NY 10020
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.2.        PricewaterhouseCoopers LLP                                                                                      Last 2 years
                    405 Howard St. Ste 600
                    San Francisco, CA 94105

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                                 If any books of account and records are
                                                                                                       unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Silicon Valley Bank
                    3003 Tasman Drive
                    Santa Clara, CA 95054
      26d.2.        Trinity Capital Inc.
                    1 N. 1st Street, Floor 3
                    Phoenix, AZ 85004
      26d.3.        Securities and Exchange Commission
                    801 Brickell Ave., Suite 1950
                    Miami, FL 33131

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                    Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                       or other basis) of each inventory
      27.1 Annabelle Vallarta
      .                                                                               5/31/2023                Peco Zero

               Name and address of the person who has possession of
               inventory records
               Ryan Tyler
               10455 Riverside Dr. Ste 100
               Palm Beach Gardens, FL 33410




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 9
                          Case 23-18093-MAM                  Doc 1         Filed 10/03/23             Page 104 of 157
Debtor      Molekule, Inc.                                                                  Case number (if known)



             Name of the person who supervised the taking of the                Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                   or other basis) of each inventory
      27.2 Steve Small
      .                                                                         1/3/2023                 Peco Zero

             Name and address of the person who has possession of
             inventory records
             Ryan Tyler
             10455 Riverside Dr. Ste 100
             Palm Beach Gardens, FL 33410


      27.3 Maddy Houser (Indy) and Shaira Cabrales (Fremont)
      .                                                                         1/3/2023                 ALOM

             Name and address of the person who has possession of
             inventory records
             Ryan Tyler
             10455 Riverside Dr. Ste 100
             Palm Beach Gardens, FL 33410


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                               Address                                              Position and nature of any            % of interest, if
                                                                                              interest                              any
      Foundry Group Next, L.P.                                                                Shareholder                           21.227%


      Name                               Address                                              Position and nature of any            % of interest, if
                                                                                              interest                              any
      Entities assiciated with                                                                Shareholder                           6.9268%
      Crosslink

      Name                               Address                                              Position and nature of any            % of interest, if
                                                                                              interest                              any
      Entities associated with                                                                Shareholder                           5.0079%
      Uncork Capital

      Name                               Address                                              Position and nature of any            % of interest, if
                                                                                              interest                              any
      Lewis Pell                                                                              Shareholder                           4.6145%


      Name                               Address                                              Position and nature of any            % of interest, if
                                                                                              interest                              any
      Amistice                                                                                Shareholder                           9.9992%


      Name                               Address                                              Position and nature of any            % of interest, if
                                                                                              interest                              any
      Amin J. Khoury, PhD                                                                     Shareholder                           12.1367%


      Name                               Address                                              Position and nature of any            % of interest, if
                                                                                              interest                              any
      David Helfet, M.D.                                                                      Shareholder                           2.3148%




Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 10
                            Case 23-18093-MAM                Doc 1         Filed 10/03/23             Page 105 of 157
Debtor      Molekule, Inc.                                                                  Case number (if known)



      Name                               Address                                              Position and nature of any      % of interest, if
                                                                                              interest                        any
      Mark Krosney                                                                            Shareholder                     0.7550%


      Name                               Address                                              Position and nature of any      % of interest, if
                                                                                              interest                        any
      Michael Senft                                                                           Shareholder                     0.2072%


      Name                               Address                                              Position and nature of any      % of interest, if
                                                                                              interest                        any
      Thomas P. McCaffrey                                                                     Shareholder                     0.6416%


      Name                               Address                                              Position and nature of any      % of interest, if
                                                                                              interest                        any
      Heather Floyd                                                                           Shareholder                     0.1%


      Name                               Address                                              Position and nature of any      % of interest, if
                                                                                              interest                        any
      Timothy J. Scannell                                                                     Shareholder                     0.1%


      Name                               Address                                              Position and nature of any      % of interest, if
                                                                                              interest                        any
      Brad Feld                                                                               Shareholder                     21.2268%


      Name                               Address                                              Position and nature of any      % of interest, if
                                                                                              interest                        any
      Jason DiBona                                                                            Shareholder                     0.6%


      Name                               Address                                              Position and nature of any      % of interest, if
                                                                                              interest                        any
      Ryan Tyler                                                                              Shareholder                     0.4%


      Name                               Address                                              Position and nature of any      % of interest, if
                                                                                              interest                        any
      Ronti Pal                                                                               Shareholder                     0.6%


      Name                               Address                                              Position and nature of any      % of interest, if
                                                                                              interest                        any
      Jonathan Harris                                                                         Shareholder                     0.8%




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.




Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 11
                            Case 23-18093-MAM                    Doc 1         Filed 10/03/23             Page 106 of 157
Debtor      Molekule, Inc.                                                                      Case number (if known)



      Name                                   Address                                              Position and nature of any        Period during which
                                                                                                  interest                          position or interest
                                                                                                                                    was held
      Ritankar Pal                                                                                Chief Operating Officer           1/12/2023 -
                                                                                                                                    9/19/2023


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         October 3, 2023

/s/ Ryan Tyler                                                  Ryan Tyler
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Chief Financial Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 12
                                    Case 23-18093-MAM                          Doc 1               Filed 10/03/23                Page 107 of 157
                                       Molekule
                                      Molekule, Inc.
                                                                                                                                            SOFA #3 - Exhibit A
                           A/P Payment History by Payment
                          June 26, 2023 - September 26, 2023


Transaction   Bill Type      Date    Document Number                                    Amount       Transaction    Bill Type        Date         Document Number                                 Amount
Bill Payment #Wire-2023062826607842 - Aura Smart Air Inc.                                            Amount Unapplied - Bill Payment #00000442/2 - 4000 North Combee Road, LLC                     $0.00
             Bill Payment 6/28/2023     Wire-2023062826607842                        $68,387.61      Bill Payment #00000442/20 - Raymond Handling Consultants, L.C.
             Bill          6/5/2023     INVUS648                                       ($205.80)                     Bill Payment      8/3/2023     00000442/20                                 $1,471.25
             Bill          6/28/2023    INVIL1136                                   ($68,181.81)                     Bill              7/1/2023     RO-023684-4                                ($1,471.25)
Amount Unapplied - Bill Payment #Wire-2023062826607842 - Aura Smart Air Inc.              $0.00      Amount Unapplied - Bill Payment #00000442/20 - Raymond Handling Consultants, L.C.              $0.00
Bill Payment #Wire-2023062826611250 - Aura Smart Air Inc.                                            Bill Payment #00000442/21 - The Bluebird Group LLC
             Bill Payment 6/28/2023     Wire-2023062826611250                        $63,829.33                      Bill Payment      8/3/2023     00000442/21                                 $1,500.00
             Bill          6/1/2023     INVUS609                                     ($4,720.00)                     Bill              7/1/2023     10981                                      ($1,500.00)
             Bill          6/20/2023    INVUS651                                     ($4,288.35)     Amount Unapplied - Bill Payment #00000442/21 - The Bluebird Group LLC                          $0.00
             Bill          6/25/2023    INVUS652                                       ($367.04)     Bill Payment #00000442/22 - Thorncrest Coastal LLC
             Bill          6/26/2023    INVUS653                                     ($1,135.00)                     Bill Payment      8/3/2023     00000442/22                                 $1,500.00
             Bill          6/26/2023    INVUS654                                     ($1,135.00)                     Bill              7/1/2023     1721                                       ($1,500.00)
             Bill          6/28/2023    INVUS655                                    ($52,183.94)     Amount Unapplied - Bill Payment #00000442/22 - Thorncrest Coastal LLC                          $0.00
Amount Unapplied - Bill Payment #Wire-2023062826611250 - Aura Smart Air Inc.              $0.00      Bill Payment #00000442/23 - TikTok Inc.
Bill Payment #00000436/1 - Amazon Advertising, LLC                                                                   Bill Payment      8/3/2023     00000442/23                                  $996.25
             Bill Payment 6/29/2023     00000436/1                                    $2,225.27                      Bill              7/2/2023     MUUS20230905735                             ($996.25)
             Bill          5/2/2023     TRLTK8DQF-105                                ($2,225.27)     Amount Unapplied - Bill Payment #00000442/23 - TikTok Inc.                                    $0.00
Amount Unapplied - Bill Payment #00000436/1 - Amazon Advertising, LLC                     $0.00      Bill Payment #00000442/24 - University of South Florida Research Foundation
Bill Payment #00000436/2 - Client Partner Mgmt Group LLC                                                             Bill Payment      8/3/2023     00000442/24                                 $6,673.43
             Bill Payment 6/29/2023     00000436/2                                    $5,220.00                      Bill              8/1/2023     Aug 2023 Rent                              ($6,673.43)
             Bill          6/24/2023    23_14                                        ($5,220.00)     Amount Unapplied - Bill Payment #00000442/24 - University of South Florida Research Fo         $0.00
Amount Unapplied - Bill Payment #00000436/2 - Client Partner Mgmt Group LLC               $0.00      Bill Payment #00000442/25 - Amazon Advertising, LLC
Bill Payment #00000436/3 - Raymond Cromwell                                                                          Bill Payment      8/3/2023     00000442/25                                $21,133.01
             Bill Payment 6/29/2023     00000436/3                                    $5,046.00                      Bill              6/30/2023    7HDA23015333                              ($21,133.01)
             Bill          6/27/2023    MO 06.27.2023                                ($5,046.00)     Amount Unapplied - Bill Payment #00000442/25 - Amazon Advertising, LLC                         $0.00
Amount Unapplied - Bill Payment #00000436/3 - Raymond Cromwell                            $0.00      Bill Payment #00000442/3 - Brandography.com LLC
Bill Payment #00000437/1 - 4000 North Combee Road, LLC                                                               Bill Payment      8/3/2023     00000442/3                                  $4,320.00
             Bill Payment 6/29/2023     00000437/1                                   $10,316.12                      Bill              7/18/2023    6775                                       ($4,320.00)
             Bill          7/1/2023     July '23 Rent 4040 N Combee                 ($10,316.12)     Amount Unapplied - Bill Payment #00000442/3 - Brandography.com LLC                             $0.00
Amount Unapplied - Bill Payment #00000437/1 - 4000 North Combee Road, LLC                 $0.00      Bill Payment #00000442/4 - C Clean Inc
Bill Payment #00000437/10 - Cintas Corporation                                                                       Bill Payment      8/3/2023     00000442/4                                  $1,948.50
             Bill Payment 6/29/2023     00000437/10                                      $64.20                      Bill              7/1/2023     3448                                       ($1,948.50)
             Bill          6/1/2023     9198520947                                      ($64.20)     Amount Unapplied - Bill Payment #00000442/4 - C Clean Inc                                      $0.00
Amount Unapplied - Bill Payment #00000437/10 - Cintas Corporation                         $0.00      Bill Payment #00000442/5 - Cintas Corporation
Bill Payment #00000437/11 - Columbus Industries Texas LLP                                                            Bill Payment      8/3/2023     00000442/5                                   $162.95
             Bill Payment 6/29/2023     00000437/11                                  $26,352.00                      Bill              7/5/2023     5165411102                                  ($162.95)
             Bill          4/28/2023    1339841 RI                                  ($26,352.00)     Amount Unapplied - Bill Payment #00000442/5 - Cintas Corporation                              $0.00
Amount Unapplied - Bill Payment #00000437/11 - Columbus Industries Texas LLP              $0.00      Bill Payment #00000442/6 - Amazon Advertising, LLC
Bill Payment #00000437/12 - Columbus Industries Texas LLP                                                            Bill Payment      8/3/2023     00000442/6                                 $77,255.30
             Bill Payment 6/29/2023     00000437/12                                  $22,233.60                      Bill              6/30/2023    TRLTK8DQF-107                             ($77,255.30)
             Bill          5/1/2023     1339842 RI                                  ($22,233.60)     Amount Unapplied - Bill Payment #00000442/6 - Amazon Advertising, LLC                          $0.00
Amount Unapplied - Bill Payment #00000437/12 - Columbus Industries Texas LLP              $0.00      Bill Payment #00000442/7 - Columbus Industries Texas LLP
Bill Payment #00000437/13 - Columbus Industries Texas LLP                                                            Bill Payment      8/3/2023     00000442/7                                 $41,844.60
             Bill Payment 6/29/2023     00000437/13                                  $16,272.90                      Bill              5/30/2023    1343241 RI                                ($41,844.60)
             Bill          5/1/2023     1339843 RI                                  ($16,272.90)     Amount Unapplied - Bill Payment #00000442/7 - Columbus Industries Texas LLP                    $0.00
Amount Unapplied - Bill Payment #00000437/13 - Columbus Industries Texas LLP              $0.00      Bill Payment #00000442/8 - De Lage Landen Financial Services, Inc
Bill Payment #00000437/14 - Columbus Industries Texas LLP                                                            Bill Payment      8/3/2023     00000442/8                                  $2,593.35
             Bill Payment 6/29/2023     00000437/14                                   $6,974.10                      Bill              7/1/2023     586882827                                  ($2,593.35)
             Bill          5/1/2023     1339844 RI                                   ($6,974.10)     Amount Unapplied - Bill Payment #00000442/8 - De Lage Landen Financial Services, Inc           $0.00
Amount Unapplied - Bill Payment #00000437/14 - Columbus Industries Texas LLP              $0.00      Bill Payment #00000442/9 - Gardens Bio Science Partners LLC
Bill Payment #00000437/15 - Commerce Technologies, LLC DBA CommerceHub                                               Bill Payment      8/3/2023     00000442/9                                 $42,368.36
             Bill Payment 6/29/2023     00000437/15                                      $70.50                      Bill              8/1/2023     AERO-202308                               ($42,368.36)
             Bill          5/31/2023    2197386                                         ($70.50)     Amount Unapplied - Bill Payment #00000442/9 - Gardens Bio Science Partners LLC                 $0.00
Amount Unapplied - Bill Payment #00000437/15 - Commerce Technologies, LLC DBA Com         $0.00      Bill Payment #Wire-2023080326797444 - Lojistic LLC
Bill Payment #00000437/16 - CRITEO CORP                                                                              Bill Payment      8/3/2023     Wire-2023080326797444                      $19,054.63
             Bill Payment 6/29/2023     00000437/16                                  $15,015.79                      Bill              7/24/2023    PSINV214120                               ($19,054.63)
             Bill          5/31/2023    13US23051575                                ($15,015.79)     Amount Unapplied - Bill Payment #Wire-2023080326797444 - Lojistic LLC                          $0.00
Amount Unapplied - Bill Payment #00000437/16 - CRITEO CORP                                $0.00      Bill Payment #Wire-2023080326797486 - Lojistic LLC
Bill Payment #00000437/17 - Gardens Bio Science Partners LLC                                                         Bill Payment      8/3/2023     Wire-2023080326797486                      $44,840.22
             Bill Payment 6/29/2023     00000437/17                                  $42,368.36                      Bill              8/2/2023     P202330                                   ($44,840.22)
             Bill          7/1/2023     AERO-202307                                 ($42,368.36)     Amount Unapplied - Bill Payment #Wire-2023080326797486 - Lojistic LLC                          $0.00
Amount Unapplied - Bill Payment #00000437/17 - Gardens Bio Science Partners LLC           $0.00      Bill Payment #Wire-2023080326797503 - Goldfarb Seligman & Co.
Bill Payment #00000437/18 - Gardens Bio Science Partners LLC                                                         Bill Payment      8/3/2023     Wire-2023080326797503                       $1,282.32
             Bill Payment 6/29/2023     00000437/18                                   $3,284.82                      Bill              6/7/2023     23/291751                                  ($1,282.32)
             Bill          6/26/2023    6.20.23 Electric Statement                   ($3,284.82)     Amount Unapplied - Bill Payment #Wire-2023080326797503 - Goldfarb Seligman & Co.               $0.00
Amount Unapplied - Bill Payment #00000437/18 - Gardens Bio Science Partners LLC           $0.00      Bill Credit #FLEX-2095502-3 - Flexport
Bill Payment #00000437/19 - Gardens Bio Science Partners LLC                                                         Bill Credit       8/4/2023     FLEX-2095502-3                              $4,763.72
             Bill Payment 6/29/2023     00000437/19                                   $1,098.22                      Bill              7/19/2023    FLEX-2095502-3                             ($4,763.72)
             Bill          7/1/2023     AERO-052023FPL                               ($1,098.22)     Amount Unapplied - Bill Credit #FLEX-2095502-3 - Flexport                                      $0.00
Amount Unapplied - Bill Payment #00000437/19 - Gardens Bio Science Partners LLC           $0.00      Bill Credit #FLEX-2148094-3 - Flexport
Bill Payment #00000437/2 - 4000 North Combee Road, LLC                                                               Bill Credit       8/4/2023     FLEX-2148094-3                               $135.00
             Bill Payment 6/29/2023     00000437/2                                   $37,832.28                      Bill              7/1/2023     FLEX-2148094-3                              ($135.00)
             Bill          7/1/2023     July'23 Rent / 4000 N COMBEE ROAD           ($37,832.28)     Amount Unapplied - Bill Credit #FLEX-2148094-3 - Flexport                                     $0.00
Amount Unapplied - Bill Payment #00000437/2 - 4000 North Combee Road, LLC                 $0.00      Bill Credit #FLEX-2148094-4 - Flexport
Bill Payment #00000437/20 - Knights of Security                                                                      Bill Credit       8/4/2023     FLEX-2148094-4                              $1,096.73
             Bill Payment 6/29/2023     00000437/20                                   $7,000.00                      Bill              6/23/2023    FLEX-2148094-4                             ($1,096.73)
             Bill          7/1/2023     053                                          ($7,000.00)     Amount Unapplied - Bill Credit #FLEX-2148094-4 - Flexport                                      $0.00
Amount Unapplied - Bill Payment #00000437/20 - Knights of Security                        $0.00      Bill Credit #FRS#202331-CR - Lojistic LLC
Bill Payment #00000437/21 - Larrabee Albi Coker LLP                                                                  Bill Credit       8/7/2023     FRS#202331-CR                                  $30.79
             Bill Payment 6/29/2023     00000437/21                                   $2,497.00                      Bill              8/9/2023     P202331                                       ($30.79)
             Bill          6/21/2023    201533                                       ($2,497.00)     Amount Unapplied - Bill Credit #FRS#202331-CR - Lojistic LLC                                   $0.00
Amount Unapplied - Bill Payment #00000437/21 - Larrabee Albi Coker LLP                    $0.00      Bill Payment #Wire-2023080726814649 - Amazon Advertising, LLC
Bill Payment #00000437/22 - Larrabee Albi Coker LLP                                                                  Bill Payment      8/7/2023     Wire-2023080726814649                      $46,655.62
             Bill Payment 6/29/2023     00000437/22                                     $112.03                      Bill              7/1/2023     TRLTK8DQF-106                             ($46,655.62)
             Bill          6/21/2023    201534                                         ($112.03)     Amount Unapplied - Bill Payment #Wire-2023080726814649 - Amazon Advertising, LLC               $0.00
Amount Unapplied - Bill Payment #00000437/22 - Larrabee Albi Coker LLP                    $0.00      Bill Payment #28106047 - Thermo Fisher Scientific Chemicals Inc.
Bill Payment #00000437/23 - Lesswithlaur LLC                                                                         Bill Payment      8/9/2023                                                 $2,775.73
             Bill Payment 6/29/2023     00000437/23                                     $212.50                      Bill              7/1/2023     7268306                                    ($2,775.73)
             Bill          6/12/2023    113-0104                                       ($212.50)     Amount Unapplied - Bill Payment #28106047 - Thermo Fisher Scientific Chemicals Inc.            $0.00
Amount Unapplied - Bill Payment #00000437/23 - Lesswithlaur LLC                           $0.00      Bill Payment #00000443/1 - Cintas Corporation
Bill Payment #00000437/24 - Lob.com, Inc                                                                             Bill Payment      8/10/2023    00000443/1                                   $471.30
             Bill Payment 6/29/2023     00000437/24                                   $1,729.92                      Bill              7/27/2023    4162928067                                  ($471.30)
             Bill          6/2/2023     4342135                                      ($1,729.92)     Amount Unapplied - Bill Payment #00000443/1 - Cintas Corporation                              $0.00
Amount Unapplied - Bill Payment #00000437/24 - Lob.com, Inc                               $0.00      Bill Payment #00000443/10 - Columbus Industries Texas LLP
Bill Payment #00000437/25 - Meta Platforms, Inc.                                                                     Bill Payment      8/10/2023    00000443/10                                $11,116.80
             Bill Payment 6/29/2023     00000437/25                                 $128,088.50                      Bill              6/2/2023     1343834 RI                                ($11,116.80)
                                   Case 23-18093-MAM                               Doc 1               Filed 10/03/23               Page 108 of 157
               Bill         5/31/2023   25209002                                       ($128,088.50)     Amount Unapplied - Bill Payment #00000443/10 - Columbus Industries Texas LLP              $0.00
Amount Unapplied - Bill Payment #00000437/25 - Meta Platforms, Inc.                           $0.00      Bill Payment #00000443/11 - Columbus Industries Texas LLP
Bill Payment #00000437/26 - MNTN Digital, Inc                                                                           Bill Payment       8/10/2023    00000443/11                            $22,233.60
               Bill Payment 6/29/2023   00000437/26                                      $34,550.24                     Bill               6/2/2023     1343835 RI                            ($22,233.60)
               Bill         5/31/2023   319316                                          ($34,550.24)     Amount Unapplied - Bill Payment #00000443/11 - Columbus Industries Texas LLP               $0.00
Amount Unapplied - Bill Payment #00000437/26 - MNTN Digital, Inc                              $0.00      Bill Payment #00000443/12 - Columbus Industries Texas LLP
Bill Payment #00000437/27 - Old Dominion Freight Line Inc.                                                              Bill Payment       8/10/2023    00000443/12                             $4,649.40
               Bill Payment 6/29/2023   00000437/27                                         $180.00                     Bill               6/2/2023     1343836 RI                             ($4,649.40)
               Bill         6/1/2023    36200947590.1                                      ($180.00)     Amount Unapplied - Bill Payment #00000443/12 - Columbus Industries Texas LLP               $0.00
Amount Unapplied - Bill Payment #00000437/27 - Old Dominion Freight Line Inc.                 $0.00      Bill Payment #00000443/13 - Freshfields Bruckhaus Deringer LLP
Bill Payment #00000437/28 - Packform USA LLC                                                                            Bill Payment       8/10/2023    00000443/13                           $168,805.35
               Bill Payment 6/29/2023   00000437/28                                       $1,290.00                     Bill               4/26/2023    6001017594                           ($168,805.35)
               Bill         5/30/2023   INV-43557                                        ($1,290.00)     Amount Unapplied - Bill Payment #00000443/13 - Freshfields Bruckhaus Deringer LLP          $0.00
Amount Unapplied - Bill Payment #00000437/28 - Packform USA LLC                               $0.00      Bill Payment #00000443/14 - Freshfields Bruckhaus Deringer LLP
Bill Payment #00000437/29 - Packform USA LLC                                                                            Bill Payment       8/10/2023    00000443/14                            $32,809.50
               Bill Payment 6/29/2023   00000437/29                                       $1,688.00                     Bill               5/1/2023     6001017881                            ($32,809.50)
               Bill         6/16/2023   INV-44325                                        ($1,688.00)     Amount Unapplied - Bill Payment #00000443/14 - Freshfields Bruckhaus Deringer LLP          $0.00
Amount Unapplied - Bill Payment #00000437/29 - Packform USA LLC                               $0.00      Bill Payment #00000443/15 - Grainger
Bill Payment #00000437/3 - Airgas USA, LLC                                                                              Bill Payment       8/10/2023    00000443/15                                $36.25
               Bill Payment 6/29/2023   00000437/3                                          $135.71                     Bill               7/10/2023    9764334653                                ($36.25)
               Bill         5/30/2023   9138504060                                         ($135.71)     Amount Unapplied - Bill Payment #00000443/15 - Grainger                                    $0.00
Amount Unapplied - Bill Payment #00000437/3 - Airgas USA, LLC                                 $0.00      Bill Payment #00000443/16 - HP Holdings, Inc. DBA Invariant
Bill Payment #00000437/30 - Packform USA LLC                                                                            Bill Payment       8/10/2023    00000443/16                            $13,000.00
               Bill Payment 6/29/2023   00000437/30                                       $5,329.00                     Bill               6/1/2023     11191                                 ($13,000.00)
               Bill         6/16/2023   INV-44323                                        ($5,329.00)     Amount Unapplied - Bill Payment #00000443/16 - HP Holdings, Inc. DBA Invariant             $0.00
Amount Unapplied - Bill Payment #00000437/30 - Packform USA LLC                               $0.00      Bill Payment #00000443/17 - Hunter Holthaus
Bill Payment #00000437/31 - Packform USA LLC                                                                            Bill Payment       8/10/2023    00000443/17                             $3,915.00
               Bill Payment 6/29/2023   00000437/31                                       $1,876.00                     Bill               7/31/2023    MO-01                                  ($3,915.00)
               Bill         6/16/2023   INV-44324                                        ($1,876.00)     Amount Unapplied - Bill Payment #00000443/17 - Hunter Holthaus                             $0.00
Amount Unapplied - Bill Payment #00000437/31 - Packform USA LLC                               $0.00      Bill Payment #00000443/18 - Jamie Sutor
Bill Payment #00000437/32 - Raymond Handling Consultants, L.C.                                                          Bill Payment       8/10/2023    00000443/18                              $800.00
               Bill Payment 6/29/2023   00000437/32                                       $1,471.25                     Bill               8/1/2023     INV-000019                              ($800.00)
               Bill         6/1/2023    RO-0232684-3                                     ($1,471.25)     Amount Unapplied - Bill Payment #00000443/18 - Jamie Sutor                                $0.00
Amount Unapplied - Bill Payment #00000437/32 - Raymond Handling Consultants, L.C.             $0.00      Bill Payment #00000443/19 - KBA Document Solutions, LLC
Bill Payment #00000437/33 - Staples Contract & Commercial LLC dba Staples Business Advantage                            Bill Payment       8/10/2023    00000443/19                                $89.94
               Bill Payment 6/29/2023   00000437/33                                          $62.26                     Bill               7/7/2023     55Y1381957                                ($89.94)
               Bill         6/1/2023    3539398556                                          ($62.26)     Amount Unapplied - Bill Payment #00000443/19 - KBA Document Solutions, LLC                 $0.00
Amount Unapplied - Bill Payment #00000437/33 - Staples Contract & Commercial LLC dba          $0.00      Bill Payment #00000443/2 - Cintas Corporation
Bill Payment #00000437/34 - University of South Florida Research Foundation                                             Bill Payment       8/10/2023    00000443/2                               $175.38
               Bill Payment 6/29/2023   00000437/34                                       $6,673.43                     Bill               7/13/2023    4161528112                              ($175.38)
               Bill         7/1/2023    July '23                                         ($6,673.43)     Amount Unapplied - Bill Payment #00000443/2 - Cintas Corporation                          $0.00
Amount Unapplied - Bill Payment #00000437/34 - University of South Florida Research Fo        $0.00      Bill Payment #00000443/20 - Lirik Inc
Bill Payment #00000437/35 - What Love Built LLC                                                                         Bill Payment       8/10/2023    00000443/20                            $12,800.00
               Bill Payment 6/29/2023   00000437/35                                       $3,500.00                     Bill               7/1/2023     6409                                  ($12,800.00)
               Bill         6/21/2023   0E022DCB                                         ($3,500.00)     Amount Unapplied - Bill Payment #00000443/20 - Lirik Inc                                   $0.00
Amount Unapplied - Bill Payment #00000437/35 - What Love Built LLC                            $0.00      Bill Payment #00000443/21 - Mcmaster Carr Supply
Bill Payment #00000437/36 - Yellow Logistics                                                                            Bill Payment       8/10/2023    00000443/21                              $108.11
               Bill Payment 6/29/2023   00000437/36                                       $2,475.00                     Bill               7/7/2023     10599454                                ($108.11)
               Bill         6/13/2023   TB000265199-01                                   ($2,475.00)     Amount Unapplied - Bill Payment #00000443/21 - Mcmaster Carr Supply                       $0.00
Amount Unapplied - Bill Payment #00000437/36 - Yellow Logistics                               $0.00      Bill Payment #00000443/22 - MERR Consulting Group
Bill Payment #00000437/4 - ALOM Technologies Corp.                                                                      Bill Payment       8/10/2023    00000443/22                             $1,500.00
               Bill Payment 6/29/2023   00000437/4                                      $277,455.72                     Bill               8/1/2023     01                                     ($1,500.00)
               Bill         6/12/2023   110612                                         ($277,455.72)     Amount Unapplied - Bill Payment #00000443/22 - MERR Consulting Group                       $0.00
Amount Unapplied - Bill Payment #00000437/4 - ALOM Technologies Corp.                         $0.00      Bill Payment #00000443/23 - Pepperjam LLC
Bill Payment #00000437/5 - ALOM Technologies Corp.                                                                      Bill Payment       8/10/2023    00000443/23                            $17,187.50
               Bill Payment 6/29/2023   00000437/5                                       $22,785.00                     Bill               6/30/2023    INV-37550                             ($17,187.50)
               Bill         6/12/2023   110628                                          ($22,785.00)     Amount Unapplied - Bill Payment #00000443/23 - Pepperjam LLC                               $0.00
Amount Unapplied - Bill Payment #00000437/5 - ALOM Technologies Corp.                         $0.00      Bill Payment #00000443/24 - Quiq, Inc.
Bill Payment #00000437/6 - ALOM Technologies Corp.                                                                      Bill Payment       8/10/2023    00000443/24                              $504.81
               Bill Payment 6/29/2023   00000437/6                                        $5,726.32                     Bill               7/10/2023    INV-230274                              ($504.81)
               Bill         6/12/2023   110557                                           ($5,726.32)     Amount Unapplied - Bill Payment #00000443/24 - Quiq, Inc.                                 $0.00
Amount Unapplied - Bill Payment #00000437/6 - ALOM Technologies Corp.                         $0.00      Bill Payment #00000443/25 - Raymond Cromwell
Bill Payment #00000437/7 - ALOM Technologies Corp.                                                                      Bill Payment       8/10/2023    00000443/25                             $5,742.00
               Bill Payment 6/29/2023   00000437/7                                        $7,033.90                     Bill               8/8/2023     MO 08.08.2023                          ($5,742.00)
               Bill         6/12/2023   110556                                           ($7,033.90)     Amount Unapplied - Bill Payment #00000443/25 - Raymond Cromwell                            $0.00
Amount Unapplied - Bill Payment #00000437/7 - ALOM Technologies Corp.                         $0.00      Bill Payment #00000443/26 - Rufino Soulisak
Bill Payment #00000437/8 - ALOM Technologies Corp.                                                                      Bill Payment       8/10/2023    00000443/26                              $200.00
               Bill Payment 6/29/2023   00000437/8                                       $11,640.00                     Bill               7/21/2023    A0234                                   ($200.00)
               Bill         6/12/2023   110457                                          ($11,640.00)     Amount Unapplied - Bill Payment #00000443/26 - Rufino Soulisak                            $0.00
Amount Unapplied - Bill Payment #00000437/8 - ALOM Technologies Corp.                         $0.00      Bill Payment #00000443/27 - Safety Products, Inc.
Bill Payment #00000437/9 - Cigna Health and Life Insurance Company                                                      Bill Payment       8/10/2023    00000443/27                                $84.21
               Bill Payment 6/29/2023   00000437/9                                        $1,491.60                     Bill               7/7/2023     887151                                    ($84.21)
               Bill         6/30/2023   RK_MOL_202306                                    ($1,491.60)     Amount Unapplied - Bill Payment #00000443/27 - Safety Products, Inc.                       $0.00
Amount Unapplied - Bill Payment #00000437/9 - Cigna Health and Life Insurance Compan          $0.00      Bill Payment #00000443/28 - Sigma-Aldrich, Inc.
Bill Payment #10006 - Coyle Browne Law                                                                                  Bill Payment       8/10/2023    00000443/28                              $996.42
               Bill Payment 6/29/2023   10006                                            $47,250.00                     Bill               7/13/2023    560580527                               ($996.42)
               Bill         6/13/2023   6.29.23                                         ($47,250.00)     Amount Unapplied - Bill Payment #00000443/28 - Sigma-Aldrich, Inc.                        $0.00
Amount Unapplied - Bill Payment #10006 - Coyle Browne Law                                     $0.00      Bill Payment #00000443/29 - Steve Elster
Journal #JE-US-11535 -                                                                                                  Bill Payment       8/10/2023    00000443/29                              $680.00
               Journal      6/30/2023   JE-US-11535                                      $10,000.00                     Bill               7/17/2023    07/17/2023                              ($680.00)
               Bill         5/25/2023   1886170                                         ($10,000.00)     Amount Unapplied - Bill Payment #00000443/29 - Steve Elster                               $0.00
Amount Unapplied - Journal #JE-US-11535 -                                                     $0.00      Bill Payment #00000443/3 - Cintas Corporation
Bill Credit #11371 - Mack Molding Company, Inc.                                                                         Bill Payment       8/10/2023    00000443/3                               $139.10
               Bill Credit  7/1/2023    11371                                             $8,394.68                     Bill               7/7/2023     8406336520                              ($139.10)
               Bill         6/27/2023   420612                                           ($8,394.68)     Amount Unapplied - Bill Payment #00000443/3 - Cintas Corporation                          $0.00
Amount Unapplied - Bill Credit #11371 - Mack Molding Company, Inc.                            $0.00      Bill Payment #00000443/30 - Synergy North America, Inc.
Journal #JE-US-11662 -                                                                                                  Bill Payment       8/10/2023    00000443/30                             $5,858.75
               Journal      7/1/2023    JE-US-11662                                      $10,000.00                     Bill               7/3/2023     SFSI0003689                            ($5,858.75)
               Journal      7/1/2023    JE-US-11536                                     ($10,000.00)     Amount Unapplied - Bill Payment #00000443/30 - Synergy North America, Inc.                 $0.00
Amount Unapplied - Journal #JE-US-11662 -                                                     $0.00      Bill Payment #00000443/31 - The Bluebird Group LLC
Bill Payment #Wire-2023062926620234 - Lojistic LLC                                                                      Bill Payment       8/10/2023    00000443/31                             $1,500.00
               Bill Payment 7/3/2023    Wire-2023062926620234                            $19,170.26                     Bill               7/1/2023     10987                                  ($1,500.00)
               Bill         6/20/2023   PSINV212849                                     ($19,170.26)     Amount Unapplied - Bill Payment #00000443/31 - The Bluebird Group LLC                      $0.00
Amount Unapplied - Bill Payment #Wire-2023062926620234 - Lojistic LLC                         $0.00      Bill Payment #00000443/32 - The Bluebird Group LLC
Bill Payment #Wire-2023062926620536 - Lojistic LLC                                                                      Bill Payment       8/10/2023    00000443/32                             $1,500.00
               Bill Payment 7/3/2023    Wire-2023062926620536                            $77,591.64                     Bill               7/1/2023     10988                                  ($1,500.00)
               Bill         6/28/2023   P202325                                         ($77,591.64)     Amount Unapplied - Bill Payment #00000443/32 - The Bluebird Group LLC                      $0.00
Amount Unapplied - Bill Payment #Wire-2023062926620536 - Lojistic LLC                         $0.00      Bill Payment #00000443/33 - The Pooch Coach
Bill Payment #EFT-arx9satt - KlientBoost Performance, LLC                                                               Bill Payment       8/10/2023    00000443/33                             $1,030.85
               Bill Payment 7/5/2023    EFT-arx9satt                                      $7,000.00                     Bill               7/20/2023    07/20/2023                             ($1,030.85)
               Bill         6/28/2023   10366                                            ($7,000.00)     Amount Unapplied - Bill Payment #00000443/33 - The Pooch Coach                             $0.00
Amount Unapplied - Bill Payment #EFT-arx9satt - KlientBoost Performance, LLC                  $0.00      Bill Payment #00000443/34 - Uline
Bill Payment #Wire-2023063026633816 - Dandelion Inc.                                                                    Bill Payment       8/10/2023    00000443/34                              $415.43
               Bill Payment 7/5/2023    Wire-2023063026633816                            $74,888.78                     Bill               7/11/2023    165832092                               ($415.43)
               Bill         5/31/2023   INV-5839                                        ($74,888.78)     Amount Unapplied - Bill Payment #00000443/34 - Uline                                      $0.00
Amount Unapplied - Bill Payment #Wire-2023063026633816 - Dandelion Inc.                       $0.00      Bill Payment #00000443/35 - Unified Accounting & Tax, LLP
Bill Payment #Wire-2023063026633824 - Lauren McCaully Patch                                                             Bill Payment       8/10/2023    00000443/35                            $3,232.70
                                   Case 23-18093-MAM                                Doc 1              Filed 10/03/23               Page 109 of 157
             Bill Payment 7/5/2023        Wire-2023063026633824                           $2,587.50                     Bill               7/1/2023    5151 Balance                           ($3,232.70)
             Bill          6/1/2023       0004                                           ($2,587.50)     Amount Unapplied - Bill Payment #00000443/35 - Unified Accounting & Tax, LLP              $0.00
Amount Unapplied - Bill Payment #Wire-2023063026633824 - Lauren McCaully Patch                $0.00      Bill Payment #00000443/36 - Unified Accounting & Tax, LLP
Bill Payment #Wire-20231840340300 - Persistent Systems Limited                                                          Bill Payment       8/10/2023   00000443/36                             $2,250.60
             Bill Payment 7/5/2023        Wire-20231840340300                             $5,652.50                     Bill               7/15/2023   7216                                   ($2,250.60)
             Bill          6/1/2023       10124270110735                                 ($5,652.50)     Amount Unapplied - Bill Payment #00000443/36 - Unified Accounting & Tax, LLP              $0.00
Amount Unapplied - Bill Payment #Wire-20231840340300 - Persistent Systems Limited             $0.00      Bill Payment #00000443/37 - Unified Accounting & Tax, LLP
Bill Payment #00000438/1 - Addison's Wonderland Inc.                                                                    Bill Payment       8/10/2023   00000443/37                               $283.50
             Bill Payment 7/6/2023        00000438/1                                      $1,800.00                     Bill               7/15/2023   1724                                     ($283.50)
             Bill          6/5/2023       FC1E4D32                                       ($1,800.00)     Amount Unapplied - Bill Payment #00000443/37 - Unified Accounting & Tax, LLP              $0.00
Amount Unapplied - Bill Payment #00000438/1 - Addison's Wonderland Inc.                       $0.00      Bill Payment #00000443/38 - Linkator Group, LLC
Bill Payment #00000438/10 - Cintas Corporation                                                                          Bill Payment       8/10/2023   00000443/38                             $9,724.09
             Bill Payment 7/6/2023        00000438/10                                      $208.65                      Bill               7/31/2023   2                                      ($9,724.09)
             Bill          6/2/2023       8406288231                                      ($208.65)      Amount Unapplied - Bill Payment #00000443/38 - Linkator Group, LLC                        $0.00
Amount Unapplied - Bill Payment #00000438/10 - Cintas Corporation                            $0.00       Bill Payment #00000443/4 - Cintas Corporation
Bill Payment #00000438/11 - Cintas Corporation                                                                          Bill Payment       8/10/2023   00000443/4                                $116.23
             Bill Payment 7/6/2023        00000438/11                                      $175.38                      Bill               8/1/2023    9233715141                               ($116.23)
             Bill          6/23/2023      4159423494                                      ($175.38)      Amount Unapplied - Bill Payment #00000443/4 - Cintas Corporation                          $0.00
Amount Unapplied - Bill Payment #00000438/11 - Cintas Corporation                            $0.00       Bill Payment #00000443/5 - Client Partner Mgmt Group LLC
Bill Payment #00000438/12 - Cintas Corporation                                                                          Bill Payment       8/10/2023   00000443/5                              $5,872.50
             Bill Payment 7/6/2023        00000438/12                                      $175.38                      Bill               8/7/2023    23_17                                  ($5,872.50)
             Bill          6/8/2023       4158059856                                      ($175.38)      Amount Unapplied - Bill Payment #00000443/5 - Client Partner Mgmt Group LLC               $0.00
Amount Unapplied - Bill Payment #00000438/12 - Cintas Corporation                            $0.00       Bill Payment #00000443/6 - Columbus Industries Texas LLP
Bill Payment #00000438/13 - Cintas Corporation                                                                          Bill Payment       8/10/2023   00000443/6                             $34,870.50
             Bill Payment 7/6/2023        00000438/13                                      $175.38                      Bill               6/2/2023    1343817 RI                            ($34,870.50)
             Bill          6/29/2023      4160093978                                      ($175.38)      Amount Unapplied - Bill Payment #00000443/6 - Columbus Industries Texas LLP               $0.00
Amount Unapplied - Bill Payment #00000438/13 - Cintas Corporation                            $0.00       Bill Payment #00000443/7 - Comprise
Bill Payment #00000438/14 - Cintas Corporation                                                                          Bill Payment       8/10/2023   00000443/7                             $12,500.00
             Bill Payment 7/6/2023        00000438/14                                      $123.05                      Bill               7/1/2023    15130                                 ($12,500.00)
             Bill          6/1/2023       9225925292                                      ($123.05)      Amount Unapplied - Bill Payment #00000443/7 - Comprise                                    $0.00
Amount Unapplied - Bill Payment #00000438/14 - Cintas Corporation                            $0.00       Bill Payment #00000443/8 - Columbus Industries Texas LLP
Bill Payment #00000438/15 - Cintas Corporation                                                                          Bill Payment       8/10/2023   00000443/8                             $14,823.00
             Bill Payment 7/6/2023        00000438/15                                      $116.23                      Bill               6/2/2023    1343833 RI                            ($14,823.00)
             Bill          6/1/2023       9225964133                                      ($116.23)      Amount Unapplied - Bill Payment #00000443/8 - Columbus Industries Texas LLP               $0.00
Amount Unapplied - Bill Payment #00000438/15 - Cintas Corporation                            $0.00       Bill Payment #00000443/9 - Columbus Industries Texas LLP
Bill Payment #00000438/16 - Columbus Industries Texas LLP                                                               Bill Payment       8/10/2023   00000443/9                              $9,882.00
             Bill Payment 7/6/2023        00000438/16                                    $39,949.20                     Bill               6/2/2023    1343832 RI                             ($9,882.00)
             Bill          5/4/2023       1340335 RI                                    ($39,949.20)     Amount Unapplied - Bill Payment #00000443/9 - Columbus Industries Texas LLP               $0.00
Amount Unapplied - Bill Payment #00000438/16 - Columbus Industries Texas LLP                  $0.00      Bill Payment #EFT-as1m5kn1 - KlientBoost Performance, LLC
Bill Payment #00000438/17 - De Lage Landen Financial Services, Inc                                                      Bill Payment       8/10/2023   EFT-as1m5kn1                            $2,500.00
             Bill Payment 7/6/2023        00000438/17                                     $2,593.35                     Bill               7/26/2023   10599                                  ($2,500.00)
             Bill          5/28/2023      586853918                                      ($2,593.35)     Amount Unapplied - Bill Payment #EFT-as1m5kn1 - KlientBoost Performance, LLC              $0.00
Amount Unapplied - Bill Payment #00000438/17 - De Lage Landen Financial Services, Inc         $0.00      Bill Payment #Wire-2023081026829841 - Jasmeet Singh
Bill Payment #00000438/18 - FAB                                                                                         Bill Payment       8/10/2023   Wire-2023081026829841                     $566.83
             Bill Payment 7/6/2023        00000438/18                                    $20,129.69                     Bill               7/10/2023   JA1013                                   ($566.83)
             Bill          6/1/2023       40002210                                      ($20,129.69)     Amount Unapplied - Bill Payment #Wire-2023081026829841 - Jasmeet Singh                    $0.00
Amount Unapplied - Bill Payment #00000438/18 - FAB                                            $0.00      Bill Payment #Wire-2023081026829978 - The EMC Shop
Bill Payment #00000438/19 - Freightquote                                                                                Bill Payment       8/10/2023   Wire-2023081026829978                   $1,295.00
             Bill Payment 7/6/2023        00000438/19                                     $2,300.00                     Bill               7/10/2023   6555                                   ($1,295.00)
             Bill          6/6/2023       6181687141                                     ($2,300.00)     Amount Unapplied - Bill Payment #Wire-2023081026829978 - The EMC Shop                     $0.00
Amount Unapplied - Bill Payment #00000438/19 - Freightquote                                   $0.00      Bill Payment #28123915 - Centercode, Inc.
Bill Payment #00000438/2 - Amazon Advertising, LLC                                                                      Bill Payment       8/10/2023                                          $20,235.00
             Bill Payment 7/6/2023        00000438/2                                     $25,740.68                     Bill               6/9/2023    26354                                 ($20,235.00)
             Bill          5/31/2023      7HDA23013010                                  ($25,740.68)     Amount Unapplied - Bill Payment #28123915 - Centercode, Inc.                              $0.00
Amount Unapplied - Bill Payment #00000438/2 - Amazon Advertising, LLC                         $0.00      Bill Payment #Wire-2023081126837737 - Amazon Advertising, LLC
Bill Payment #00000438/20 - Freightquote                                                                                Bill Payment       8/11/2023   Wire-2023081126837737                 $110,519.36
             Bill Payment 7/6/2023        00000438/20                                     $2,300.00                     Bill               6/30/2023   7HDA23015522                          ($71,410.37)
             Bill          6/6/2023       6181699879                                     ($2,300.00)                    Bill               6/30/2023   7HDA23015554                          ($39,108.99)
Amount Unapplied - Bill Payment #00000438/20 - Freightquote                                   $0.00      Amount Unapplied - Bill Payment #Wire-2023081126837737 - Amazon Advertising, LLC          $0.00
Bill Payment #00000438/21 - Gelest Inc                                                                   Bill Payment #28438346 - Valuecart Private Limited
             Bill Payment 7/6/2023        00000438/21                                      $530.89                      Bill Payment       8/11/2023                                           $7,411.00
             Bill          6/6/2023       2023-69753-00                                   ($530.89)                     Bill               3/31/2023   VC-S-KA23/22-23                        ($3,721.00)
Amount Unapplied - Bill Payment #00000438/21 - Gelest Inc                                    $0.00                      Bill               7/31/2023   VC-S-KA08/23-24                        ($3,690.00)
Bill Payment #00000438/22 - Grazitti Interactive                                                         Amount Unapplied - Bill Payment #28438346 - Valuecart Private Limited                     $0.00
             Bill Payment 7/6/2023        00000438/22                                    $13,575.00      Bill Payment #Wire-2023081726861754 - Joseph Synnott
             Bill          5/31/2023      U23-0817                                      ($13,575.00)                    Bill Payment       8/17/2023   Wire-2023081726861754                  $18,221.00
Amount Unapplied - Bill Payment #00000438/22 - Grazitti Interactive                           $0.00                     Bill               8/1/2023    0022                                  ($18,221.00)
Bill Payment #00000438/23 - Hold Security LLC                                                            Amount Unapplied - Bill Payment #Wire-2023081726861754 - Joseph Synnott                   $0.00
             Bill Payment 7/6/2023        00000438/23                                     $1,200.00      Bill Payment #Wire-2023081726861816 - Inventec Appliances Corporation
             Bill          6/1/2023       2144-002-01                                    ($1,200.00)                    Bill Payment       8/17/2023   Wire-2023081726861816                  $32,760.00
Amount Unapplied - Bill Payment #00000438/23 - Hold Security LLC                              $0.00                     Bill               6/15/2023   83033923                              ($32,760.00)
Bill Payment #00000438/24 - Hyman, Phelps & McNamara, P.C.                                               Amount Unapplied - Bill Payment #Wire-2023081726861816 - Inventec Appliances Corpor       $0.00
             Bill Payment 7/6/2023        00000438/24                                      $880.00       Bill Payment #Wire-2023081726861886 - Lojistic LLC
             Bill          6/22/2023      2054981                                         ($880.00)                     Bill Payment       8/17/2023   Wire-2023081726861886                  $45,170.26
Amount Unapplied - Bill Payment #00000438/24 - Hyman, Phelps & McNamara, P.C.                $0.00                      Bill               8/9/2023    P202331                               ($45,170.26)
Bill Payment #00000438/25 - Intertek Testing Services NA, Inc.                                           Amount Unapplied - Bill Payment #Wire-2023081726861886 - Lojistic LLC                     $0.00
             Bill Payment 7/6/2023        00000438/25                                     $1,137.00      Bill Payment #28235064 - Shred Connect
             Bill          5/31/2023      1007331665                                     ($1,137.00)                    Bill Payment       8/17/2023                                           $4,205.00
Amount Unapplied - Bill Payment #00000438/25 - Intertek Testing Services NA, Inc.             $0.00                     Bill               7/5/2023    10141                                  ($4,205.00)
Bill Payment #00000438/26 - Intertek Testing Services NA, Inc.                                           Amount Unapplied - Bill Payment #28235064 - Shred Connect                                 $0.00
             Bill Payment 7/6/2023        00000438/26                                     $2,450.00      Bill Payment #28546573 - JACS Solutions, Inc.
             Bill          6/1/2023       1007326762                                     ($2,450.00)                    Bill Payment       8/17/2023                                             $431.60
Amount Unapplied - Bill Payment #00000438/26 - Intertek Testing Services NA, Inc.             $0.00                     Bill               8/1/2023    12793                                    ($431.60)
Bill Payment #00000438/27 - Intertek Testing Services NA, Inc.                                           Amount Unapplied - Bill Payment #28546573 - JACS Solutions, Inc.                          $0.00
             Bill Payment 7/6/2023        00000438/27                                     $3,060.00      Bill Payment #28313314 - AVASK Accounting
             Bill          5/31/2023      1007332254                                     ($3,060.00)                    Bill Payment       8/17/2023                                           $2,400.00
Amount Unapplied - Bill Payment #00000438/27 - Intertek Testing Services NA, Inc.             $0.00                     Bill               8/3/2023    0000100148                             ($2,400.00)
Bill Payment #00000438/28 - KB Commercial Services LLC DBA Office Pride of Lakeland                      Amount Unapplied - Bill Payment #28313314 - AVASK Accounting                              $0.00
             Bill Payment 7/6/2023        00000438/28                                     $1,669.20      Bill Payment #00000445/1 - Alarm Center, Inc.
             Bill          6/1/2023       Inv-148919                                     ($1,669.20)                    Bill Payment       8/18/2023   00000445/1                                $478.29
Amount Unapplied - Bill Payment #00000438/28 - KB Commercial Services LLC DBA Offic           $0.00                     Bill               8/1/2023    035973                                   ($478.29)
Bill Payment #00000438/29 - Lirik Inc                                                                    Amount Unapplied - Bill Payment #00000445/1 - Alarm Center, Inc.                          $0.00
             Bill Payment 7/6/2023        00000438/29                                    $12,800.00      Bill Payment #00000445/10 - Canteen Refreshment Services dba A Div of Canteen
             Bill          6/1/2023       6335                                          ($12,800.00)                    Bill Payment       8/18/2023   00000445/10                               $272.20
Amount Unapplied - Bill Payment #00000438/29 - Lirik Inc                                      $0.00                     Bill               7/25/2023   LAK6177                                  ($272.20)
Bill Payment #00000438/3 - Amazon Advertising, LLC                                                       Amount Unapplied - Bill Payment #00000445/10 - Canteen Refreshment Services dba A D       $0.00
             Bill Payment 7/6/2023        00000438/3                                     $31,665.60      Bill Payment #00000445/11 - Grainger
             Bill          5/31/2023      7HDA23013154                                  ($31,665.60)                    Bill Payment       8/18/2023   00000445/11                                 $7.35
Amount Unapplied - Bill Payment #00000438/3 - Amazon Advertising, LLC                         $0.00                     Bill               7/18/2023   9773562575                                 ($7.35)
Bill Payment #00000438/30 - Lob.com, Inc                                                                 Amount Unapplied - Bill Payment #00000445/11 - Grainger                                   $0.00
             Bill Payment 7/6/2023        00000438/30                                    $17,300.04      Bill Payment #00000445/12 - Grainger
             Bill          6/2/2023       4342134                                       ($17,300.04)                    Bill Payment       8/18/2023   00000445/12                                $28.19
Amount Unapplied - Bill Payment #00000438/30 - Lob.com, Inc                                   $0.00                     Bill               7/18/2023   9773562567                                ($28.19)
Bill Payment #00000438/31 - LMS Technologies, Inc.                                                       Amount Unapplied - Bill Payment #00000445/12 - Grainger                                   $0.00
             Bill Payment 7/6/2023        00000438/31                                      $250.00       Bill Payment #00000445/13 - Homestead Studio LLC
             Bill          6/28/2023      062823AV2                                       ($250.00)                     Bill Payment       8/18/2023   00000445/13                             $7,000.00
Amount Unapplied - Bill Payment #00000438/31 - LMS Technologies, Inc.                        $0.00                      Bill               8/1/2023    HS-3473                                ($7,000.00)
                                   Case 23-18093-MAM                               Doc 1              Filed 10/03/23               Page 110 of 157
Bill Payment #00000438/32 - Mcmaster Carr Supply                                                        Amount Unapplied - Bill Payment #00000445/13 - Homestead Studio LLC                      $0.00
             Bill Payment 7/6/2023     00000438/32                                         $703.62      Bill Payment #00000445/14 - HP Holdings, Inc. DBA Invariant
             Bill          6/1/2023    97516139                                           ($703.62)                    Bill Payment       8/18/2023    00000445/14                          $15,600.00
Amount Unapplied - Bill Payment #00000438/32 - Mcmaster Carr Supply                          $0.00                     Bill               7/1/2023     11374                               ($15,600.00)
Bill Payment #00000438/33 - MethodSense Inc                                                             Amount Unapplied - Bill Payment #00000445/14 - HP Holdings, Inc. DBA Invariant           $0.00
             Bill Payment 7/6/2023     00000438/33                                       $1,000.00      Bill Payment #00000445/15 - Intertek Testing Services NA, Inc.
             Bill          6/12/2023   4480                                             ($1,000.00)                    Bill Payment       8/18/2023    00000445/15                           $1,880.00
Amount Unapplied - Bill Payment #00000438/33 - MethodSense Inc                               $0.00                     Bill               7/19/2023    1007380161                           ($1,880.00)
Bill Payment #00000438/34 - MethodSense Inc                                                             Amount Unapplied - Bill Payment #00000445/15 - Intertek Testing Services NA, Inc.        $0.00
             Bill Payment 7/6/2023     00000438/34                                       $1,000.00      Bill Payment #00000445/16 - Lindsey Solden Reiser DBA LMSR LLC
             Bill          6/12/2023   4390                                             ($1,000.00)                    Bill Payment       8/18/2023    00000445/16                          $14,125.00
Amount Unapplied - Bill Payment #00000438/34 - MethodSense Inc                               $0.00                     Bill               7/31/2023    1012                                ($14,125.00)
Bill Payment #00000438/35 - MethodSense Inc                                                             Amount Unapplied - Bill Payment #00000445/16 - Lindsey Solden Reiser DBA LMSR LLC        $0.00
             Bill Payment 7/6/2023     00000438/35                                       $1,000.00      Bill Payment #00000445/17 - LMS Technologies, Inc.
             Bill          6/12/2023   4411                                             ($1,000.00)                    Bill Payment       8/18/2023    00000445/17                           $3,000.00
Amount Unapplied - Bill Payment #00000438/35 - MethodSense Inc                               $0.00                     Bill               8/1/2023     080123AV2                            ($3,000.00)
Bill Payment #00000438/36 - NexGen IOT Solutions, LLC                                                   Amount Unapplied - Bill Payment #00000445/17 - LMS Technologies, Inc.                    $0.00
             Bill Payment 7/6/2023     00000438/36                                      $41,222.00      Bill Payment #00000445/18 - Mack Molding Company, Inc.
             Bill          5/31/2023   1001                                            ($41,222.00)                    Bill Payment       8/18/2023    00000445/18                           $4,033.44
Amount Unapplied - Bill Payment #00000438/36 - NexGen IOT Solutions, LLC                     $0.00                     Bill               6/29/2023    420714                               ($4,033.44)
Bill Payment #00000438/37 - Ossentjuk & Botti                                                           Amount Unapplied - Bill Payment #00000445/18 - Mack Molding Company, Inc.                $0.00
             Bill Payment 7/6/2023     00000438/37                                         $495.00      Bill Payment #00000445/19 - Packform USA LLC
             Bill          6/1/2023    13411                                              ($495.00)                    Bill Payment       8/18/2023    00000445/19                          $25,726.12
Amount Unapplied - Bill Payment #00000438/37 - Ossentjuk & Botti                             $0.00                     Bill               6/30/2023    INV-44898                           ($25,726.12)
Bill Payment #00000438/38 - Packform USA LLC                                                            Amount Unapplied - Bill Payment #00000445/19 - Packform USA LLC                          $0.00
             Bill Payment 7/6/2023     00000438/38                                      $53,523.45      Bill Payment #00000445/2 - Brandography.com LLC
             Bill          6/6/2023    INV-43947                                       ($53,523.45)                    Bill Payment       8/18/2023    00000445/2                            $3,200.00
Amount Unapplied - Bill Payment #00000438/38 - Packform USA LLC                              $0.00                     Bill               8/1/2023     6875                                 ($3,200.00)
Bill Payment #00000438/39 - Packform USA LLC                                                            Amount Unapplied - Bill Payment #00000445/2 - Brandography.com LLC                       $0.00
             Bill Payment 7/6/2023     00000438/39                                      $26,767.44      Bill Payment #00000445/20 - Pepperjam LLC
             Bill          6/6/2023    INV-43941                                       ($26,767.44)                    Bill Payment       8/18/2023    00000445/20                           $9,000.00
Amount Unapplied - Bill Payment #00000438/39 - Packform USA LLC                              $0.00                     Bill               6/30/2023    INV-37549                            ($9,000.00)
Bill Payment #00000438/4 - Amazon Advertising, LLC                                                      Amount Unapplied - Bill Payment #00000445/20 - Pepperjam LLC                             $0.00
             Bill Payment 7/6/2023     00000438/4                                       $85,828.30      Bill Payment #00000445/21 - Recycling Services of Florida
             Bill          5/31/2023   7HDA23013057                                    ($85,828.30)                    Bill Payment       8/18/2023    00000445/21                           $1,095.60
Amount Unapplied - Bill Payment #00000438/4 - Amazon Advertising, LLC                        $0.00                     Bill               8/1/2023     0000091795                           ($1,095.60)
Bill Payment #00000438/40 - Pepperjam LLC                                                               Amount Unapplied - Bill Payment #00000445/21 - Recycling Services of Florida             $0.00
             Bill Payment 7/6/2023     00000438/40                                       $9,000.00      Bill Payment #00000445/22 - Recycling Services of Florida
             Bill          6/1/2023    INV-36500                                        ($9,000.00)                    Bill Payment       8/18/2023    00000445/22                           $1,111.80
Amount Unapplied - Bill Payment #00000438/40 - Pepperjam LLC                                 $0.00                     Bill               8/1/2023     0000090840                           ($1,111.80)
Bill Payment #00000438/41 - Pepperjam LLC                                                               Amount Unapplied - Bill Payment #00000445/22 - Recycling Services of Florida             $0.00
             Bill Payment 7/6/2023     00000438/41                                       $7,326.78      Bill Payment #00000445/23 - Synergy North America, Inc.
             Bill          6/1/2023    I-1100l3962-1101l56030                           ($7,326.78)                    Bill Payment       8/18/2023    00000445/23                           $1,500.00
Amount Unapplied - Bill Payment #00000438/41 - Pepperjam LLC                                 $0.00                     Bill               8/4/2023     SINV002106                           ($1,500.00)
Bill Payment #00000438/42 - Pepperjam LLC                                                               Amount Unapplied - Bill Payment #00000445/23 - Synergy North America, Inc.               $0.00
             Bill Payment 7/6/2023     00000438/42                                       $2,226.28      Bill Payment #00000445/24 - The Quality Edit LLC
             Bill          6/19/2023   I-1100l3962-1101l59566                           ($2,226.28)                    Bill Payment       8/18/2023    00000445/24                          $20,000.00
Amount Unapplied - Bill Payment #00000438/42 - Pepperjam LLC                                 $0.00                     Bill               8/1/2023     2145                                ($20,000.00)
Bill Payment #00000438/43 - Recycling Services of Florida                                               Amount Unapplied - Bill Payment #00000445/24 - The Quality Edit LLC                      $0.00
             Bill Payment 7/6/2023     00000438/43                                       $3,612.60      Bill Payment #00000445/3 - Capgemini America Inc.
             Bill          6/1/2023    0000089755                                       ($3,612.60)                    Bill Payment       8/18/2023    00000445/3                           $47,600.00
Amount Unapplied - Bill Payment #00000438/43 - Recycling Services of Florida                 $0.00                     Bill               8/7/2023     1990110487479                       ($47,600.00)
Bill Payment #00000438/44 - Republic Services of Florida                                                Amount Unapplied - Bill Payment #00000445/3 - Capgemini America Inc.                     $0.00
             Bill Payment 7/6/2023     00000438/44                                       $1,388.77      Bill Payment #00000445/4 - Catherine Poslusny
             Bill          7/1/2023    0654-001160028                                   ($1,388.77)                    Bill Payment       8/18/2023    00000445/4                              $900.00
Amount Unapplied - Bill Payment #00000438/44 - Republic Services of Florida                  $0.00                     Bill               7/31/2023    Molekule 2023-21                       ($900.00)
Bill Payment #00000438/45 - Safety Products, Inc.                                                       Amount Unapplied - Bill Payment #00000445/4 - Catherine Poslusny                         $0.00
             Bill Payment 7/6/2023     00000438/45                                       $1,525.29      Bill Payment #00000445/5 - Cintas Corporation
             Bill          6/2/2023    878027                                           ($1,525.29)                    Bill Payment       8/18/2023    00000445/5                               $17.22
Amount Unapplied - Bill Payment #00000438/45 - Safety Products, Inc.                         $0.00                     Bill               8/3/2023     4163558919                              ($17.22)
Bill Payment #00000438/46 - SFO Creative Inc.                                                           Amount Unapplied - Bill Payment #00000445/5 - Cintas Corporation                         $0.00
             Bill Payment 7/6/2023     00000438/46                                       $2,625.00      Bill Payment #00000445/6 - Columbus Industries Texas LLP
             Bill          5/31/2023   INV-3042                                         ($2,625.00)                    Bill Payment       8/18/2023    00000445/6                           $51,143.40
Amount Unapplied - Bill Payment #00000438/46 - SFO Creative Inc.                             $0.00                     Bill               6/2/2023     1343816 RI                          ($51,143.40)
Bill Payment #00000438/47 - Staples Contract & Commercial LLC dba Staples Business Advantage            Amount Unapplied - Bill Payment #00000445/6 - Columbus Industries Texas LLP              $0.00
             Bill Payment 7/6/2023     00000438/47                                         $332.01      Bill Payment #00000445/7 - Columbus Industries Texas LLP
             Bill          5/31/2023   3539398558                                         ($332.01)                    Bill Payment       8/18/2023    00000445/7                           $19,764.00
Amount Unapplied - Bill Payment #00000438/47 - Staples Contract & Commercial LLC dba         $0.00                     Bill               6/8/2023     1344354 RI                          ($19,764.00)
Bill Payment #00000438/48 - The Bluebird Group LLC                                                      Amount Unapplied - Bill Payment #00000445/7 - Columbus Industries Texas LLP              $0.00
             Bill Payment 7/6/2023     00000438/48                                       $1,500.00      Bill Payment #00000445/8 - Columbus Industries Texas LLP
             Bill          6/1/2023    10489                                            ($1,500.00)                    Bill Payment       8/18/2023    00000445/8                            $5,558.40
Amount Unapplied - Bill Payment #00000438/48 - The Bluebird Group LLC                        $0.00                     Bill               6/8/2023     1344355 RI                           ($5,558.40)
Bill Payment #00000438/49 - Toppan Merrill                                                              Amount Unapplied - Bill Payment #00000445/8 - Columbus Industries Texas LLP              $0.00
             Bill Payment 7/6/2023     00000438/49                                         $900.00      Bill Payment #00000445/9 - Columbus Industries Texas LLP
             Bill          6/1/2023    2641160                                            ($900.00)                    Bill Payment       8/18/2023    00000445/9                           $39,519.90
Amount Unapplied - Bill Payment #00000438/49 - Toppan Merrill                                $0.00                     Bill               6/8/2023     1344356 RI                          ($39,519.90)
Bill Payment #00000438/5 - Baker & Hostetler LLP                                                        Amount Unapplied - Bill Payment #00000445/9 - Columbus Industries Texas LLP              $0.00
             Bill Payment 7/6/2023     00000438/5                                          $624.00      Bill Payment #00000446/1 - Client Partner Mgmt Group LLC
             Bill          6/1/2023    51155433                                           ($624.00)                    Bill Payment       8/24/2023    00000446/1                            $5,220.00
Amount Unapplied - Bill Payment #00000438/5 - Baker & Hostetler LLP                          $0.00                     Bill               8/21/2023    23_18                                ($5,220.00)
Bill Payment #00000438/50 - Uline                                                                       Amount Unapplied - Bill Payment #00000446/1 - Client Partner Mgmt Group LLC              $0.00
             Bill Payment 7/6/2023     00000438/50                                       $2,344.86      Bill Payment #00000446/10 - Freightquote
             Bill          6/7/2023    164577670                                        ($2,344.86)                    Bill Payment       8/24/2023    00000446/10                           $2,000.00
Amount Unapplied - Bill Payment #00000438/50 - Uline                                         $0.00                     Bill               7/25/2023    6184531536                           ($2,000.00)
Bill Payment #00000438/51 - Uline                                                                       Amount Unapplied - Bill Payment #00000446/10 - Freightquote                              $0.00
             Bill Payment 7/6/2023     00000438/51                                       $1,986.35      Bill Payment #00000446/11 - Freshfields Bruckhaus Deringer LLP
             Bill          6/7/2023    164566167                                        ($1,986.35)                    Bill Payment       8/24/2023    00000446/11                         $148,632.75
Amount Unapplied - Bill Payment #00000438/51 - Uline                                         $0.00                     Bill               4/26/2023    6001017596                         ($148,632.75)
Bill Payment #00000438/52 - Wursta Corporation                                                          Amount Unapplied - Bill Payment #00000446/11 - Freshfields Bruckhaus Deringer LLP        $0.00
             Bill Payment 7/6/2023     00000438/52                                       $6,430.42      Bill Payment #00000446/12 - Intertek Testing Services NA, Inc.
             Bill          5/31/2023   204258                                           ($6,430.42)                    Bill Payment       8/24/2023    00000446/12                           $1,880.00
Amount Unapplied - Bill Payment #00000438/52 - Wursta Corporation                            $0.00                     Bill               7/20/2023    1007380160                           ($1,880.00)
Bill Payment #00000438/53 - Yellow Logistics                                                            Amount Unapplied - Bill Payment #00000446/12 - Intertek Testing Services NA, Inc.        $0.00
             Bill Payment 7/6/2023     00000438/53                                       $2,500.00      Bill Payment #00000446/13 - LMS Technologies, Inc.
             Bill          6/19/2023   TB000257437-01                                   ($2,500.00)                    Bill Payment       8/24/2023    00000446/13                           $1,050.00
Amount Unapplied - Bill Payment #00000438/53 - Yellow Logistics                              $0.00                     Bill               8/23/2023    082323AV1                            ($1,050.00)
Bill Payment #00000438/54 - Yellow Logistics                                                            Amount Unapplied - Bill Payment #00000446/13 - LMS Technologies, Inc.                    $0.00
             Bill Payment 7/6/2023     00000438/54                                       $2,450.00      Bill Payment #00000446/14 - Loctek Inc. (Flexispot)
             Bill          6/22/2023   0001181B                                         ($2,450.00)                    Bill Payment       8/24/2023    00000446/14                             $233.80
Amount Unapplied - Bill Payment #00000438/54 - Yellow Logistics                              $0.00                     Bill               7/24/2023    23EBCA583-072                          ($233.80)
Bill Payment #00000438/55 - Lob.com, Inc                                                                Amount Unapplied - Bill Payment #00000446/14 - Loctek Inc. (Flexispot)                   $0.00
             Bill Payment 7/6/2023     00000438/55                                         $500.00      Bill Payment #00000446/15 - Mcmaster Carr Supply
             Bill          6/2/2023    4342136                                            ($500.00)                    Bill Payment       8/24/2023    00000446/15                             $299.12
Amount Unapplied - Bill Payment #00000438/55 - Lob.com, Inc                                  $0.00                     Bill               7/26/2023    11596825                               ($299.12)
Bill Payment #00000438/6 - C Clean Inc                                                                  Amount Unapplied - Bill Payment #00000446/15 - Mcmaster Carr Supply                      $0.00
             Bill Payment 7/6/2023     00000438/6                                        $1,948.50      Bill Payment #00000446/16 - Mcmaster Carr Supply
             Bill          5/31/2023   3365                                             ($1,948.50)                    Bill Payment       8/24/2023    00000446/16                              $68.68
                                   Case 23-18093-MAM                               Doc 1              Filed 10/03/23               Page 111 of 157
Amount Unapplied - Bill Payment #00000438/6 - C Clean Inc                                    $0.00                     Bill               7/24/2023    11458474                                    ($68.68)
Bill Payment #00000438/7 - C Clean Inc                                                                  Amount Unapplied - Bill Payment #00000446/16 - Mcmaster Carr Supply                          $0.00
             Bill Payment 7/6/2023      00000438/7                                       $1,948.50      Bill Payment #00000446/17 - NexGen IOT Solutions, LLC
             Bill          6/1/2023     3414                                            ($1,948.50)                    Bill Payment       8/24/2023    00000446/17                              $31,800.00
Amount Unapplied - Bill Payment #00000438/7 - C Clean Inc                                    $0.00                     Bill               8/3/2023     1027                                    ($31,800.00)
Bill Payment #00000438/8 - Cintas Corporation                                                           Amount Unapplied - Bill Payment #00000446/17 - NexGen IOT Solutions, LLC                     $0.00
             Bill Payment 7/6/2023      00000438/8                                         $366.90      Bill Payment #00000446/18 - Raymond Cromwell
             Bill          6/15/2023    4158737452                                        ($366.90)                    Bill Payment       8/24/2023    00000446/18                               $5,916.00
Amount Unapplied - Bill Payment #00000438/8 - Cintas Corporation                             $0.00                     Bill               8/22/2023    MO 08.22.2023                            ($5,916.00)
Bill Payment #00000438/9 - Cintas Corporation                                                           Amount Unapplied - Bill Payment #00000446/18 - Raymond Cromwell                              $0.00
             Bill Payment 7/6/2023      00000438/9                                         $366.90      Bill Payment #00000446/19 - Raymond Handling Consultants, L.C.
             Bill          6/1/2023     4157300330                                        ($366.90)                    Bill Payment       8/24/2023    00000446/19                                $386.54
Amount Unapplied - Bill Payment #00000438/9 - Cintas Corporation                             $0.00                     Bill               8/11/2023    WO-1099831                                ($386.54)
Bill Payment #Wire-2023070626653851 - Well Shin Technology Co., Ltd                                     Amount Unapplied - Bill Payment #00000446/19 - Raymond Handling Consultants, L.C.           $0.00
             Bill Payment 7/6/2023      Wire-2023070626653851                           $96,332.43      Bill Payment #00000446/2 - Columbus Industries Texas LLP
             Bill          5/25/2023    202307                                         ($96,332.43)                    Bill Payment       8/24/2023    00000446/2                               $39,519.90
Amount Unapplied - Bill Payment #Wire-2023070626653851 - Well Shin Technology Co., L         $0.00                     Bill               7/1/2023     1345880 RI                              ($39,519.90)
Bill Payment #Wire-2023070626653888 - Lojistic LLC                                                      Amount Unapplied - Bill Payment #00000446/2 - Columbus Industries Texas LLP                  $0.00
             Bill Payment 7/6/2023      Wire-2023070626653888                           $50,107.56      Bill Payment #00000446/20 - Safety Products, Inc.
             Bill          7/5/2023     P202326                                        ($50,107.56)                    Bill Payment       8/24/2023    00000446/20                                  $91.49
Amount Unapplied - Bill Payment #Wire-2023070626653888 - Lojistic LLC                        $0.00                     Bill               7/20/2023    890649                                      ($91.49)
Bill Payment #Wire-2023070626656485 - Inventec Appliances Corporation                                   Amount Unapplied - Bill Payment #00000446/20 - Safety Products, Inc.                         $0.00
             Bill Payment 7/6/2023      Wire-2023070626656485                           $34,300.00      Bill Payment #00000446/21 - Sigma-Aldrich, Inc.
             Bill          6/13/2023    83033904                                       ($34,300.00)                    Bill Payment       8/24/2023    00000446/21                                $334.97
Amount Unapplied - Bill Payment #Wire-2023070626656485 - Inventec Appliances Corpor          $0.00                     Bill               7/19/2023    560615634                                 ($334.97)
Bill Payment #Wire-2023070626657294 - Aura Smart Air Inc.                                               Amount Unapplied - Bill Payment #00000446/21 - Sigma-Aldrich, Inc.                          $0.00
             Bill Payment 7/7/2023      Wire-2023070626657294                          $101,401.65      Bill Payment #00000446/22 - The Quality Edit LLC
             Bill          6/29/2023    INVUS656                                        ($3,420.00)                    Bill Payment       8/24/2023    00000446/22                              $16,995.20
             Bill          7/6/2023     INVUS1137                                      ($68,181.81)                    Bill               8/1/2023     2154                                    ($16,995.20)
             Bill          7/6/2023     INVUS664                                        ($9,150.00)     Amount Unapplied - Bill Payment #00000446/22 - The Quality Edit LLC                          $0.00
             Bill          7/6/2023     INVUS665                                       ($20,649.84)     Bill Payment #00000446/23 - Unified Accounting & Tax, LLP
Amount Unapplied - Bill Payment #Wire-2023070626657294 - Aura Smart Air Inc.                 $0.00                     Bill Payment       8/24/2023    00000446/23                                $359.45
Bill Payment #00000439/1 - Blair Greenwood Consulting LLC                                                              Bill               8/1/2023     1741                                      ($359.45)
             Bill Payment 7/13/2023     00000439/1                                       $6,272.50      Amount Unapplied - Bill Payment #00000446/23 - Unified Accounting & Tax, LLP                $0.00
             Bill          6/30/2023    1023                                            ($6,272.50)     Bill Payment #00000446/24 - Unified Accounting & Tax, LLP
Amount Unapplied - Bill Payment #00000439/1 - Blair Greenwood Consulting LLC                 $0.00                     Bill Payment       8/24/2023    00000446/24                               $2,404.20
Bill Payment #00000439/10 - Columbus Industries Texas LLP                                                              Bill               8/1/2023     7306                                     ($2,404.20)
             Bill Payment 7/13/2023     00000439/10                                     $16,675.20      Amount Unapplied - Bill Payment #00000446/24 - Unified Accounting & Tax, LLP                 $0.00
             Bill          5/11/2023    1341319 RI                                     ($16,675.20)     Bill Payment #00000446/25 - Fisher Scientific Co. LLC
Amount Unapplied - Bill Payment #00000439/10 - Columbus Industries Texas LLP                 $0.00                     Bill Payment       8/24/2023    00000446/25                                  $68.21
Bill Payment #00000439/11 - Columbus Industries Texas LLP                                                              Bill               7/20/2023    4699185                                     ($68.21)
             Bill Payment 7/13/2023     00000439/11                                     $11,529.00      Amount Unapplied - Bill Payment #00000446/25 - Fisher Scientific Co. LLC                     $0.00
             Bill          5/17/2023    1341889 RI                                     ($11,529.00)     Bill Payment #00000446/3 - Columbus Industries Texas LLP
Amount Unapplied - Bill Payment #00000439/11 - Columbus Industries Texas LLP                 $0.00                     Bill Payment       8/24/2023    00000446/3                               $19,764.00
Bill Payment #00000439/12 - Columbus Industries Texas LLP                                                              Bill               7/1/2023     1345879 RI                              ($19,764.00)
             Bill Payment 7/13/2023     00000439/12                                     $11,528.57      Amount Unapplied - Bill Payment #00000446/3 - Columbus Industries Texas LLP                  $0.00
             Bill          5/11/2023    1341260 RI                                     ($11,528.57)     Bill Payment #00000446/4 - Columbus Industries Texas LLP
Amount Unapplied - Bill Payment #00000439/12 - Columbus Industries Texas LLP                 $0.00                     Bill Payment       8/24/2023    00000446/4                                $5,558.40
Bill Payment #00000439/13 - Columbus Industries Texas LLP                                                              Bill               7/1/2023     1345881 RI                               ($5,558.40)
             Bill Payment 7/13/2023     00000439/13                                     $11,116.80      Amount Unapplied - Bill Payment #00000446/4 - Columbus Industries Texas LLP                  $0.00
             Bill          5/11/2023    1341267 RI                                     ($11,116.80)     Bill Payment #00000446/5 - Canteen Refreshment Services dba A Div of Canteen
Amount Unapplied - Bill Payment #00000439/13 - Columbus Industries Texas LLP                 $0.00                     Bill Payment       8/24/2023    00000446/5                                $2,832.52
Bill Payment #00000439/14 - Columbus Industries Texas LLP                                                              Bill               8/7/2023     LAK4286                                  ($2,832.52)
             Bill Payment 7/13/2023     00000439/14                                     $11,116.80      Amount Unapplied - Bill Payment #00000446/5 - Canteen Refreshment Services dba A Div         $0.00
             Bill          6/1/2023     1341890 RI                                     ($11,116.80)     Bill Payment #00000446/6 - Canteen Refreshment Services dba A Div of Canteen
Amount Unapplied - Bill Payment #00000439/14 - Columbus Industries Texas LLP                 $0.00                     Bill Payment       8/24/2023    00000446/6                                $1,355.40
Bill Payment #00000439/15 - Columbus Industries Texas LLP                                                              Bill               8/7/2023     LAK4421                                  ($1,355.40)
             Bill Payment 7/13/2023     00000439/15                                     $10,653.12      Amount Unapplied - Bill Payment #00000446/6 - Canteen Refreshment Services dba A Div         $0.00
             Bill          5/17/2023    1341921 RI                                     ($10,653.12)     Bill Payment #00000446/7 - Comprise
Amount Unapplied - Bill Payment #00000439/15 - Columbus Industries Texas LLP                 $0.00                     Bill Payment       8/24/2023    00000446/7                               $30,500.00
Bill Payment #00000439/16 - Columbus Industries Texas LLP                                                              Bill               7/6/2023     15157                                   ($30,500.00)
             Bill Payment 7/13/2023     00000439/16                                      $5,558.40      Amount Unapplied - Bill Payment #00000446/7 - Comprise                                       $0.00
             Bill          5/11/2023    1341261 RI                                      ($5,558.40)     Bill Payment #00000446/8 - Computershare Inc.
Amount Unapplied - Bill Payment #00000439/16 - Columbus Industries Texas LLP                 $0.00                     Bill Payment       8/24/2023    00000446/8                                $3,888.13
Bill Payment #00000439/17 - Columbus Industries Texas LLP                                                              Bill               7/11/2023    US_CSSI2525064                           ($3,888.13)
             Bill Payment 7/13/2023     00000439/17                                      $2,324.70      Amount Unapplied - Bill Payment #00000446/8 - Computershare Inc.                             $0.00
             Bill          5/17/2023    1341887 RI                                      ($2,324.70)     Bill Payment #00000446/9 - Freightquote
Amount Unapplied - Bill Payment #00000439/17 - Columbus Industries Texas LLP                 $0.00                     Bill Payment       8/24/2023    00000446/9                                $2,761.55
Bill Payment #00000439/18 - Computershare Inc.                                                                         Bill               7/13/2023    6183800979                               ($2,761.55)
             Bill Payment 7/13/2023     00000439/18                                      $4,007.67      Amount Unapplied - Bill Payment #00000446/9 - Freightquote                                   $0.00
             Bill          6/15/2023    US_CSSI2499949                                  ($4,007.67)     Bill Payment #EFT-as33776v - KlientBoost Performance, LLC
Amount Unapplied - Bill Payment #00000439/18 - Computershare Inc.                            $0.00                     Bill Payment       8/24/2023    EFT-as33776v                              $7,000.00
Bill Payment #00000439/19 - Fisher Scientific Co. LLC                                                                  Bill               7/28/2023    10615                                    ($7,000.00)
             Bill Payment 7/13/2023     00000439/19                                        $111.74      Amount Unapplied - Bill Payment #EFT-as33776v - KlientBoost Performance, LLC                 $0.00
             Bill          6/9/2023     3654838                                           ($111.74)     Bill Payment #Wire-2023082426890683 - The Flip Hubb LLC
Amount Unapplied - Bill Payment #00000439/19 - Fisher Scientific Co. LLC                     $0.00                     Bill Payment       8/24/2023    Wire-2023082426890683                     $2,300.00
Bill Payment #00000439/2 - Association of Home Appliance Manufacturers                                                 Bill               7/20/2023    1025                                     ($2,300.00)
             Bill Payment 7/13/2023     00000439/2                                         $706.25      Amount Unapplied - Bill Payment #Wire-2023082426890683 - The Flip Hubb LLC                   $0.00
             Bill          7/1/2023     21436                                             ($706.25)     Bill Payment #28351438 - Grainger
Amount Unapplied - Bill Payment #00000439/2 - Association of Home Appliance Manufac          $0.00                     Bill Payment       8/24/2023                                               $217.79
Bill Payment #00000439/20 - Fisher Scientific Co. LLC                                                                  Bill               7/24/2023    9780166006                                ($217.79)
             Bill Payment 7/13/2023     00000439/20                                          $8.19      Amount Unapplied - Bill Payment #28351438 - Grainger                                        $0.00
             Bill          6/28/2023    0356002.1                                           ($8.19)     Bill Payment #28359520 - PrideBites
Amount Unapplied - Bill Payment #00000439/20 - Fisher Scientific Co. LLC                     $0.00                     Bill Payment       8/24/2023                                              $5,675.00
Bill Payment #00000439/21 - Freightquote                                                                               Bill               8/24/2023    IN55740                                  ($5,675.00)
             Bill Payment 7/13/2023     00000439/21                                      $2,300.00      Amount Unapplied - Bill Payment #28359520 - PrideBites                                       $0.00
             Bill          6/13/2023    6182109149                                      ($2,300.00)     Bill Payment #28356989 - Airgas USA, LLC
Amount Unapplied - Bill Payment #00000439/21 - Freightquote                                  $0.00                     Bill Payment       8/24/2023                                               $137.23
Bill Payment #00000439/22 - Freshfields Bruckhaus Deringer LLP                                                         Bill               8/1/2023     5500329075                                ($137.23)
             Bill Payment 7/13/2023     00000439/22                                     $16,107.75      Amount Unapplied - Bill Payment #28356989 - Airgas USA, LLC                                 $0.00
             Bill          2/28/2023    6001016910                                     ($16,107.75)     Bill Payment #28355665 - Airgas USA, LLC
Amount Unapplied - Bill Payment #00000439/22 - Freshfields Bruckhaus Deringer LLP            $0.00                     Bill Payment       8/24/2023                                               $138.73
Bill Payment #00000439/23 - Freshfields Bruckhaus Deringer LLP                                                         Bill               7/26/2023    9140396084                                ($138.73)
             Bill Payment 7/13/2023     00000439/23                                     $43,035.25      Amount Unapplied - Bill Payment #28355665 - Airgas USA, LLC                                 $0.00
             Bill          2/28/2023    6001016905                                     ($43,035.25)     Bill Payment #28353852 - ThinkLite
Amount Unapplied - Bill Payment #00000439/23 - Freshfields Bruckhaus Deringer LLP            $0.00                     Bill Payment       8/24/2023                                               $500.00
Bill Payment #00000439/24 - Freshfields Bruckhaus Deringer LLP                                                         Bill               8/9/2023     75880                                     ($500.00)
             Bill Payment 7/13/2023     00000439/24                                     $39,199.50      Amount Unapplied - Bill Payment #28353852 - ThinkLite                                       $0.00
             Bill          2/28/2023    6001016911                                     ($39,199.50)     Bill Payment #28351642 - Uline
Amount Unapplied - Bill Payment #00000439/24 - Freshfields Bruckhaus Deringer LLP            $0.00                     Bill Payment       8/24/2023                                              $2,731.75
Bill Payment #00000439/25 - Freshfields Bruckhaus Deringer LLP                                                         Bill               7/20/2023    166224386                                  ($853.70)
             Bill Payment 7/13/2023     00000439/25                                     $31,810.50                     Bill               7/26/2023    166063805                                  ($624.81)
             Bill          2/28/2023    6001016908                                     ($31,810.50)                    Bill               7/26/2023    166468508                                ($1,253.24)
Amount Unapplied - Bill Payment #00000439/25 - Freshfields Bruckhaus Deringer LLP            $0.00      Amount Unapplied - Bill Payment #28351642 - Uline                                            $0.00
Bill Payment #00000439/26 - Freshfields Bruckhaus Deringer LLP                                          Bill Payment #28351441 - Grainger
             Bill Payment 7/13/2023     00000439/26                                     $69,223.50                     Bill Payment       8/24/2023                                                 $71.81
             Bill          4/26/2023    6001017595                                     ($69,223.50)                    Bill               7/26/2023    9784184666                                  ($71.81)
                                  Case 23-18093-MAM                                 Doc 1           Filed 10/03/23                Page 112 of 157
Amount Unapplied - Bill Payment #00000439/26 - Freshfields Bruckhaus Deringer LLP         $0.00       Amount Unapplied - Bill Payment #28351441 - Grainger                                        $0.00
Bill Payment #00000439/27 - GRIN Technologies, Inc.                                                   Bill Payment #28351440 - Grainger
             Bill Payment 7/13/2023      00000439/27                                    $500.00                      Bill Payment      8/24/2023                                                 $31.39
             Bill          6/30/2023     INV-199071347                                 ($500.00)                     Bill              7/25/2023     9781675831                                 ($31.39)
Amount Unapplied - Bill Payment #00000439/27 - GRIN Technologies, Inc.                    $0.00       Amount Unapplied - Bill Payment #28351440 - Grainger                                        $0.00
Bill Payment #00000439/28 - GRIN Technologies, Inc.                                                   Bill Payment #28351439 - Grainger
             Bill Payment 7/13/2023      00000439/28                                   $1,795.00                     Bill Payment      8/24/2023                                                 $86.86
             Bill          7/5/2023      INV-199071347-2                              ($1,795.00)                    Bill              7/21/2023     9777569899                                 ($86.86)
Amount Unapplied - Bill Payment #00000439/28 - GRIN Technologies, Inc.                     $0.00      Amount Unapplied - Bill Payment #28351439 - Grainger                                        $0.00
Bill Payment #00000439/29 - Homestead Studio LLC                                                      Bill Payment #Wire-2023082526894168 - Lojistic LLC
             Bill Payment 7/13/2023      00000439/29                                   $7,000.00                     Bill Payment      8/25/2023     Wire-2023082526894168                   $47,253.35
             Bill          7/1/2023      HS-3394                                      ($7,000.00)                    Bill              8/16/2023     P202332                                ($47,253.35)
Amount Unapplied - Bill Payment #00000439/29 - Homestead Studio LLC                        $0.00      Amount Unapplied - Bill Payment #Wire-2023082526894168 - Lojistic LLC                       $0.00
Bill Payment #00000439/3 - Christian Haslett                                                          Bill Payment #Wire-2023082826900364 - Shraiberg Page P.A.
             Bill Payment 7/13/2023      00000439/3                                     $300.00                      Bill Payment      8/28/2023     Wire-2023082826900364                   $20,000.00
             Bill          7/7/2023      07.07.23                                      ($300.00)                     Bill              8/25/2023     8.25.23 Agreement                      ($20,000.00)
Amount Unapplied - Bill Payment #00000439/3 - Christian Haslett                           $0.00       Amount Unapplied - Bill Payment #Wire-2023082826900364 - Shraiberg Page P.A.                $0.00
Bill Payment #00000439/30 - Homestead Studio LLC                                                      Bill Payment #Wire-2023082826900473 - James R Whitson
             Bill Payment 7/13/2023      00000439/30                                    $720.00                      Bill Payment      8/28/2023     Wire-2023082826900473                   $10,000.00
             Bill          6/30/2023     HS-3429                                       ($720.00)                     Bill              8/1/2023      1007                                   ($10,000.00)
Amount Unapplied - Bill Payment #00000439/30 - Homestead Studio LLC                       $0.00       Amount Unapplied - Bill Payment #Wire-2023082826900473 - James R Whitson                    $0.00
Bill Payment #00000439/31 - Houzz, Inc.                                                               Bill Payment #Wire-2023083126924976 - 2231192 Ontario Inc.
             Bill Payment 7/13/2023      00000439/31                                  $20,000.00                     Bill Payment      8/31/2023     Wire-2023083126924976                      $245.50
             Bill          6/1/2023      #INVHI4839                                  ($20,000.00)                    Bill              8/15/2023     3012                                      ($245.50)
Amount Unapplied - Bill Payment #00000439/31 - Houzz, Inc.                                 $0.00      Amount Unapplied - Bill Payment #Wire-2023083126924976 - 2231192 Ontario Inc.               $0.00
Bill Payment #00000439/32 - Intrado Digital Media, LLC                                                Bill Payment #Wire-2023083126924991 - Joseph Synnott
             Bill Payment 7/13/2023      00000439/32                                   $5,012.00                     Bill Payment      8/31/2023     Wire-2023083126924991                   $18,221.00
             Bill          6/15/2023     1000000163460                                ($5,012.00)                    Bill              8/26/2023     0023                                   ($18,221.00)
Amount Unapplied - Bill Payment #00000439/32 - Intrado Digital Media, LLC                  $0.00      Amount Unapplied - Bill Payment #Wire-2023083126924991 - Joseph Synnott                     $0.00
Bill Payment #00000439/33 - James R Whitson                                                           Bill Payment #Wire-2023083126925017 - Lojistic LLC
             Bill Payment 7/13/2023      00000439/33                                  $10,000.00                     Bill Payment      8/31/2023     Wire-2023083126925017                   $39,996.93
             Bill          7/5/2023      1006                                        ($10,000.00)                    Bill              8/23/2023     P202333                                ($39,996.93)
Amount Unapplied - Bill Payment #00000439/33 - James R Whitson                             $0.00      Amount Unapplied - Bill Payment #Wire-2023083126925017 - Lojistic LLC                       $0.00
Bill Payment #00000439/34 - KBA Document Solutions, LLC                                               Bill Payment #28475120 - Commerce Technologies, LLC DBA CommerceHub
             Bill Payment 7/13/2023      00000439/34                                       $2.44                     Bill Payment      8/31/2023                                                 $65.00
             Bill          6/30/2023     55Y1359183.1                                     ($2.44)                    Bill              7/31/2023     2224889                                    ($65.00)
Amount Unapplied - Bill Payment #00000439/34 - KBA Document Solutions, LLC                 $0.00      Amount Unapplied - Bill Payment #28475120 - Commerce Technologies, LLC DBA Comm             $0.00
Bill Payment #00000439/35 - KBA Document Solutions, LLC                                               Bill Payment #28644953 - Valuecart Private Limited
             Bill Payment 7/13/2023      00000439/35                                       $2.44                     Bill Payment      8/31/2023                                              $2,289.00
             Bill          6/30/2023     55Y1352703.1                                     ($2.44)                    Bill              6/1/2023      VC-S-KA03/23-24                         ($2,289.00)
Amount Unapplied - Bill Payment #00000439/35 - KBA Document Solutions, LLC                 $0.00      Amount Unapplied - Bill Payment #28644953 - Valuecart Private Limited                       $0.00
Bill Payment #00000439/36 - Kelly Jo Grandy                                                           Bill Payment #28477339 - Uline
             Bill Payment 7/13/2023      00000439/36                                   $1,200.00                     Bill Payment      8/31/2023                                              $2,396.10
             Bill          7/5/2023      1220                                         ($1,200.00)                    Bill              7/31/2023     166598243                               ($2,396.10)
Amount Unapplied - Bill Payment #00000439/36 - Kelly Jo Grandy                             $0.00      Amount Unapplied - Bill Payment #28477339 - Uline                                           $0.00
Bill Payment #00000439/37 - Lindsey Solden Reiser DBA LMSR LLC                                        Bill Payment #28476234 - Longs Peak Digital, LLC
             Bill Payment 7/13/2023      00000439/37                                  $17,187.50                     Bill Payment      8/31/2023                                              $4,000.00
             Bill          6/30/2023     1011                                        ($17,187.50)                    Bill              7/31/2023     MO-LPD0020                              ($4,000.00)
Amount Unapplied - Bill Payment #00000439/37 - Lindsey Solden Reiser DBA LMSR LLC          $0.00      Amount Unapplied - Bill Payment #28476234 - Longs Peak Digital, LLC                         $0.00
Bill Payment #00000439/38 - Loctek Inc. (Flexispot)                                                   Bill Payment #28475425 - Airgas USA, LLC
             Bill Payment 7/13/2023      00000439/38                                    $364.98                      Bill Payment      8/31/2023                                                $147.53
             Bill          6/14/2023     23EBAB13-0614-2                               ($364.98)                     Bill              7/31/2023     5501079921                                ($147.53)
Amount Unapplied - Bill Payment #00000439/38 - Loctek Inc. (Flexispot)                    $0.00       Amount Unapplied - Bill Payment #28475425 - Airgas USA, LLC                                 $0.00
Bill Payment #00000439/39 - Plant-Based on a Budget, LLC                                              Bill Payment #00000447/1 - 8x8 Inc
             Bill Payment 7/13/2023      00000439/39                                   $1,250.00                     Bill Payment      9/1/2023      00000447/1                                  $40.42
             Bill          6/27/2023     1                                            ($1,250.00)                    Bill              7/31/2023     3969390                                    ($40.42)
Amount Unapplied - Bill Payment #00000439/39 - Plant-Based on a Budget, LLC                $0.00      Amount Unapplied - Bill Payment #00000447/1 - 8x8 Inc                                       $0.00
Bill Payment #00000439/4 - Cintas Corporation                                                         Bill Payment #00000447/10 - Cintas Corporation
             Bill Payment 7/13/2023      00000439/4                                       $48.64                     Bill Payment      9/1/2023      00000447/10                                 $69.55
             Bill          6/14/2023     5162649852                                      ($48.64)                    Bill              8/1/2023      9233670869                                 ($69.55)
Amount Unapplied - Bill Payment #00000439/4 - Cintas Corporation                           $0.00      Amount Unapplied - Bill Payment #00000447/10 - Cintas Corporation                           $0.00
Bill Payment #00000439/40 - Quiq, Inc.                                                                Bill Payment #00000447/11 - DHL Express
             Bill Payment 7/13/2023      00000439/40                                    $565.99                      Bill Payment      9/1/2023      00000447/11                              $1,275.33
             Bill          7/10/2023     INV-230268                                    ($565.99)                     Bill              8/17/2023     D20573682                               ($1,275.33)
Amount Unapplied - Bill Payment #00000439/40 - Quiq, Inc.                                 $0.00       Amount Unapplied - Bill Payment #00000447/11 - DHL Express                                  $0.00
Bill Payment #00000439/41 - Raymond Cromwell                                                          Bill Payment #00000447/12 - Fisher Scientific Co. LLC
             Bill Payment 7/13/2023      00000439/41                                   $4,437.00                     Bill Payment      9/1/2023      00000447/12                                $120.70
             Bill          7/11/2023     MO 07.11.2023                                ($4,437.00)                    Bill              7/27/2023     4893059                                   ($120.70)
Amount Unapplied - Bill Payment #00000439/41 - Raymond Cromwell                            $0.00      Amount Unapplied - Bill Payment #00000447/12 - Fisher Scientific Co. LLC                    $0.00
Bill Payment #00000439/42 - RK Strategies, LLC.                                                       Bill Payment #00000447/13 - Fisher Scientific Co. LLC
             Bill Payment 7/13/2023      00000439/42                                   $2,500.00                     Bill Payment      9/1/2023      00000447/13                                 $65.54
             Bill          6/30/2023     1239                                         ($2,500.00)                    Bill              8/1/2023      5002105                                    ($65.54)
Amount Unapplied - Bill Payment #00000439/42 - RK Strategies, LLC.                         $0.00      Amount Unapplied - Bill Payment #00000447/13 - Fisher Scientific Co. LLC                    $0.00
Bill Payment #00000439/43 - San Diego Model Management Inc.                                           Bill Payment #00000447/14 - Flexport
             Bill Payment 7/13/2023      00000439/43                                   $1,950.00                     Bill Payment      9/1/2023      00000447/14                                $345.01
             Bill          7/5/2023      14827                                        ($1,950.00)                    Bill              7/19/2023     FLEX-2095502-3                            ($345.01)
Amount Unapplied - Bill Payment #00000439/43 - San Diego Model Management Inc.             $0.00      Amount Unapplied - Bill Payment #00000447/14 - Flexport                                     $0.00
Bill Payment #00000439/44 - Sigma-Aldrich, Inc.                                                       Bill Payment #00000447/15 - gandi.net
             Bill Payment 7/13/2023      00000439/44                                    $110.34                      Bill Payment      9/1/2023      00000447/15                                 $77.59
             Bill          6/1/2023      559940647                                     ($110.34)                     Bill              8/1/2023      2023073100404                              ($77.59)
Amount Unapplied - Bill Payment #00000439/44 - Sigma-Aldrich, Inc.                        $0.00       Amount Unapplied - Bill Payment #00000447/15 - gandi.net                                    $0.00
Bill Payment #00000439/45 - SCHOX, PLC                                                                Bill Payment #00000447/16 - Mcmaster Carr Supply
             Bill Payment 7/13/2023      00000439/45                                   $8,000.00                     Bill Payment      9/1/2023      00000447/16                                $232.23
             Bill          5/25/2023     MOLE-i86                                     ($8,000.00)                    Bill              8/1/2023      11894617                                  ($232.23)
Amount Unapplied - Bill Payment #00000439/45 - SCHOX, PLC                                  $0.00      Amount Unapplied - Bill Payment #00000447/16 - Mcmaster Carr Supply                         $0.00
Bill Payment #00000439/46 - SCHOX, PLC                                                                Bill Payment #00000447/17 - Quiq, Inc.
             Bill Payment 7/13/2023      00000439/46                                   $6,000.00                     Bill Payment      9/1/2023      00000447/17                                $434.13
             Bill          6/15/2023     MOLE-i89                                     ($6,000.00)                    Bill              7/31/2023     INV-230325                                ($434.13)
Amount Unapplied - Bill Payment #00000439/46 - SCHOX, PLC                                  $0.00      Amount Unapplied - Bill Payment #00000447/17 - Quiq, Inc.                                   $0.00
Bill Payment #00000439/47 - SCHOX, PLC                                                                Bill Payment #00000447/18 - Sigma-Aldrich, Inc.
             Bill Payment 7/13/2023      00000439/47                                   $5,000.00                     Bill Payment      9/1/2023      00000447/18                                $728.37
             Bill          6/15/2023     MOLE-i88 RETAINER                            ($5,000.00)                    Bill              7/31/2023     560704004                                 ($728.37)
Amount Unapplied - Bill Payment #00000439/47 - SCHOX, PLC                                  $0.00      Amount Unapplied - Bill Payment #00000447/18 - Sigma-Aldrich, Inc.                          $0.00
Bill Payment #00000439/48 - TELUS International (US) Corp.                                            Bill Payment #00000447/19 - Sigma-Aldrich, Inc.
             Bill Payment 7/13/2023      00000439/48                                  $46,079.27                     Bill Payment      9/1/2023      00000447/19                                $208.11
             Bill          6/15/2023     CUSTINV- 351- USOP-2023-000806              ($46,079.27)                    Bill              7/28/2023     560684128                                 ($208.11)
Amount Unapplied - Bill Payment #00000439/48 - TELUS International (US) Corp.              $0.00      Amount Unapplied - Bill Payment #00000447/19 - Sigma-Aldrich, Inc.                          $0.00
Bill Payment #00000439/49 - The Yocca Law Firm LLP                                                    Bill Payment #00000447/2 - ALOM Technologies Corp.
             Bill Payment 7/13/2023      00000439/49                                   $6,964.54                     Bill Payment      9/1/2023      00000447/2                              $12,546.24
             Bill          5/5/2023      69073                                        ($6,964.54)                    Bill              7/31/2023     111105                                 ($12,546.24)
Amount Unapplied - Bill Payment #00000439/49 - The Yocca Law Firm LLP                      $0.00      Amount Unapplied - Bill Payment #00000447/2 - ALOM Technologies Corp.                       $0.00
Bill Payment #00000439/5 - Cintas Corporation                                                         Bill Payment #00000447/20 - Staples Contract & Commercial LLC dba Staples Business Advantage
             Bill Payment 7/13/2023      00000439/5                                       $75.29                     Bill Payment      9/1/2023      00000447/20                                $499.24
             Bill          6/16/2023     8406300629                                      ($75.29)                    Bill              7/31/2023     8071114850                                ($499.24)
Amount Unapplied - Bill Payment #00000439/5 - Cintas Corporation                           $0.00      Amount Unapplied - Bill Payment #00000447/20 - Staples Contract & Commercial LLC dba        $0.00
Bill Payment #00000439/50 - TikTok Inc.                                                               Bill Payment #00000447/21 - TELUS International (US) Corp.
             Bill Payment 7/13/2023      00000439/50                                    $996.67                      Bill Payment      9/1/2023      00000447/21                             $41,981.22
                                  Case 23-18093-MAM                              Doc 1               Filed 10/03/23                Page 113 of 157
               Bill         6/1/2023    MUUS20230756435                                 ($996.67)                       Bill             7/13/2023    CUSTINV- 351- USOP-2023-000924          ($41,981.22)
Amount Unapplied - Bill Payment #00000439/50 - TikTok Inc.                                 $0.00       Amount Unapplied - Bill Payment #00000447/21 - TELUS International (US) Corp.                $0.00
Bill Payment #00000439/51 - Unified Accounting & Tax, LLP                                              Bill Payment #00000447/22 - The Bluebird Group LLC
               Bill Payment 7/13/2023   00000439/51                                     $2,713.20                       Bill Payment     9/1/2023     00000447/22                               $1,500.00
               Bill         6/15/2023   7008                                           ($2,713.20)                      Bill             8/1/2023     11483                                    ($1,500.00)
Amount Unapplied - Bill Payment #00000439/51 - Unified Accounting & Tax, LLP                $0.00      Amount Unapplied - Bill Payment #00000447/22 - The Bluebird Group LLC                        $0.00
Bill Payment #00000439/52 - Unified Accounting & Tax, LLP                                              Bill Payment #00000447/23 - The Quality Edit LLC
               Bill Payment 7/13/2023   00000439/52                                      $225.05                        Bill Payment     9/1/2023     00000447/23                              $12,500.00
               Bill         6/15/2023   1675                                            ($225.05)                       Bill             8/1/2023     2155                                    ($12,500.00)
Amount Unapplied - Bill Payment #00000439/52 - Unified Accounting & Tax, LLP               $0.00       Amount Unapplied - Bill Payment #00000447/23 - The Quality Edit LLC                          $0.00
Bill Payment #00000439/53 - Unified Accounting & Tax, LLP                                              Bill Payment #00000447/3 - ALOM Technologies Corp.
               Bill Payment 7/13/2023   00000439/53                                      $477.75                        Bill Payment     9/1/2023     00000447/3                                $7,579.78
               Bill         6/30/2023   1693                                            ($477.75)                       Bill             8/1/2023     111206                                   ($7,579.78)
Amount Unapplied - Bill Payment #00000439/53 - Unified Accounting & Tax, LLP               $0.00       Amount Unapplied - Bill Payment #00000447/3 - ALOM Technologies Corp.                        $0.00
Bill Payment #00000439/54 - Yellow Logistics                                                           Bill Payment #00000447/4 - ALOM Technologies Corp.
               Bill Payment 7/13/2023   00000439/54                                     $2,300.00                       Bill Payment     9/1/2023     00000447/4                                $5,901.95
               Bill         6/26/2023   TB000262040-01                                 ($2,300.00)                      Bill             8/1/2023     111212                                   ($5,901.95)
Amount Unapplied - Bill Payment #00000439/54 - Yellow Logistics                             $0.00      Amount Unapplied - Bill Payment #00000447/4 - ALOM Technologies Corp.                        $0.00
Bill Payment #00000439/55 - Yellow Logistics                                                           Bill Payment #00000447/5 - ALOM Technologies Corp.
               Bill Payment 7/13/2023   00000439/55                                     $2,200.00                       Bill Payment     9/1/2023     00000447/5                               $29,848.05
               Bill         6/30/2023   0003747                                        ($2,200.00)                      Bill             8/1/2023     111251                                  ($29,848.05)
Amount Unapplied - Bill Payment #00000439/55 - Yellow Logistics                             $0.00      Amount Unapplied - Bill Payment #00000447/5 - ALOM Technologies Corp.                        $0.00
Bill Payment #00000439/6 - Client Partner Mgmt Group LLC                                               Bill Payment #00000447/6 - ALOM Technologies Corp.
               Bill Payment 7/13/2023   00000439/6                                      $5,220.00                       Bill Payment     9/1/2023     00000447/6                              $210,735.85
               Bill         7/8/2023    23_15~ 2 weeks ending 7/8                      ($5,220.00)                      Bill             8/1/2023     111255                                 ($210,735.85)
Amount Unapplied - Bill Payment #00000439/6 - Client Partner Mgmt Group LLC                 $0.00      Amount Unapplied - Bill Payment #00000447/6 - ALOM Technologies Corp.                        $0.00
Bill Payment #00000439/7 - Columbus Industries Texas LLP                                               Bill Payment #00000447/7 - Blair Greenwood Consulting LLC
               Bill Payment 7/13/2023   00000439/7                                     $44,469.00                       Bill Payment     9/1/2023     00000447/7                               $10,920.00
               Bill         5/11/2023   1341266 RI                                    ($44,469.00)                      Bill             7/31/2023    1024                                    ($10,920.00)
Amount Unapplied - Bill Payment #00000439/7 - Columbus Industries Texas LLP                 $0.00      Amount Unapplied - Bill Payment #00000447/7 - Blair Greenwood Consulting LLC                 $0.00
Bill Payment #00000439/8 - Columbus Industries Texas LLP                                               Bill Payment #00000447/8 - Brandography.com LLC
               Bill Payment 7/13/2023   00000439/8                                     $37,195.20                       Bill Payment     9/1/2023     00000447/8                                $5,000.00
               Bill         6/1/2023    1341891 RI                                    ($37,195.20)                      Bill             8/1/2023     6870                                     ($5,000.00)
Amount Unapplied - Bill Payment #00000439/8 - Columbus Industries Texas LLP                 $0.00      Amount Unapplied - Bill Payment #00000447/8 - Brandography.com LLC                           $0.00
Bill Payment #00000439/9 - Columbus Industries Texas LLP                                               Bill Payment #00000447/9 - Cintas Corporation
               Bill Payment 7/13/2023   00000439/9                                     $29,646.00                       Bill Payment     9/1/2023     00000447/9                                  $123.05
               Bill         5/11/2023   1341265 RI                                    ($29,646.00)                      Bill             8/1/2023     9233670864                                 ($123.05)
Amount Unapplied - Bill Payment #00000439/9 - Columbus Industries Texas LLP                 $0.00      Amount Unapplied - Bill Payment #00000447/9 - Cintas Corporation                             $0.00
Bill Credit #MOLE-i85 Retainer - SCHOX, PLC                                                            Bill Credit #400000598 - FAB
               Bill Credit  7/13/2023   MOLE-i85 Retainer                              $24,000.00                       Bill Credit      9/1/2023     400000598                                   $316.07
               Bill         4/25/2023   MOLE-i85 Retainer                             ($24,000.00)                      Bill             7/19/2023    50146442                                   ($316.07)
Amount Unapplied - Bill Credit #MOLE-i85 Retainer - SCHOX, PLC                              $0.00      Amount Unapplied - Bill Credit #400000598 - FAB                                              $0.00
Bill Payment #Wire-2023071326689056 - Lojistic LLC                                                     Bill Payment #EFT-as3sejzd - Wursta Corporation
               Bill Payment 7/13/2023   Wire-2023071326689056                          $59,305.81                       Bill Payment     9/1/2023     EFT-as3sejzd                              $6,430.46
               Bill         7/12/2023   P202327                                       ($59,305.81)                      Bill             7/31/2023    206111                                   ($6,430.46)
Amount Unapplied - Bill Payment #Wire-2023071326689056 - Lojistic LLC                       $0.00      Amount Unapplied - Bill Payment #EFT-as3sejzd - Wursta Corporation                           $0.00
Bill Payment #Wire-2023071326689794 - Persistent Systems Limited                                       Journal #JE-US-11914 -
               Bill Payment 7/13/2023   Wire-2023071326689794                           $6,842.50                       Journal          9/1/2023     JE-US-11914                               $8,865.00
               Bill         6/1/2023    10124270111360                                 ($6,842.50)                      Bill             6/1/2023     VC-S-KA03/23-24                          ($1,435.00)
Amount Unapplied - Bill Payment #Wire-2023071326689794 - Persistent Systems Limited         $0.00                       Bill             6/1/2023     VC-S-KA04/23-24                          ($3,724.00)
Bill Payment #Wire-2023071326690254 - Jasmeet Singh                                                                     Bill             6/30/2023    VC-S-KA07/23-24                          ($3,706.00)
               Bill Payment 7/13/2023   Wire-2023071326690254                            $407.40       Amount Unapplied - Journal #JE-US-11914 -                                                    $0.00
               Bill         6/12/2023   JA1011                                          ($407.40)      Bill Payment #Wire-2023090126931119 - LITE-ON SINGAPORE PTE LTD
Amount Unapplied - Bill Payment #Wire-2023071326690254 - Jasmeet Singh                     $0.00                        Bill Payment     9/1/2023     Wire-2023090126931119                     $2,356.25
Bill Payment #Wire-2023071326690347 - Plan Management Corp                                                              Bill             8/29/2023    20230829-Jul                             ($2,356.25)
               Bill Payment 7/13/2023   Wire-2023071326690347                          $15,998.50      Amount Unapplied - Bill Payment #Wire-2023090126931119 - LITE-ON SINGAPORE PTE L             $0.00
               Bill         6/28/2023   11015                                         ($15,998.50)     Bill Payment #Wire-2023090126931172 - Lite-On Technology Corp.
Amount Unapplied - Bill Payment #Wire-2023071326690347 - Plan Management Corp               $0.00                       Bill Payment     9/1/2023     Wire-2023090126931172                     $2,658.33
Bill Payment #Wire-2023071326690389 - Mister Bit                                                                        Bill             8/21/2023    DG-20230824                              ($2,658.33)
               Bill Payment 7/13/2023   Wire-2023071326690389                           $8,064.26      Amount Unapplied - Bill Payment #Wire-2023090126931172 - Lite-On Technology Corp.            $0.00
               Bill         6/1/2023    EI238000008                                    ($8,064.26)     Bill Payment #Wire-2023090126934052 - Knights of Security
Amount Unapplied - Bill Payment #Wire-2023071326690389 - Mister Bit                         $0.00                       Bill Payment     9/1/2023     Wire-2023090126934052                     $7,000.00
Bill Payment #Wire-2023071326690473 - HongKong MirDan Technology co. Ltd                                                Bill             8/25/2023    055                                      ($7,000.00)
               Bill Payment 7/13/2023   Wire-2023071326690473                           $4,110.00      Amount Unapplied - Bill Payment #Wire-2023090126934052 - Knights of Security                 $0.00
               Bill         7/6/2023    M230706-C                                      ($4,110.00)     Bill Payment #28471801 - Republic Services of Florida
Amount Unapplied - Bill Payment #Wire-2023071326690473 - HongKong MirDan Technolo           $0.00                       Bill Payment     9/1/2023                                                 $874.49
Bill Payment #Wire-BE90 9673 2613 0332 - Salman Abdallah Mohamed Hassan Saifedeen                                       Bill             8/1/2023     0654001166698                              ($874.49)
               Bill Payment 7/13/2023   Wire-BE90 9673 2613 0332                        $1,500.00      Amount Unapplied - Bill Payment #28471801 - Republic Services of Florida                     $0.00
               Bill         6/27/2023   6/27/2023                                      ($1,500.00)     Bill Payment #28490994 - Republic Services of Florida
Amount Unapplied - Bill Payment #Wire-BE90 9673 2613 0332 - Salman Abdallah Mohame          $0.00                       Bill Payment     9/3/2023                                                 $887.61
Bill Credit #6179178237 - Freightquote                                                                                  Bill             9/1/2023     0654-001173551                             ($887.61)
               Bill Credit  7/18/2023   6179178237                                      $2,300.00      Amount Unapplied - Bill Payment #28490994 - Republic Services of Florida                     $0.00
               Bill         8/8/2023    6185221443                                     ($2,300.00)     Bill Payment #28545566 - Uline
Amount Unapplied - Bill Credit #6179178237 - Freightquote                                   $0.00                       Bill Payment     9/5/2023                                               $2,374.80
Bill Credit #PSINV213471CM - Lojistic LLC                                                                               Bill             8/2/2023     166701714                                  ($726.89)
               Bill Credit  7/19/2023   PSINV213471CM                                    $142.12                        Bill             8/2/2023     166728190                                ($1,647.91)
               Bill         6/30/2023   PSINV213471                                     ($142.12)      Amount Unapplied - Bill Payment #28545566 - Uline                                            $0.00
Amount Unapplied - Bill Credit #PSINV213471CM - Lojistic LLC                               $0.00       Bill Payment #28565888 - University of South Florida Research Foundation
Bill Payment #00000440/1 - Canary LLC                                                                                   Bill Payment     9/5/2023                                               $6,673.43
               Bill Payment 7/20/2023   00000440/1                                      $2,137.17                       Bill             9/1/2023     25167                                    ($6,673.43)
               Bill         6/8/2023    192418                                         ($2,137.17)     Amount Unapplied - Bill Payment #28565888 - University of South Florida Research Foun        $0.00
Amount Unapplied - Bill Payment #00000440/1 - Canary LLC                                    $0.00      Bill Payment #00000448/1 - 4000 North Combee Road, LLC
Bill Payment #00000440/10 - Freightquote                                                                                Bill Payment     9/7/2023     00000448/1                               $48,392.46
               Bill Payment 7/20/2023   00000440/10                                     $2,500.00                       Bill             9/1/2023     Sep '23 Rent 4040 N Combee-Rent         ($10,560.18)
               Bill         6/24/2023   Order: 1593868684                              ($2,500.00)                      Bill             9/1/2023     Sep'23 Rent / 4000 N COMBEE ROAD        ($37,832.28)
Amount Unapplied - Bill Payment #00000440/10 - Freightquote                                 $0.00      Amount Unapplied - Bill Payment #00000448/1 - 4000 North Combee Road, LLC                    $0.00
Bill Payment #00000440/11 - Insight Global Finance DBA LEAF                                            Bill Payment #00000448/10 - CRITEO CORP
               Bill Payment 7/20/2023   00000440/11                                     $1,866.98                       Bill Payment     9/7/2023     00000448/10                              $17,837.36
               Bill         7/1/2023    14955167                                       ($1,866.98)                      Bill             7/31/2023    13US23071355                            ($17,837.36)
Amount Unapplied - Bill Payment #00000440/11 - Insight Global Finance DBA LEAF              $0.00      Amount Unapplied - Bill Payment #00000448/10 - CRITEO CORP                                   $0.00
Bill Payment #00000440/12 - K Of Course LLC                                                            Bill Payment #00000448/11 - Flexport
               Bill Payment 7/20/2023   00000440/12                                     $1,000.00                       Bill Payment     9/7/2023     00000448/11                                 $170.00
               Bill         7/1/2023    001                                            ($1,000.00)                      Bill             8/8/2023     FLEX-2027597-4                             ($170.00)
Amount Unapplied - Bill Payment #00000440/12 - K Of Course LLC                              $0.00      Amount Unapplied - Bill Payment #00000448/11 - Flexport                                      $0.00
Bill Payment #00000440/13 - K Of Course LLC                                                            Bill Payment #00000448/12 - Freightquote
               Bill Payment 7/20/2023   00000440/13                                     $1,125.00                       Bill Payment     9/7/2023     00000448/12                               $8,600.00
               Bill         7/1/2023    002                                            ($1,125.00)                      Bill             8/4/2023     6185085914                               ($2,900.00)
Amount Unapplied - Bill Payment #00000440/13 - K Of Course LLC                              $0.00                       Bill             8/8/2023     6185379743                               ($2,700.00)
Bill Payment #00000440/14 - Knight Agency, Inc.                                                                         Bill             8/9/2023     6185419975                               ($3,000.00)
               Bill Payment 7/20/2023   00000440/14                                     $1,230.77      Amount Unapplied - Bill Payment #00000448/12 - Freightquote                                  $0.00
               Bill         6/20/2023   INV-12193                                      ($1,230.77)     Bill Payment #00000448/13 - Gardens Bio Science Partners LLC
Amount Unapplied - Bill Payment #00000440/14 - Knight Agency, Inc.                          $0.00                       Bill Payment     9/7/2023     00000448/13                              $43,539.92
Bill Payment #00000440/15 - Mack Molding Company, Inc.                                                                  Bill             8/28/2023    AERO-072023FPL                           ($1,171.56)
               Bill Payment 7/20/2023   00000440/15                                     $4,588.00                       Bill             9/1/2023     Aero-202309                             ($42,368.36)
               Bill         6/19/2023   419977                                         ($4,588.00)     Amount Unapplied - Bill Payment #00000448/13 - Gardens Bio Science Partners LLC              $0.00
Amount Unapplied - Bill Payment #00000440/15 - Mack Molding Company, Inc.                   $0.00      Bill Payment #00000448/14 - GRIN Technologies, Inc.
Bill Payment #00000440/16 - Mack Molding Company, Inc.                                                                  Bill Payment     9/7/2023     00000448/14                               $1,795.00
                                   Case 23-18093-MAM                               Doc 1              Filed 10/03/23               Page 114 of 157
             Bill Payment 7/20/2023      00000440/16                                    $22,099.30                     Bill               8/26/2023    INV-199072368                          ($1,795.00)
             Bill          6/19/2023     419976                                        ($22,099.30)     Amount Unapplied - Bill Payment #00000448/14 - GRIN Technologies, Inc.                     $0.00
Amount Unapplied - Bill Payment #00000440/16 - Mack Molding Company, Inc.                    $0.00      Bill Payment #00000448/15 - Homestead Studio LLC
Bill Payment #00000440/17 - Mattio Communications                                                                      Bill Payment       9/7/2023     00000448/15                             $7,000.00
             Bill Payment 7/20/2023      00000440/17                                     $8,500.00                     Bill               9/1/2023     HS-3546                                ($7,000.00)
             Bill          6/1/2023      3620                                           ($8,500.00)     Amount Unapplied - Bill Payment #00000448/15 - Homestead Studio LLC                        $0.00
Amount Unapplied - Bill Payment #00000440/17 - Mattio Communications                         $0.00      Bill Payment #00000448/16 - Hunter Holthaus
Bill Payment #00000440/18 - Ossentjuk & Botti                                                                          Bill Payment       9/7/2023     00000448/16                             $4,320.00
             Bill Payment 7/20/2023      00000440/18                                     $3,607.25                     Bill               8/24/2023    MO-02                                  ($2,025.00)
             Bill          6/5/2023      13438                                          ($3,607.25)                    Bill               8/24/2023    MO-03                                  ($2,295.00)
Amount Unapplied - Bill Payment #00000440/18 - Ossentjuk & Botti                             $0.00      Amount Unapplied - Bill Payment #00000448/16 - Hunter Holthaus                             $0.00
Bill Payment #00000440/19 - Packform USA LLC                                                            Bill Payment #00000448/17 - Incorporating Services
             Bill Payment 7/20/2023      00000440/19                                    $77,216.10                     Bill Payment       9/7/2023     00000448/17                              $120.00
             Bill          7/1/2023      INV-44148                                     ($77,216.10)                    Bill               7/17/2023    1164210                                 ($120.00)
Amount Unapplied - Bill Payment #00000440/19 - Packform USA LLC                              $0.00      Amount Unapplied - Bill Payment #00000448/17 - Incorporating Services                     $0.00
Bill Payment #00000440/2 - Catherine Poslusny                                                           Bill Payment #00000448/18 - Independent Machine Works
             Bill Payment 7/20/2023      00000440/2                                       $950.00                      Bill Payment       9/7/2023     00000448/18                              $300.00
             Bill          7/6/2023      Molekule 2023-19                                ($950.00)                     Bill               8/4/2023     IMW-6229                                ($300.00)
Amount Unapplied - Bill Payment #00000440/2 - Catherine Poslusny                            $0.00       Amount Unapplied - Bill Payment #00000448/18 - Independent Machine Works                  $0.00
Bill Payment #00000440/20 - Synergy North America, Inc.                                                 Bill Payment #00000448/19 - James R Whitson
             Bill Payment 7/20/2023      00000440/20                                     $5,851.58                     Bill Payment       9/7/2023     00000448/19                            $10,000.00
             Bill          6/29/2023     SINV002072                                     ($5,851.58)                    Bill               9/1/2023     1008                                  ($10,000.00)
Amount Unapplied - Bill Payment #00000440/20 - Synergy North America, Inc.                   $0.00      Amount Unapplied - Bill Payment #00000448/19 - James R Whitson                             $0.00
Bill Payment #00000440/21 - Toppan Merrill                                                              Bill Payment #00000448/2 - Amazon Advertising, LLC
             Bill Payment 7/20/2023      00000440/21                                    $10,845.00                     Bill Payment       9/7/2023     00000448/2                             $97,058.49
             Bill          5/16/2023     2638200                                       ($10,845.00)                    Bill               7/31/2023    TRLTK8DQF-108                         ($97,058.49)
Amount Unapplied - Bill Payment #00000440/21 - Toppan Merrill                                $0.00      Amount Unapplied - Bill Payment #00000448/2 - Amazon Advertising, LLC                      $0.00
Bill Payment #00000440/22 - Toppan Merrill                                                              Bill Payment #00000448/20 - KBA Document Solutions, LLC
             Bill Payment 7/20/2023      00000440/22                                     $2,005.00                     Bill Payment       9/7/2023     00000448/20                                $89.94
             Bill          5/23/2023     2640727                                        ($2,005.00)                    Bill               8/4/2023     55Y1388991                                ($89.94)
Amount Unapplied - Bill Payment #00000440/22 - Toppan Merrill                                $0.00      Amount Unapplied - Bill Payment #00000448/20 - KBA Document Solutions, LLC                 $0.00
Bill Payment #00000440/23 - Unified Accounting & Tax, LLP                                               Bill Payment #00000448/21 - Larrabee Albi Coker LLP
             Bill Payment 7/20/2023      00000440/23                                     $2,768.10                     Bill Payment       9/7/2023     00000448/21                             $2,000.00
             Bill          6/30/2023     7109                                           ($2,768.10)                    Bill               8/4/2023     202212                                 ($2,000.00)
Amount Unapplied - Bill Payment #00000440/23 - Unified Accounting & Tax, LLP                 $0.00      Amount Unapplied - Bill Payment #00000448/21 - Larrabee Albi Coker LLP                     $0.00
Bill Payment #00000440/3 - Columbus Industries Texas LLP                                                Bill Payment #00000448/22 - Law Office of Stacy J Grossman
             Bill Payment 7/20/2023      00000440/3                                     $10,653.12                     Bill Payment       9/7/2023     00000448/22                             $1,040.17
             Bill          5/18/2023     1342037 RI                                    ($10,653.12)                    Bill               7/31/2023    14817                                  ($1,040.17)
Amount Unapplied - Bill Payment #00000440/3 - Columbus Industries Texas LLP                  $0.00      Amount Unapplied - Bill Payment #00000448/22 - Law Office of Stacy J Grossman              $0.00
Bill Payment #00000440/4 - Columbus Industries Texas LLP                                                Bill Payment #00000448/23 - Linkedin
             Bill Payment 7/20/2023      00000440/4                                     $34,870.50                     Bill Payment       9/7/2023     00000448/23                             $1,130.88
             Bill          6/1/2023      1342043 RI                                    ($34,870.50)                    Bill               8/3/2023     10112033992                            ($1,130.88)
Amount Unapplied - Bill Payment #00000440/4 - Columbus Industries Texas LLP                  $0.00      Amount Unapplied - Bill Payment #00000448/23 - Linkedin                                    $0.00
Bill Payment #00000440/5 - Columbus Industries Texas LLP                                                Bill Payment #00000448/24 - Mattio Communications
             Bill Payment 7/20/2023      00000440/5                                     $16,675.20                     Bill Payment       9/7/2023     00000448/24                             $8,500.00
             Bill          6/1/2023      1342042 RI                                    ($16,675.20)                    Bill               7/1/2023     3680                                   ($8,500.00)
Amount Unapplied - Bill Payment #00000440/5 - Columbus Industries Texas LLP                  $0.00      Amount Unapplied - Bill Payment #00000448/24 - Mattio Communications                       $0.00
Bill Payment #00000440/6 - Columbus Industries Texas LLP                                                Bill Payment #00000448/25 - Mcmaster Carr Supply
             Bill Payment 7/20/2023      00000440/6                                      $8,235.00                     Bill Payment       9/7/2023     00000448/25                             $2,400.30
             Bill          5/18/2023     1342110 RI                                     ($8,235.00)                    Bill               8/4/2023     12124677                                 ($401.77)
Amount Unapplied - Bill Payment #00000440/6 - Columbus Industries Texas LLP                  $0.00                     Bill               8/10/2023    12488931                               ($1,998.53)
Bill Payment #00000440/7 - Columbus Industries Texas LLP                                                Amount Unapplied - Bill Payment #00000448/25 - Mcmaster Carr Supply                        $0.00
             Bill Payment 7/20/2023      00000440/7                                      $4,941.00      Bill Payment #00000448/26 - Meta Platforms, Inc.
             Bill          5/18/2023     1342041 RI                                     ($4,941.00)                    Bill Payment       9/7/2023     00000448/26                           $155,162.24
Amount Unapplied - Bill Payment #00000440/7 - Columbus Industries Texas LLP                  $0.00                     Bill               7/31/2023    25295272                               ($1,795.10)
Bill Payment #00000440/8 - Canteen Refreshment Services dba A Div of Canteen                                           Bill               7/31/2023    25297207                             ($153,367.14)
             Bill Payment 7/20/2023      00000440/8                                       $325.02       Amount Unapplied - Bill Payment #00000448/26 - Meta Platforms, Inc.                        $0.00
             Bill          6/27/2023     LAK6045                                         ($325.02)      Bill Payment #00000448/27 - MNTN Digital, Inc
Amount Unapplied - Bill Payment #00000440/8 - Canteen Refreshment Services dba A Div        $0.00                      Bill Payment       9/7/2023     00000448/27                            $50,000.00
Bill Payment #00000440/9 - DigiKey Electronics                                                                         Bill               8/1/2023     319989                                ($50,000.00)
             Bill Payment 7/20/2023      00000440/9                                         $95.77      Amount Unapplied - Bill Payment #00000448/27 - MNTN Digital, Inc                           $0.00
             Bill          6/21/2023     98280941                                          ($95.77)     Bill Payment #00000448/28 - Ossentjuk & Botti
Amount Unapplied - Bill Payment #00000440/9 - DigiKey Electronics                            $0.00                     Bill Payment       9/7/2023     00000448/28                             $1,620.00
Bill Payment #Wire-2023072026724785 - 2231192 Ontario Inc.                                                             Bill               8/5/2023     13495                                  ($1,620.00)
             Bill Payment 7/20/2023      Wire-2023072026724785                           $2,200.00      Amount Unapplied - Bill Payment #00000448/28 - Ossentjuk & Botti                           $0.00
             Bill          7/1/2023      3011                                           ($2,200.00)     Bill Payment #00000448/29 - Raymond Handling Consultants, L.C.
Amount Unapplied - Bill Payment #Wire-2023072026724785 - 2231192 Ontario Inc.                $0.00                     Bill Payment       9/7/2023     00000448/29                             $1,471.25
Bill Payment #Wire-2023072026724816 - Lojistic LLC                                                                     Bill               8/3/2023     RO-023684-5                            ($1,471.25)
             Bill Payment 7/20/2023      Wire-2023072026724816                          $57,598.15      Amount Unapplied - Bill Payment #00000448/29 - Raymond Handling Consultants, L.C.          $0.00
             Bill          7/19/2023     P202328                                       ($57,598.15)     Bill Payment #00000448/3 - Capgemini America Inc.
Amount Unapplied - Bill Payment #Wire-2023072026724816 - Lojistic LLC                        $0.00                     Bill Payment       9/7/2023     00000448/3                             $47,600.00
Bill Payment #Wire-2023072026724929 - Aura Smart Air Inc.                                                              Bill               8/31/2023    1990110494500                               $0.00
             Bill Payment 7/20/2023      Wire-2023072026724929                           $3,795.00                     Journal            9/7/2023     JE-US-11864                           ($47,600.00)
             Bill          7/12/2023     INVUS668                                       ($3,795.00)     Amount Unapplied - Bill Payment #00000448/3 - Capgemini America Inc.                       $0.00
Amount Unapplied - Bill Payment #Wire-2023072026724929 - Aura Smart Air Inc.                 $0.00      Bill Payment #00000448/30 - Plan Management Corp
Bill Payment #Wire-2023072026725053 - Creare, LLC.                                                                     Bill Payment       9/7/2023     00000448/30                             $4,698.00
             Bill Payment 7/20/2023      Wire-2023072026725053                           $1,200.00                     Bill               8/21/2023    11087                                  ($4,698.00)
             Bill          7/7/2023      1010363.02-1                                   ($1,200.00)     Amount Unapplied - Bill Payment #00000448/30 - Plan Management Corp                        $0.00
Amount Unapplied - Bill Payment #Wire-2023072026725053 - Creare, LLC.                        $0.00      Bill Payment #00000448/31 - Synergy North America, Inc.
Bill Payment #27848795 - BHGS                                                                                          Bill Payment       9/7/2023     00000448/31                             $2,361.29
             Bill Payment 7/25/2023                                                         $95.00                     Bill               8/2/2023     SFSI0003777                            ($2,361.29)
             Bill          4/3/2023      33645                                             ($95.00)     Amount Unapplied - Bill Payment #00000448/31 - Synergy North America, Inc.                 $0.00
Amount Unapplied - Bill Payment #27848795 - BHGS                                             $0.00      Bill Payment #00000448/32 - The Bluebird Group LLC
Bill Payment #27895928 - Loctek Inc. (Flexispot)                                                                       Bill Payment       9/7/2023     00000448/32                             $1,500.00
             Bill Payment 7/25/2023                                                         $25.55                     Bill               8/8/2023     10827                                  ($1,500.00)
             Bill          7/20/2023     23EBAB13-0614-2 ST                                ($25.55)     Amount Unapplied - Bill Payment #00000448/32 - The Bluebird Group LLC                      $0.00
Amount Unapplied - Bill Payment #27895928 - Loctek Inc. (Flexispot)                          $0.00      Bill Payment #00000448/33 - The Quality Edit LLC
Bill Payment #Wire-2023072626751877 - Joseph Synnott                                                                   Bill Payment       9/7/2023     00000448/33                            $25,000.00
             Bill Payment 7/26/2023      Wire-2023072626751877                          $18,221.00                     Bill               9/1/2023     2168                                  ($25,000.00)
             Bill          7/1/2023      0021                                          ($18,221.00)     Amount Unapplied - Bill Payment #00000448/33 - The Quality Edit LLC                        $0.00
Amount Unapplied - Bill Payment #Wire-2023072626751877 - Joseph Synnott                      $0.00      Bill Payment #00000448/34 - Thorncrest Coastal LLC
Bill Payment #00000441/1 - The Yocca Law Firm LLP                                                                      Bill Payment       9/7/2023     00000448/34                             $1,500.00
             Bill Payment 7/27/2023      00000441/1                                      $7,613.41                     Bill               8/4/2023     1759                                   ($1,500.00)
             Bill          6/7/2023      69093                                          ($7,613.41)     Amount Unapplied - Bill Payment #00000448/34 - Thorncrest Coastal LLC                      $0.00
Amount Unapplied - Bill Payment #00000441/1 - The Yocca Law Firm LLP                         $0.00      Bill Payment #00000448/35 - TikTok Inc.
Bill Payment #00000441/10 - ALOM Technologies Corp.                                                                    Bill Payment       9/7/2023     00000448/35                             $1,295.39
             Bill Payment 7/27/2023      00000441/10                                     $8,485.69                     Bill               7/31/2023    MUUS20231071214                        ($1,295.39)
             Bill          6/30/2023     110942                                         ($8,485.69)     Amount Unapplied - Bill Payment #00000448/35 - TikTok Inc.                                 $0.00
Amount Unapplied - Bill Payment #00000441/10 - ALOM Technologies Corp.                       $0.00      Bill Payment #00000448/36 - Toppan Merrill
Bill Payment #00000441/11 - ALOM Technologies Corp.                                                                    Bill Payment       9/7/2023     00000448/36                             $8,405.91
             Bill Payment 7/27/2023      00000441/11                                     $5,797.26                     Bill               6/30/2023    2641643                                ($8,405.91)
             Bill          6/30/2023     110940                                         ($5,797.26)     Amount Unapplied - Bill Payment #00000448/36 - Toppan Merrill                              $0.00
Amount Unapplied - Bill Payment #00000441/11 - ALOM Technologies Corp.                       $0.00      Bill Payment #00000448/37 - Unified Accounting & Tax, LLP
Bill Payment #00000441/12 - ALOM Technologies Corp.                                                                    Bill Payment       9/7/2023     00000448/37                             $2,419.20
             Bill Payment 7/27/2023      00000441/12                                    $24,156.33                     Bill               8/15/2023    7454                                   ($2,419.20)
             Bill          6/30/2023     110941                                        ($24,156.33)     Amount Unapplied - Bill Payment #00000448/37 - Unified Accounting & Tax, LLP               $0.00
Amount Unapplied - Bill Payment #00000441/12 - ALOM Technologies Corp.                       $0.00      Bill Payment #00000448/38 - Yellow Logistics
                                   Case 23-18093-MAM                              Doc 1               Filed 10/03/23               Page 115 of 157
Bill Payment #00000441/13 - Bay Alarm Co.                                                                              Bill Payment       9/7/2023     00000448/38                             $2,200.00
             Bill Payment 7/27/2023     00000441/13                                       $493.32                      Bill               8/23/2023    0009139                                ($2,200.00)
             Bill          7/1/2023     20686270                                         ($493.32)      Amount Unapplied - Bill Payment #00000448/38 - Yellow Logistics                            $0.00
Amount Unapplied - Bill Payment #00000441/13 - Bay Alarm Co.                                $0.00       Bill Payment #00000448/4 - Cigna Health and Life Insurance Company
Bill Payment #00000441/14 - Blue Heaven Technologies LLC                                                               Bill Payment       9/7/2023     00000448/4                              $1,479.60
             Bill Payment 7/27/2023     00000441/14                                      $1,925.00                     Bill               8/29/2023    RK_MOL_202308                          ($1,479.60)
             Bill          6/26/2023    71456                                           ($1,925.00)     Amount Unapplied - Bill Payment #00000448/4 - Cigna Health and Life Insurance Compan       $0.00
Amount Unapplied - Bill Payment #00000441/14 - Blue Heaven Technologies LLC                  $0.00      Bill Payment #00000448/5 - Cintas Corporation
Bill Payment #00000441/15 - Brandography.com LLC                                                                       Bill Payment       9/7/2023     00000448/5                              $1,151.90
             Bill Payment 7/27/2023     00000441/15                                      $5,000.00                     Bill               8/4/2023     8406381685                               ($139.10)
             Bill          7/1/2023     6708                                            ($5,000.00)                    Bill               8/7/2023     5170050099                               ($103.35)
Amount Unapplied - Bill Payment #00000441/15 - Brandography.com LLC                          $0.00                     Bill               8/10/2023    4164327970                               ($366.99)
Bill Payment #00000441/16 - Brian T. Jackson                                                                           Bill               8/24/2023    4165732390                               ($366.99)
             Bill Payment 7/27/2023     00000441/16                                       $750.00                      Bill               8/30/2023    4166234560                               ($175.47)
             Bill          7/10/2023    230708                                           ($750.00)      Amount Unapplied - Bill Payment #00000448/5 - Cintas Corporation                           $0.00
Amount Unapplied - Bill Payment #00000441/16 - Brian T. Jackson                             $0.00       Bill Payment #00000448/6 - Client Partner Mgmt Group LLC
Bill Payment #00000441/17 - Broadridge ICS                                                                             Bill Payment       9/7/2023     00000448/6                              $5,220.00
             Bill Payment 7/27/2023     00000441/17                                      $3,593.16                     Bill               8/31/2023    23_19                                  ($5,220.00)
             Bill          6/8/2023     2300N88306                                      ($3,593.16)     Amount Unapplied - Bill Payment #00000448/6 - Client Partner Mgmt Group LLC                $0.00
Amount Unapplied - Bill Payment #00000441/17 - Broadridge ICS                                $0.00      Bill Payment #00000448/7 - Raymond Cromwell
Bill Payment #00000441/18 - Chem-Materials Inc.                                                                        Bill Payment       9/7/2023     00000448/7                              $2,784.00
             Bill Payment 7/27/2023     00000441/18                                      $1,912.80                     Bill               9/5/2023     MO 09.01.2023                          ($2,784.00)
             Bill          6/27/2023    74737                                           ($1,912.80)     Amount Unapplied - Bill Payment #00000448/7 - Raymond Cromwell                             $0.00
Amount Unapplied - Bill Payment #00000441/18 - Chem-Materials Inc.                           $0.00      Bill Payment #00000448/8 - Columbus Industries Texas LLP
Bill Payment #00000441/19 - Cigna Health and Life Insurance Company                                                    Bill Payment       9/7/2023     00000448/8                             $67,743.90
             Bill Payment 7/27/2023     00000441/19                                      $1,479.60                     Bill               6/26/2023    1346108 RI                            ($16,470.00)
             Bill          7/25/2023    RK_MOL_202307                                   ($1,479.60)                    Bill               6/26/2023    1346109 RI                            ($11,116.80)
Amount Unapplied - Bill Payment #00000441/19 - Cigna Health and Life Insurance Compa         $0.00                     Bill               6/26/2023    1346110 RI                            ($11,291.40)
Bill Payment #00000441/2 - The Yocca Law Firm LLP                                                                      Bill               6/26/2023    1346177 RI                             ($3,294.00)
             Bill Payment 7/27/2023     00000441/2                                      $15,117.22                     Bill               6/26/2023    1346178 RI                            ($25,571.70)
             Bill          6/7/2023     69092                                          ($15,117.22)     Amount Unapplied - Bill Payment #00000448/8 - Columbus Industries Texas LLP                $0.00
Amount Unapplied - Bill Payment #00000441/2 - The Yocca Law Firm LLP                         $0.00      Bill Payment #00000448/9 - Computershare Inc.
Bill Payment #00000441/20 - Cintas Corporation                                                                         Bill Payment       9/7/2023     00000448/9                              $2,292.62
             Bill Payment 7/27/2023     00000441/20                                       $175.38                      Bill               8/7/2023     US_CSSI2539812                         ($2,292.62)
             Bill          7/20/2023    4162227624                                       ($175.38)      Amount Unapplied - Bill Payment #00000448/9 - Computershare Inc.                           $0.00
Amount Unapplied - Bill Payment #00000441/20 - Cintas Corporation                           $0.00       Bill Payment #Wire-2023090726953885 - Lojistic LLC
Bill Payment #00000441/21 - Cintas Corporation                                                                         Bill Payment       9/7/2023     Wire-2023090726953885                  $12,341.94
             Bill Payment 7/27/2023     00000441/21                                       $123.05                      Bill               8/21/2023    PSINV215695                           ($12,341.94)
             Bill          7/1/2023     9229918037                                       ($123.05)      Amount Unapplied - Bill Payment #Wire-2023090726953885 - Lojistic LLC                      $0.00
Amount Unapplied - Bill Payment #00000441/21 - Cintas Corporation                           $0.00       Bill Payment #Wire-2023090726953921 - Persistent Systems Limited
Bill Payment #00000441/22 - Cintas Corporation                                                                         Bill Payment       9/7/2023     Wire-2023090726953921                   $6,545.00
             Bill Payment 7/27/2023     00000441/22                                         $69.55                     Bill               7/31/2023    10124270112633                         ($6,545.00)
             Bill          7/1/2023     9229918040                                         ($69.55)     Amount Unapplied - Bill Payment #Wire-2023090726953921 - Persistent Systems Limited        $0.00
Amount Unapplied - Bill Payment #00000441/22 - Cintas Corporation                            $0.00      Bill Payment #Wire-2023090726953973 - LITE-ON SINGAPORE PTE LTD
Bill Payment #00000441/23 - Cintas Corporation                                                                         Bill Payment       9/7/2023     Wire-2023090726953973                   $2,356.25
             Bill Payment 7/27/2023     00000441/23                                       $116.23                      Bill               8/29/2023    20230829-Aug                           ($2,356.25)
             Bill          7/1/2023     9229953506                                       ($116.23)      Amount Unapplied - Bill Payment #Wire-2023090726953973 - LITE-ON SINGAPORE PTE L           $0.00
Amount Unapplied - Bill Payment #00000441/23 - Cintas Corporation                           $0.00       Bill Payment #Wire-2023090726954266 - HongKong MirDan Technology co. Ltd
Bill Payment #00000441/24 - Client Partner Mgmt Group LLC                                                              Bill Payment       9/7/2023     Wire-2023090726954266                   $1,700.00
             Bill Payment 7/27/2023     00000441/24                                      $5,937.75                     Bill               8/2/2023     M230802-E                              ($1,700.00)
             Bill          7/23/2023    23_16                                           ($5,937.75)     Amount Unapplied - Bill Payment #Wire-2023090726954266 - HongKong MirDan Technolo          $0.00
Amount Unapplied - Bill Payment #00000441/24 - Client Partner Mgmt Group LLC                 $0.00      Bill Payment #28628927 - Transcat Calibration Lab
Bill Payment #00000441/25 - Columbus Industries Texas LLP                                                              Bill Payment       9/11/2023                                              $106.40
             Bill Payment 7/27/2023     00000441/25                                     $16,675.20                     Bill               9/6/2023     2032870                                  ($106.40)
             Bill          5/25/2023    1342846 RI                                     ($16,675.20)     Amount Unapplied - Bill Payment #28628927 - Transcat Calibration Lab                       $0.00
Amount Unapplied - Bill Payment #00000441/25 - Columbus Industries Texas LLP                 $0.00      Bill Payment #28635217 - Neighborhood Goods, Inc.
Bill Payment #00000441/26 - Columbus Industries Texas LLP                                                              Bill Payment       9/11/2023                                            $6,000.00
             Bill Payment 7/27/2023     00000441/26                                      $9,298.80                     Bill               8/1/2023     2324                                   ($6,000.00)
             Bill          5/26/2023    1342980 RI                                      ($9,298.80)     Amount Unapplied - Bill Payment #28635217 - Neighborhood Goods, Inc.                       $0.00
Amount Unapplied - Bill Payment #00000441/26 - Columbus Industries Texas LLP                 $0.00      Bill Payment #00000449/1 - Alarm Center, Inc.
Bill Payment #00000441/27 - Columbus Industries Texas LLP                                                              Bill Payment       9/14/2023    00000449/1                                $317.79
             Bill Payment 7/27/2023     00000441/27                                     $16,470.00                     Bill               9/1/2023     036081                                   ($317.79)
             Bill          5/26/2023    1343040 RI                                     ($16,470.00)     Amount Unapplied - Bill Payment #00000449/1 - Alarm Center, Inc.                           $0.00
Amount Unapplied - Bill Payment #00000441/27 - Columbus Industries Texas LLP                 $0.00      Bill Payment #00000449/10 - Columbus Industries Texas LLP
Bill Payment #00000441/28 - Columbus Industries Texas LLP                                                              Bill Payment       9/14/2023    00000449/10                            $50,025.60
             Bill Payment 7/27/2023     00000441/28                                     $16,675.20                     Bill               7/10/2023    1347487 RI                            ($50,025.60)
             Bill          5/26/2023    1343041 RI                                     ($16,675.20)     Amount Unapplied - Bill Payment #00000449/10 - Columbus Industries Texas LLP               $0.00
Amount Unapplied - Bill Payment #00000441/28 - Columbus Industries Texas LLP                 $0.00      Bill Payment #00000449/11 - FAB
Bill Payment #00000441/29 - Columbus Industries Texas LLP                                                              Bill Payment       9/14/2023    00000449/11                            $89,613.12
             Bill Payment 7/27/2023     00000441/29                                     $30,221.10                     Bill               7/19/2023    50146442                              ($89,613.12)
             Bill          5/26/2023    1343042 RI                                     ($30,221.10)     Amount Unapplied - Bill Payment #00000449/11 - FAB                                         $0.00
Amount Unapplied - Bill Payment #00000441/29 - Columbus Industries Texas LLP                 $0.00      Bill Payment #00000449/12 - Fisher Scientific Co. LLC
Bill Payment #00000441/3 - The Quality Edit LLC                                                                        Bill Payment       9/14/2023    00000449/12                               $451.37
             Bill Payment 7/27/2023     00000441/3                                      $15,000.00                     Bill               8/15/2023    5374479                                  ($451.37)
             Bill          7/1/2023     2110                                           ($15,000.00)     Amount Unapplied - Bill Payment #00000449/12 - Fisher Scientific Co. LLC                   $0.00
Amount Unapplied - Bill Payment #00000441/3 - The Quality Edit LLC                           $0.00      Bill Payment #00000449/13 - Fisher Scientific Co. LLC
Bill Payment #00000441/30 - Columbus Industries Texas LLP                                                              Bill Payment       9/14/2023    00000449/13                                $23.37
             Bill Payment 7/27/2023     00000441/30                                     $14,823.00                     Bill               8/14/2023    5336693                                   ($23.37)
             Bill          5/25/2023    1342871 RI                                     ($14,823.00)     Amount Unapplied - Bill Payment #00000449/13 - Fisher Scientific Co. LLC                   $0.00
Amount Unapplied - Bill Payment #00000441/30 - Columbus Industries Texas LLP                 $0.00      Bill Payment #00000449/14 - Fisher Scientific Co. LLC
Bill Payment #00000441/31 - CRITEO CORP                                                                                Bill Payment       9/14/2023    00000449/14                               $431.38
             Bill Payment 7/27/2023     00000441/31                                     $16,513.33                     Bill               8/11/2023    5301510                                  ($431.38)
             Bill          6/30/2023    13US23061482                                   ($16,513.33)     Amount Unapplied - Bill Payment #00000449/14 - Fisher Scientific Co. LLC                   $0.00
Amount Unapplied - Bill Payment #00000441/31 - CRITEO CORP                                   $0.00      Bill Payment #00000449/15 - Freightquote
Bill Payment #00000441/32 - EMA Design Automation                                                                      Bill Payment       9/14/2023    00000449/15                             $2,500.00
             Bill Payment 7/27/2023     00000441/32                                       $530.00                      Bill               8/15/2023    6185611186                             ($2,500.00)
             Bill          6/30/2023    2301849                                          ($530.00)      Amount Unapplied - Bill Payment #00000449/15 - Freightquote                                $0.00
Amount Unapplied - Bill Payment #00000441/32 - EMA Design Automation                        $0.00       Bill Payment #00000449/16 - Hunter Holthaus
Bill Payment #00000441/33 - Fisher Scientific Co. LLC                                                                  Bill Payment       9/14/2023    00000449/16                               $945.00
             Bill Payment 7/27/2023     00000441/33                                       $156.14                      Bill               8/31/2023    MO-04                                    ($945.00)
             Bill          6/29/2023    4147827                                          ($156.14)      Amount Unapplied - Bill Payment #00000449/16 - Hunter Holthaus                             $0.00
Amount Unapplied - Bill Payment #00000441/33 - Fisher Scientific Co. LLC                    $0.00       Bill Payment #00000449/17 - Linkator Group, LLC
Bill Payment #00000441/34 - Fisher Scientific Co. LLC                                                                  Bill Payment       9/14/2023    00000449/17                             $8,667.00
             Bill Payment 7/27/2023     00000441/34                                       $143.12                      Bill               9/4/2023     4                                      ($8,667.00)
             Bill          6/29/2023    4188467                                          ($143.12)      Amount Unapplied - Bill Payment #00000449/17 - Linkator Group, LLC                         $0.00
Amount Unapplied - Bill Payment #00000441/34 - Fisher Scientific Co. LLC                    $0.00       Bill Payment #00000449/18 - Linkator Group, LLC
Bill Payment #00000441/35 - gandi.net                                                                                  Bill Payment       9/14/2023    00000449/18                               $400.58
             Bill Payment 7/27/2023     00000441/35                                       $960.56                      Bill               9/1/2023     3                                        ($400.58)
             Bill          6/24/2023    2023063000272                                    ($960.56)      Amount Unapplied - Bill Payment #00000449/18 - Linkator Group, LLC                         $0.00
Amount Unapplied - Bill Payment #00000441/35 - gandi.net                                    $0.00       Bill Payment #00000449/19 - Law Office of Stacy J Grossman
Bill Payment #00000441/36 - GRIN Technologies, Inc.                                                                    Bill Payment       9/14/2023    00000449/19                                $40.00
             Bill Payment 7/27/2023     00000441/36                                      $1,795.00                     Bill               9/1/2023     14927                                     ($40.00)
             Bill          7/26/2023    INV-199071625                                   ($1,795.00)     Amount Unapplied - Bill Payment #00000449/19 - Law Office of Stacy J Grossman              $0.00
Amount Unapplied - Bill Payment #00000441/36 - GRIN Technologies, Inc.                       $0.00      Bill Payment #00000449/2 - Baker & Hostetler LLP
Bill Payment #00000441/37 - Hyman, Phelps & McNamara, P.C.                                                             Bill Payment       9/14/2023    00000449/2                                $832.00
             Bill Payment 7/27/2023     00000441/37                                      $2,090.00                     Bill               8/7/2023     51176640                                 ($832.00)
             Bill          7/13/2023    2055186                                         ($2,090.00)     Amount Unapplied - Bill Payment #00000449/2 - Baker & Hostetler LLP                        $0.00
                                   Case 23-18093-MAM                               Doc 1              Filed 10/03/23               Page 116 of 157
Amount Unapplied - Bill Payment #00000441/37 - Hyman, Phelps & McNamara, P.C.                $0.00      Bill Payment #00000449/20 - Knight Agency, Inc.
Bill Payment #00000441/38 - Illuminate Social                                                                          Bill Payment       9/14/2023   00000449/20                              $400.75
             Bill Payment 7/27/2023      00000441/38                                     $2,500.00                     Bill               8/7/2023    INV-12269                               ($400.75)
             Bill          6/29/2023     Proj-4607                                      ($2,500.00)     Amount Unapplied - Bill Payment #00000449/20 - Knight Agency, Inc.                       $0.00
Amount Unapplied - Bill Payment #00000441/38 - Illuminate Social                             $0.00      Bill Payment #00000449/21 - Mcmaster Carr Supply
Bill Payment #00000441/39 - Intertek Testing Services NA, Inc.                                                         Bill Payment       9/14/2023   00000449/21                                $53.83
             Bill Payment 7/27/2023      00000441/39                                     $4,000.00                     Bill               7/24/2023   11454175                                  ($53.83)
             Bill          6/30/2023     1007364106                                     ($4,000.00)     Amount Unapplied - Bill Payment #00000449/21 - Mcmaster Carr Supply                       $0.00
Amount Unapplied - Bill Payment #00000441/39 - Intertek Testing Services NA, Inc.            $0.00      Bill Payment #00000449/22 - MethodSense Inc
Bill Payment #00000441/4 - The Quality Edit LLC                                                                        Bill Payment       9/14/2023   00000449/22                             $1,100.00
             Bill Payment 7/27/2023      00000441/4                                     $12,500.00                     Bill               9/1/2023    4536                                   ($1,100.00)
             Bill          6/30/2023     2100                                          ($12,500.00)     Amount Unapplied - Bill Payment #00000449/22 - MethodSense Inc                            $0.00
Amount Unapplied - Bill Payment #00000441/4 - The Quality Edit LLC                           $0.00      Bill Payment #00000449/23 - Quiq, Inc.
Bill Payment #00000441/40 - KB Commercial Services LLC DBA Office Pride of Lakeland                                    Bill Payment       9/14/2023   00000449/23                              $391.58
             Bill Payment 7/27/2023      00000441/40                                     $1,897.11                     Bill               9/6/2023    INV-230367                              ($391.58)
             Bill          7/1/2023      Inv-155949                                     ($1,897.11)     Amount Unapplied - Bill Payment #00000449/23 - Quiq, Inc.                                $0.00
Amount Unapplied - Bill Payment #00000441/40 - KB Commercial Services LLC DBA Offic          $0.00      Bill Payment #00000449/24 - Raymond Handling Consultants, L.C.
Bill Payment #00000441/41 - KBA Document Solutions, LLC                                                                Bill Payment       9/14/2023   00000449/24                              $107.00
             Bill Payment 7/27/2023      00000441/41                                        $89.94                     Bill               9/1/2023    WO-1034510                              ($107.00)
             Bill          6/26/2023     55Y1379340                                        ($89.94)     Amount Unapplied - Bill Payment #00000449/24 - Raymond Handling Consultants, L.C.        $0.00
Amount Unapplied - Bill Payment #00000441/41 - KBA Document Solutions, LLC                   $0.00      Bill Payment #00000449/25 - Raymond Handling Consultants, L.C.
Bill Payment #00000441/42 - Knight Agency, Inc.                                                                        Bill Payment       9/14/2023   00000449/25                              $173.60
             Bill Payment 7/27/2023      00000441/42                                     $2,231.25                     Bill               9/1/2023    I-0176344-ST                            ($173.60)
             Bill          7/1/2023      INV-12075                                      ($2,231.25)     Amount Unapplied - Bill Payment #00000449/25 - Raymond Handling Consultants, L.C.        $0.00
Amount Unapplied - Bill Payment #00000441/42 - Knight Agency, Inc.                           $0.00      Bill Payment #00000449/26 - RK Strategies, LLC.
Bill Payment #00000441/43 - Linkator Group, LLC                                                                        Bill Payment       9/14/2023   00000449/26                             $5,950.00
             Bill Payment 7/27/2023      00000441/43                                    $31,201.00                     Bill               8/1/2023    1251                                   ($5,950.00)
             Bill          7/14/2023     1                                             ($31,201.00)     Amount Unapplied - Bill Payment #00000449/26 - RK Strategies, LLC.                        $0.00
Amount Unapplied - Bill Payment #00000441/43 - Linkator Group, LLC                           $0.00      Bill Payment #00000449/27 - Ryan Patch, ESQ
Bill Payment #00000441/44 - Longs Peak Digital, LLC                                                                    Bill Payment       9/14/2023   00000449/27                            $14,343.75
             Bill Payment 7/27/2023      00000441/44                                     $4,953.79                     Bill               5/29/2023   005 - Photon Litigation                     $0.00
             Bill          6/30/2023     MO-LPD0019                                     ($4,953.79)                    Journal            9/14/2023   JE-US-11945                           ($14,343.75)
Amount Unapplied - Bill Payment #00000441/44 - Longs Peak Digital, LLC                       $0.00      Amount Unapplied - Bill Payment #00000449/27 - Ryan Patch, ESQ                            $0.00
Bill Payment #00000441/45 - Mack Molding Company, Inc.                                                  Bill Payment #00000449/28 - Ryan Patch, ESQ
             Bill Payment 7/27/2023      00000441/45                                   $247,043.44                     Bill Payment       9/14/2023   00000449/28                            $12,318.75
             Bill          7/1/2023      420506                                       ($247,043.44)                    Bill               5/29/2023   003-Sterilumen Trademark                    $0.00
Amount Unapplied - Bill Payment #00000441/45 - Mack Molding Company, Inc.                    $0.00                     Journal            9/14/2023   JE-US-11946                           ($12,318.75)
Bill Payment #00000441/46 - Mack Molding Company, Inc.                                                  Amount Unapplied - Bill Payment #00000449/28 - Ryan Patch, ESQ                            $0.00
             Bill Payment 7/27/2023      00000441/46                                       $672.24      Bill Payment #00000449/29 - Sigma-Aldrich, Inc.
             Bill          6/28/2023     420698                                           ($672.24)                    Bill Payment       9/14/2023   00000449/29                              $194.78
Amount Unapplied - Bill Payment #00000441/46 - Mack Molding Company, Inc.                    $0.00                     Bill               8/11/2023   560791961                               ($194.78)
Bill Payment #00000441/47 - Mcmaster Carr Supply                                                        Amount Unapplied - Bill Payment #00000449/29 - Sigma-Aldrich, Inc.                       $0.00
             Bill Payment 7/27/2023      00000441/47                                       $197.78      Bill Payment #00000449/3 - Baker & Hostetler LLP
             Bill          6/26/2023     10067084                                         ($197.78)                    Bill Payment       9/14/2023   00000449/3                              $4,620.00
Amount Unapplied - Bill Payment #00000441/47 - Mcmaster Carr Supply                          $0.00                     Bill               8/1/2023    51154747                               ($4,620.00)
Bill Payment #00000441/48 - MNTN Digital, Inc                                                           Amount Unapplied - Bill Payment #00000449/3 - Baker & Hostetler LLP                       $0.00
             Bill Payment 7/27/2023      00000441/48                                    $50,996.87      Bill Payment #00000449/30 - Synergy North America, Inc.
             Bill          7/1/2023      319417                                        ($50,996.87)                    Bill Payment       9/14/2023   00000449/30                             $5,450.00
Amount Unapplied - Bill Payment #00000441/48 - MNTN Digital, Inc                             $0.00                     Bill               8/1/2023    SFS10003751                            ($5,450.00)
Bill Payment #00000441/49 - NexGen IOT Solutions, LLC                                                   Amount Unapplied - Bill Payment #00000449/30 - Synergy North America, Inc.                $0.00
             Bill Payment 7/27/2023      00000441/49                                    $33,360.00      Bill Payment #00000449/31 - Talend Inc.
             Bill          6/30/2023     1015                                          ($33,360.00)                    Bill Payment       9/14/2023   00000449/31                             $5,000.00
Amount Unapplied - Bill Payment #00000441/49 - NexGen IOT Solutions, LLC                     $0.00                     Bill               8/23/2023   US19864                                ($5,000.00)
Bill Payment #00000441/5 - Say Technologies, LLC                                                        Amount Unapplied - Bill Payment #00000449/31 - Talend Inc.                                $0.00
             Bill Payment 7/27/2023      00000441/5                                        $682.37      Bill Payment #00000449/32 - The Yocca Law Firm LLP
             Bill          6/21/2023     212017637                                        ($682.37)                    Bill Payment       9/14/2023   00000449/32                                $37.50
Amount Unapplied - Bill Payment #00000441/5 - Say Technologies, LLC                          $0.00                     Bill               6/30/2023   69116                                     ($37.50)
Bill Payment #00000441/50 - Packform USA LLC                                                            Amount Unapplied - Bill Payment #00000449/32 - The Yocca Law Firm LLP                     $0.00
             Bill Payment 7/27/2023      00000441/50                                     $1,759.00      Bill Payment #00000449/33 - The Yocca Law Firm LLP
             Bill          6/30/2023     INV-44948                                      ($1,759.00)                    Bill Payment       9/14/2023   00000449/33                              $570.00
Amount Unapplied - Bill Payment #00000441/50 - Packform USA LLC                              $0.00                     Bill               7/12/2023   69117                                   ($570.00)
Bill Payment #00000441/51 - Pepperjam LLC                                                               Amount Unapplied - Bill Payment #00000449/33 - The Yocca Law Firm LLP                    $0.00
             Bill Payment 7/27/2023      00000441/51                                    $17,187.50      Bill Payment #00000449/34 - The Yocca Law Firm LLP
             Bill          6/1/2023      INV-36499                                     ($17,187.50)                    Bill Payment       9/14/2023   00000449/34                              $112.50
Amount Unapplied - Bill Payment #00000441/51 - Pepperjam LLC                                 $0.00                     Bill               6/30/2023   69115                                   ($112.50)
Bill Payment #00000441/52 - Raymond Cromwell                                                            Amount Unapplied - Bill Payment #00000449/34 - The Yocca Law Firm LLP                    $0.00
             Bill Payment 7/27/2023      00000441/52                                     $4,437.00      Bill Payment #00000449/35 - The Yocca Law Firm LLP
             Bill          7/25/2023     MO 07.25.2023                                  ($4,437.00)                    Bill Payment       9/14/2023   00000449/35                             $5,836.17
Amount Unapplied - Bill Payment #00000441/52 - Raymond Cromwell                              $0.00                     Bill               6/30/2023   69118                                  ($5,836.17)
Bill Payment #00000441/53 - Raymond Handling Consultants, L.C.                                          Amount Unapplied - Bill Payment #00000449/35 - The Yocca Law Firm LLP                     $0.00
             Bill Payment 7/27/2023      00000441/53                                       $262.05      Bill Payment #00000449/36 - The Yocca Law Firm LLP
             Bill          6/23/2023     WO-1027616                                       ($262.05)                    Bill Payment       9/14/2023   00000449/36                             $5,152.03
Amount Unapplied - Bill Payment #00000441/53 - Raymond Handling Consultants, L.C.            $0.00                     Bill               7/1/2023    69080                                  ($5,152.03)
Bill Payment #00000441/54 - Sigma-Aldrich, Inc.                                                         Amount Unapplied - Bill Payment #00000449/36 - The Yocca Law Firm LLP                     $0.00
             Bill Payment 7/27/2023      00000441/54                                       $442.41      Bill Payment #00000449/37 - The Yocca Law Firm LLP
             Bill          6/28/2023     560488201                                        ($442.41)                    Bill Payment       9/14/2023   00000449/37                             $1,152.59
Amount Unapplied - Bill Payment #00000441/54 - Sigma-Aldrich, Inc.                           $0.00                     Bill               7/1/2023    69094                                  ($1,152.59)
Bill Payment #00000441/55 - Staples Contract & Commercial LLC dba Staples Business Advantage            Amount Unapplied - Bill Payment #00000449/37 - The Yocca Law Firm LLP                     $0.00
             Bill Payment 7/27/2023      00000441/55                                       $290.35      Bill Payment #00000449/38 - Unified Accounting & Tax, LLP
             Bill          6/30/2023     8070761039                                       ($290.35)                    Bill Payment       9/14/2023   00000449/38                                $89.95
Amount Unapplied - Bill Payment #00000441/55 - Staples Contract & Commercial LLC dba         $0.00                     Bill               8/15/2023   1758                                      ($89.95)
Bill Payment #00000441/56 - Synergy North America, Inc.                                                 Amount Unapplied - Bill Payment #00000449/38 - Unified Accounting & Tax, LLP              $0.00
             Bill Payment 7/27/2023      00000441/56                                     $3,779.84      Bill Payment #00000449/39 - Unified Accounting & Tax, LLP
             Bill          6/12/2023     SFSI0003653                                    ($3,779.84)                    Bill Payment       9/14/2023   00000449/39                              $116.20
Amount Unapplied - Bill Payment #00000441/56 - Synergy North America, Inc.                   $0.00                     Bill               9/1/2023    1782                                    ($116.20)
Bill Payment #00000441/57 - The Bluebird Group LLC                                                      Amount Unapplied - Bill Payment #00000449/39 - Unified Accounting & Tax, LLP             $0.00
             Bill Payment 7/27/2023      00000441/57                                     $1,500.00      Bill Payment #00000449/4 - Baker & Hostetler LLP
             Bill          7/1/2023      10984                                          ($1,500.00)                    Bill Payment       9/14/2023   00000449/4                             $12,506.00
Amount Unapplied - Bill Payment #00000441/57 - The Bluebird Group LLC                        $0.00                     Bill               7/12/2023   51166959                              ($12,506.00)
Bill Payment #00000441/58 - The Bluebird Group LLC                                                      Amount Unapplied - Bill Payment #00000449/4 - Baker & Hostetler LLP                       $0.00
             Bill Payment 7/27/2023      00000441/58                                     $1,500.00      Bill Payment #00000449/5 - Brian T. Jackson
             Bill          7/1/2023      10986                                          ($1,500.00)                    Bill Payment       9/14/2023   00000449/5                              $1,087.50
Amount Unapplied - Bill Payment #00000441/58 - The Bluebird Group LLC                        $0.00                     Bill               9/6/2023    230906                                 ($1,087.50)
Bill Payment #00000441/59 - The Bluebird Group LLC                                                      Amount Unapplied - Bill Payment #00000449/5 - Brian T. Jackson                            $0.00
             Bill Payment 7/27/2023      00000441/59                                     $1,500.00      Bill Payment #00000449/6 - C Clean Inc
             Bill          7/1/2023      10982                                          ($1,500.00)                    Bill Payment       9/14/2023   00000449/6                              $1,948.50
Amount Unapplied - Bill Payment #00000441/59 - The Bluebird Group LLC                        $0.00                     Bill               9/1/2023    3472                                   ($1,948.50)
Bill Payment #00000441/6 - SheerID, Inc.                                                                Amount Unapplied - Bill Payment #00000449/6 - C Clean Inc                                 $0.00
             Bill Payment 7/27/2023      00000441/6                                     $15,000.00      Bill Payment #00000449/7 - Catherine Poslusny
             Bill          6/1/2023      INV34972                                      ($15,000.00)                    Bill Payment       9/14/2023   00000449/7                              $1,150.00
Amount Unapplied - Bill Payment #00000441/6 - SheerID, Inc.                                  $0.00                     Bill               8/31/2023   2023-25                                ($1,150.00)
Bill Payment #00000441/60 - The Bluebird Group LLC                                                      Amount Unapplied - Bill Payment #00000449/7 - Catherine Poslusny                          $0.00
             Bill Payment 7/27/2023      00000441/60                                     $1,500.00      Bill Payment #00000449/8 - Cintas Corporation
             Bill          7/1/2023      10983                                          ($1,500.00)                    Bill Payment       9/14/2023   00000449/8                               $150.01
Amount Unapplied - Bill Payment #00000441/60 - The Bluebird Group LLC                        $0.00                     Bill               8/11/2023   8406389340                              ($150.01)
Bill Payment #00000441/61 - The Bluebird Group LLC                                                      Amount Unapplied - Bill Payment #00000449/8 - Cintas Corporation                         $0.00
             Bill Payment 7/27/2023      00000441/61                                     $1,500.00      Bill Payment #00000449/9 - Columbus Industries Texas LLP
                                  Case 23-18093-MAM                              Doc 1                Filed 10/03/23               Page 117 of 157
               Bill          7/1/2023       10985                                       ($1,500.00)                    Bill Payment       9/14/2023    00000449/9                            $49,410.00
Amount Unapplied - Bill Payment #00000441/61 - The Bluebird Group LLC                        $0.00                     Bill                7/10/2023   1347486 RI                           ($49,410.00)
Bill Payment #00000441/62 - Toppan Merrill                                                              Amount Unapplied - Bill Payment #00000449/9 - Columbus Industries Texas LLP               $0.00
               Bill Payment 7/27/2023       00000441/62                                  $8,220.00      Bill Payment #EFT-as5elkwf - KlientBoost Performance, LLC
               Bill          6/12/2023      2644982                                     ($8,220.00)                    Bill Payment       9/14/2023    EFT-as5elkwf                           $7,000.00
Amount Unapplied - Bill Payment #00000441/62 - Toppan Merrill                                $0.00                     Bill                8/28/2023   10857                                 ($7,000.00)
Bill Payment #00000441/63 - Toppan Merrill                                                              Amount Unapplied - Bill Payment #EFT-as5elkwf - KlientBoost Performance, LLC              $0.00
               Bill Payment 7/27/2023       00000441/63                                  $2,835.00      Bill Payment #Wire-2023091426984072 - CA Distributing LLC
               Bill          6/8/2023       2643370                                     ($2,835.00)                    Bill Payment       9/14/2023    Wire-2023091426984072                 $47,077.25
Amount Unapplied - Bill Payment #00000441/63 - Toppan Merrill                                $0.00                     Bill                8/24/2023   40200                                ($47,077.25)
Bill Payment #00000441/64 - Uline                                                                       Amount Unapplied - Bill Payment #Wire-2023091426984072 - CA Distributing LLC              $0.00
               Bill Payment 7/27/2023       00000441/64                                   $953.21       Bill Payment #Wire-2023091426985808 - Amazon Advertising, LLC
               Bill          6/27/2023      165316103                                    ($953.21)                     Bill Payment       9/14/2023    Wire-2023091426985808                $159,866.64
Amount Unapplied - Bill Payment #00000441/64 - Uline                                        $0.00                      Bill                8/3/2023    7HDA23017627                         ($62,580.46)
Bill Payment #00000441/65 - Wrike, Inc.                                                                                Bill                8/3/2023    7HDA23017770                         ($71,658.28)
               Bill Payment 7/27/2023       00000441/65                                 $16,200.00                     Bill               8/3/2023     7HDA23018025                         ($25,627.90)
               Bill          6/27/2023      IG034664                                   ($16,200.00)     Amount Unapplied - Bill Payment #Wire-2023091426985808 - Amazon Advertising, LLC          $0.00
Amount Unapplied - Bill Payment #00000441/65 - Wrike, Inc.                                   $0.00      Bill Payment #Wire-2023091426985865 - Lojistic LLC
Bill Payment #00000441/66 - Wursta Corporation                                                                         Bill Payment        9/14/2023   Wire-2023091426985865                 $89,477.97
               Bill Payment 7/27/2023       00000441/66                                  $6,430.42                     Bill               8/30/2023    P202334                              ($43,527.84)
               Bill          6/30/2023      204986                                      ($6,430.42)                    Bill               9/6/2023     P202335                              ($45,950.13)
Amount Unapplied - Bill Payment #00000441/66 - Wursta Corporation                            $0.00      Amount Unapplied - Bill Payment #Wire-2023091426985865 - Lojistic LLC                     $0.00
Bill Payment #00000441/67 - Yellow Logistics                                                            Bill Payment #Wire-2023091426985928 - ARE Labs, Inc.
               Bill Payment 7/27/2023       00000441/67                                  $2,450.00                     Bill Payment       9/14/2023    Wire-2023091426985928                  $7,740.00
               Bill          7/10/2023      TB000263634-01                              ($2,450.00)                    Bill               7/28/2023    10814.220.1                           ($7,740.00)
Amount Unapplied - Bill Payment #00000441/67 - Yellow Logistics                              $0.00      Amount Unapplied - Bill Payment #Wire-2023091426985928 - ARE Labs, Inc.                   $0.00
Bill Payment #00000441/68 - Yellow Logistics                                                            Bill Payment #Wire-2023091426986003 - Inventec Appliances Corporation
               Bill Payment 7/27/2023       00000441/68                                  $2,450.00                     Bill Payment       9/14/2023    Wire-2023091426986003                  $1,155.00
               Bill          7/10/2023      TB000262046-01                              ($2,450.00)                    Bill               7/17/2023    83034038                              ($1,155.00)
Amount Unapplied - Bill Payment #00000441/68 - Yellow Logistics                              $0.00      Amount Unapplied - Bill Payment #Wire-2023091426986003 - Inventec Appliances Corpor       $0.00
Bill Payment #00000441/69 - Zendesk, Inc.                                                               Bill Payment #Wire-2023091426986021 - Lite-On Technology Corp.
               Bill Payment 7/27/2023       00000441/69                                  $5,000.00                     Bill Payment       9/14/2023    Wire-2023091426986021                  $2,658.33
               Bill          6/21/2023      INV10030644                                 ($5,000.00)                    Bill               8/21/2023    DG-20230823                           ($2,658.33)
Amount Unapplied - Bill Payment #00000441/69 - Zendesk, Inc.                                 $0.00      Amount Unapplied - Bill Payment #Wire-2023091426986021 - Lite-On Technology Corp.         $0.00
Bill Payment #00000441/7 - 8x8 Inc                                                                      Bill Payment #Wire-2023091426986065 - LITE-ON SINGAPORE PTE LTD
               Bill Payment 7/27/2023       00000441/7                                      $40.63                     Bill Payment       9/14/2023    Wire-2023091426986065                  $2,356.25
               Bill          6/30/2023      3919302                                        ($40.63)                    Bill               9/1/2023     20230829-Sep                          ($2,356.25)
Amount Unapplied - Bill Payment #00000441/7 - 8x8 Inc                                        $0.00      Amount Unapplied - Bill Payment #Wire-2023091426986065 - LITE-ON SINGAPORE PTE L          $0.00
Bill Payment #00000441/70 - Yellow Logistics                                                            Bill Payment #Wire-2023091426986247 - Lauren McCaully Patch
               Bill Payment 7/27/2023       00000441/70                                  $2,400.00                     Bill Payment       9/14/2023    Wire-2023091426986247                  $1,050.00
               Bill          7/11/2023      0004057                                     ($2,400.00)                    Bill               8/11/2023    0007                                  ($1,050.00)
Amount Unapplied - Bill Payment #00000441/70 - Yellow Logistics                              $0.00      Amount Unapplied - Bill Payment #Wire-2023091426986247 - Lauren McCaully Patch            $0.00
Bill Payment #00000441/71 - Commerce Technologies, LLC DBA CommerceHub                                  Currency Revaluation #CRV-US-0207 -
               Bill Payment 7/27/2023       00000441/71                                     $70.00                     Currency Revaluat 9/15/2023     CRV-US-0207                                $8.60
               Bill          6/30/2023      2210965                                        ($70.00)                    Bill               6/30/2023    BZ154B3YC-54                              ($8.60)
Amount Unapplied - Bill Payment #00000441/71 - Commerce Technologies, LLC DBA Com            $0.00      Amount Unapplied - Currency Revaluation #CRV-US-0207 -                                    $0.00
Bill Payment #00000441/8 - ALOM Technologies Corp.                                                      Bill Payment #Wire-2023091526992663 - Amazon Advertising Canada, Inc.
               Bill Payment 7/27/2023       00000441/8                                  $21,697.50                     Bill Payment       9/15/2023    Wire-2023091526992663                    $449.23
               Bill          6/30/2023      110798                                     ($21,697.50)                    Bill               6/30/2023    BZ154B3YC-54                            ($449.23)
Amount Unapplied - Bill Payment #00000441/8 - ALOM Technologies Corp.                        $0.00      Amount Unapplied - Bill Payment #Wire-2023091526992663 - Amazon Advertising Canada        $0.00
Bill Payment #00000441/9 - ALOM Technologies Corp.                                                      Bill Payment #28693859 - Bazaarvoice, Inc.
               Bill Payment 7/27/2023       00000441/9                                 $262,563.49                     Bill Payment       9/15/2023                                           $1,500.00
               Bill          6/30/2023      110938                                    ($262,563.49)                    Bill               8/21/2023    144342                                ($1,500.00)
Amount Unapplied - Bill Payment #00000441/9 - ALOM Technologies Corp.                        $0.00      Amount Unapplied - Bill Payment #28693859 - Bazaarvoice, Inc.                             $0.00
Bill Payment #Wire-2023072726759107 - Dandelion Inc.                                                    Bill Payment #Wire-2023092027010421 - Ryan Patch, ESQ
               Bill Payment 7/27/2023       Wire-2023072726759107                      $135,390.30                     Bill Payment       9/20/2023    Wire-2023092027010421                 $26,662.50
               Bill          7/1/2023       INV-5962                                  ($135,390.30)                    Bill               5/29/2023    003-Sterilumen Trademark             ($12,318.75)
Amount Unapplied - Bill Payment #Wire-2023072726759107 - Dandelion Inc.                      $0.00                     Bill                5/29/2023   005 - Photon Litigation              ($14,343.75)
Bill Payment #Wire-2023072726759331 - Inventec Appliances Corporation                                   Amount Unapplied - Bill Payment #Wire-2023092027010421 - Ryan Patch, ESQ                  $0.00
               Bill Payment 7/27/2023       Wire-2023072726759331                        $2,553.30      Bill Payment #00000450/1 - Brandography.com LLC
               Bill          6/1/2023       83033849                                    ($2,203.30)                    Bill Payment       9/21/2023    00000450/1                             $5,168.93
               Bill          6/1/2023       83033863                                      ($350.00)                    Bill               9/2/2023     6998                                  ($5,168.93)
Amount Unapplied - Bill Payment #Wire-2023072726759331 - Inventec Appliances Corpor          $0.00      Amount Unapplied - Bill Payment #00000450/1 - Brandography.com LLC                        $0.00
Bill Payment #Wire-2023072726759413 - Jasmeet Singh                                                     Bill Payment #00000450/10 - Lirik Inc
               Bill Payment 7/27/2023       Wire-2023072726759413                         $370.08                      Bill Payment       9/21/2023    00000450/10                           $12,800.00
               Bill          6/26/2023      JA1012                                       ($370.08)                     Bill               8/1/2023     6535                                 ($12,800.00)
Amount Unapplied - Bill Payment #Wire-2023072726759413 - Jasmeet Singh                      $0.00       Amount Unapplied - Bill Payment #00000450/10 - Lirik Inc                                  $0.00
Bill Payment #Wire-2023072726759484 - Lauren McCaully Patch                                             Bill Payment #00000450/11 - Mack Molding Company, Inc.
               Bill Payment 7/27/2023       Wire-2023072726759484                        $1,387.50                     Bill Payment       9/21/2023    00000450/11                              $264.80
               Bill          6/30/2023      0005                                          ($300.00)                    Bill               8/23/2023    423056                                  ($264.80)
               Bill          6/30/2023      0006                                        ($1,087.50)     Amount Unapplied - Bill Payment #00000450/11 - Mack Molding Company, Inc.                 $0.00
Amount Unapplied - Bill Payment #Wire-2023072726759484 - Lauren McCaully Patch               $0.00      Bill Payment #00000450/12 - Oracle
Bill Payment #Wire-2023072726759603 - Mediant Communications Inc.                                                      Bill Payment        9/21/2023   00000450/12                           $92,019.05
               Bill Payment 7/27/2023       Wire-2023072726759603                         $287.58                      Bill               7/31/2023    1656301                              ($92,019.05)
               Bill          7/1/2023       BPX22120507                                  ($132.83)      Amount Unapplied - Bill Payment #00000450/12 - Oracle                                     $0.00
               Bill          7/1/2023       BPX23060908                                  ($154.75)      Bill Payment #00000450/13 - TELUS International (US) Corp.
Amount Unapplied - Bill Payment #Wire-2023072726759603 - Mediant Communications In          $0.00                      Bill Payment        9/21/2023   00000450/13                           $45,831.64
Bill Payment #Wire-2023072726759612 - Lojistic LLC                                                                     Bill                8/8/2023    CUSTINV- 351- USOP-2023-001015       ($45,831.64)
               Bill Payment 7/27/2023       Wire-2023072726759612                       $44,840.22      Amount Unapplied - Bill Payment #00000450/13 - TELUS International (US) Corp.             $0.00
               Bill          7/26/2023      P202329                                    ($44,840.22)     Bill Payment #00000450/14 - The Quality Edit LLC
Amount Unapplied - Bill Payment #Wire-2023072726759612 - Lojistic LLC                        $0.00                     Bill Payment        9/21/2023   00000450/14                           $12,239.74
Bill Payment #Wire-2023072826769808 - Theodore Sage Davis                                                              Bill                8/31/2023   2194                                 ($12,239.74)
               Bill Payment 7/28/2023       Wire-2023072826769808                         $792.00       Amount Unapplied - Bill Payment #00000450/14 - The Quality Edit LLC                       $0.00
               Bill          6/27/2023      7                                               $0.00       Bill Payment #00000450/15 - Zendesk, Inc.
               Journal       7/29/2023      JE-US-11627                                  ($792.00)                     Bill Payment       9/21/2023    00000450/15                           $27,630.00
Amount Unapplied - Bill Payment #Wire-2023072826769808 - Theodore Sage Davis                $0.00                      Bill                6/12/2023   INV09998562                          ($27,630.00)
Bill Credit #2023-0810 - InkHouse, LLC                                                                  Amount Unapplied - Bill Payment #00000450/15 - Zendesk, Inc.                              $0.00
               Bill Credit   7/31/2023      2023-0810                                   $20,000.00      Bill Payment #00000450/16 - Canteen Refreshment Services dba A Div of Canteen
               Bill          6/1/2023       2023-0529                                  ($20,000.00)                    Bill Payment       9/21/2023    00000450/16                              $477.64
Amount Unapplied - Bill Credit #2023-0810 - InkHouse, LLC                                    $0.00                     Bill                8/30/2023   LAK6348                                 ($477.64)
Bill Credit #93168 - Phoenix Contract Manufacturing, Inc.                                               Amount Unapplied - Bill Payment #00000450/16 - Canteen Refreshment Services dba A D       $0.00
               Bill Credit   7/31/2023      93168                                        $3,230.00      Bill Payment #00000450/17 - Raymond Handling Consultants, L.C.
               Bill          1/12/2023      93168                                       ($3,230.00)                    Bill Payment       9/21/2023    00000450/17                            $2,942.50
Amount Unapplied - Bill Credit #93168 - Phoenix Contract Manufacturing, Inc.                 $0.00                     Bill                9/1/2023    RO-023684-1                           ($2,942.50)
Bill Credit #CM-6091 - Dandelion Inc.                                                                   Amount Unapplied - Bill Payment #00000450/17 - Raymond Handling Consultants, L.C.         $0.00
               Bill Credit   7/31/2023      CM-6091                                      $4,785.78      Bill Payment #00000450/18 - Sigma-Aldrich, Inc.
               Bill          7/27/2023      INV-6053                                    ($4,000.00)                    Bill Payment       9/21/2023    00000450/18                              $258.95
Amount Unapplied - Bill Credit #CM-6091 - Dandelion Inc.                                  $785.78                      Bill                8/15/2023   560808717                               ($258.95)
Bill Credit #INV01846286 - Intralinks, Inc.                                                             Amount Unapplied - Bill Payment #00000450/18 - Sigma-Aldrich, Inc.                        $0.00
               Bill Credit   7/31/2023      INV01846286                                  $7,166.00      Bill Payment #00000450/2 - Cintas Corporation
               Bill          1/16/2023      INV01817099                                 ($7,166.00)                    Bill Payment       9/21/2023    00000450/2                               $175.47
Amount Unapplied - Bill Credit #INV01846286 - Intralinks, Inc.                               $0.00                     Bill                8/17/2023   4165028932                              ($175.47)
Bill Credit #INV01846287 - Intralinks, Inc.                                                             Amount Unapplied - Bill Payment #00000450/2 - Cintas Corporation                          $0.00
               Bill Credit   7/31/2023      INV01846287                                  $7,166.00      Bill Payment #00000450/3 - Columbus Industries Texas LLP
               Bill          2/16/2023      INV01846286                                 ($7,166.00)                    Bill Payment       9/21/2023    00000450/3                            $25,571.70
Amount Unapplied - Bill Credit #INV01846287 - Intralinks, Inc.                               $0.00                     Bill                7/10/2023   1347488 RI                           ($25,571.70)
Bill Payment #Wire-2023073126773092 - Theodore Sage Davis                                               Amount Unapplied - Bill Payment #00000450/3 - Columbus Industries Texas LLP               $0.00
                                  Case 23-18093-MAM                               Doc 1               Filed 10/03/23               Page 118 of 157
             Bill Payment 8/1/2023      Wire-2023073126773092                             $792.00       Bill Payment #00000450/4 - Columbus Industries Texas LLP
             Bill          6/27/2023    7                                                ($792.00)                     Bill Payment       9/21/2023    00000450/4                              $26,632.80
Amount Unapplied - Bill Payment #Wire-2023073126773092 - Theodore Sage Davis                $0.00                      Bill               7/10/2023    1347489 RI                             ($26,632.80)
Bill Payment #00000442/1 - 4000 North Combee Road, LLC                                                  Amount Unapplied - Bill Payment #00000450/4 - Columbus Industries Texas LLP                 $0.00
             Bill Payment 8/3/2023      00000442/1                                      $37,832.28      Bill Payment #00000450/5 - Columbus Industries Texas LLP
             Bill          8/1/2023     Aug'23 Rent / 4000 N COMBEE ROAD               ($37,832.28)                    Bill Payment       9/21/2023    00000450/5                               $4,649.40
Amount Unapplied - Bill Payment #00000442/1 - 4000 North Combee Road, LLC                    $0.00                     Bill               7/10/2023    1347543 RI                              ($4,649.40)
Bill Payment #00000442/10 - Gardens Bio Science Partners LLC                                            Amount Unapplied - Bill Payment #00000450/5 - Columbus Industries Texas LLP                 $0.00
             Bill Payment 8/3/2023      00000442/10                                      $1,137.56      Bill Payment #00000450/6 - Columbus Industries Texas LLP
             Bill          8/1/2023     AERO - 062023FPL                                ($1,137.56)                    Bill Payment       9/21/2023    00000450/6                                $798.84
Amount Unapplied - Bill Payment #00000442/10 - Gardens Bio Science Partners LLC              $0.00                     Bill               7/10/2023    1347540 RI                               ($798.84)
Bill Payment #00000442/11 - KB Commercial Services LLC DBA Office Pride of Lakeland                     Amount Unapplied - Bill Payment #00000450/6 - Columbus Industries Texas LLP                $0.00
             Bill Payment 8/3/2023      00000442/11                                      $1,897.11      Bill Payment #00000450/7 - Columbus Industries Texas LLP
             Bill          8/1/2023     Inv-160915                                      ($1,897.11)                    Bill Payment       9/21/2023    00000450/7                               $2,759.15
Amount Unapplied - Bill Payment #00000442/11 - KB Commercial Services LLC DBA Offic          $0.00                     Bill               7/6/2023     1347172 RI                              ($2,759.15)
Bill Payment #00000442/12 - Knights of Security                                                         Amount Unapplied - Bill Payment #00000450/7 - Columbus Industries Texas LLP                 $0.00
             Bill Payment 8/3/2023      00000442/12                                      $7,000.00      Bill Payment #00000450/8 - Fisher Scientific Co. LLC
             Bill          8/1/2023     054                                             ($7,000.00)                    Bill Payment       9/21/2023    00000450/8                                  $35.67
Amount Unapplied - Bill Payment #00000442/12 - Knights of Security                           $0.00                     Bill               8/21/2023    5524066                                    ($35.67)
Bill Payment #00000442/13 - Linkedin                                                                    Amount Unapplied - Bill Payment #00000450/8 - Fisher Scientific Co. LLC                     $0.00
             Bill Payment 8/3/2023      00000442/13                                       $996.84       Bill Payment #00000450/9 - Handy Spark Co LLC
             Bill          7/1/2023     10111942117                                      ($996.84)                     Bill Payment       9/21/2023    00000450/9                               $3,776.00
Amount Unapplied - Bill Payment #00000442/13 - Linkedin                                     $0.00                      Bill               9/11/2023    654                                     ($3,776.00)
Bill Payment #00000442/14 - Luis Lopez                                                                  Amount Unapplied - Bill Payment #00000450/9 - Handy Spark Co LLC                            $0.00
             Bill Payment 8/3/2023      00000442/14                                       $300.00       Bill Payment #Wire-2023092127014431 - Inventec Appliances Corporation
             Bill          7/11/2023    1                                                ($300.00)                     Bill Payment       9/21/2023    Wire-2023092127014431                   $32,760.00
Amount Unapplied - Bill Payment #00000442/14 - Luis Lopez                                   $0.00                      Bill               7/21/2023    83034039                               ($32,760.00)
Bill Payment #00000442/15 - Mary Frances Pierson Brizz                                                  Amount Unapplied - Bill Payment #Wire-2023092127014431 - Inventec Appliances Corpor         $0.00
             Bill Payment 8/3/2023      00000442/15                                      $1,200.00      Bill Payment #28775269 - Lojistic LLC
             Bill          7/18/2023    948                                             ($1,200.00)                    Bill Payment       9/21/2023                                            $42,788.12
Amount Unapplied - Bill Payment #00000442/15 - Mary Frances Pierson Brizz                    $0.00                     Bill               9/13/2023    P202336                                ($42,788.12)
Bill Payment #00000442/16 - Mcmaster Carr Supply                                                        Amount Unapplied - Bill Payment #28775269 - Lojistic LLC                                    $0.00
             Bill Payment 8/3/2023      00000442/16                                       $155.93       Bill Payment #28776784 - Grainger
             Bill          7/5/2023     10475400                                         ($155.93)                     Bill Payment       9/21/2023                                              $106.10
Amount Unapplied - Bill Payment #00000442/16 - Mcmaster Carr Supply                         $0.00                      Bill               7/13/2023    9769471286                               ($106.10)
Bill Payment #00000442/17 - Meta Platforms, Inc.                                                        Amount Unapplied - Bill Payment #28776784 - Grainger                                       $0.00
             Bill Payment 8/3/2023      00000442/17                                    $154,481.31      Bill Payment #28775776 - Uline
             Bill          6/30/2023    25256700                                      ($154,481.31)                    Bill Payment       9/21/2023                                             $2,864.47
Amount Unapplied - Bill Payment #00000442/17 - Meta Platforms, Inc.                          $0.00                     Bill               8/7/2023     166857726                                 ($925.91)
Bill Payment #00000442/18 - Meta Platforms, Inc.                                                                       Bill               8/17/2023    167336463                               ($1,253.41)
             Bill Payment 8/3/2023      00000442/18                                      $2,645.73                     Bill               8/21/2023    167477761                                 ($685.15)
             Bill          6/30/2023    25255956                                        ($2,645.73)     Amount Unapplied - Bill Payment #28775776 - Uline                                           $0.00
Amount Unapplied - Bill Payment #00000442/18 - Meta Platforms, Inc.                          $0.00      Bill Payment #Wire-2023092227021079 - Linkator Group, LLC
Bill Payment #00000442/19 - Nicholas DeAngelis                                                                         Bill Payment       9/22/2023    Wire-2023092227021079                    $8,667.00
             Bill Payment 8/3/2023      00000442/19                                      $5,250.00                     Bill               9/11/2023    5                                       ($8,667.00)
             Bill          7/2/2023     March thru June '23                             ($5,250.00)     Amount Unapplied - Bill Payment #Wire-2023092227021079 - Linkator Group, LLC                $0.00
Amount Unapplied - Bill Payment #00000442/19 - Nicholas DeAngelis                            $0.00      Bill Payment #28830044 - Uline
Bill Payment #00000442/2 - 4000 North Combee Road, LLC                                                                 Bill Payment       9/25/2023                                             $1,910.55
             Bill Payment 8/3/2023      00000442/2                                      $10,316.12                     Bill               8/21/2023    167477992                               ($1,910.55)
             Bill          8/1/2023     Aug '23 Rent 4040 N Combee-Rent                ($10,316.12)     Amount Unapplied - Bill Payment #28830044 - Uline                                           $0.00
                                                                                                        Bill Payment #28843241 - ThinkLite
                                                                                                                       Bill Payment       9/26/2023                                              $500.00
                                                                                                                       Bill               9/9/2023     75932                                    ($500.00)
                                                                                                        Amount Unapplied - Bill Payment #28843241 - ThinkLite                                      $0.00
                                                                                                        Amount Unapplied                                                                         $785.78
                           Case 23-18093-MAM                       Doc 1         Filed 10/03/23             Page 119 of 157

                                                      United States Bankruptcy Court
                                                              Southern District of Florida
 In re    Molekule, Inc.                                                                                          Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Molekule Group, Inc.                                                                                                         100%
10455 Riverside Drive, Suite 100
Palm Beach Gardens, FL 33410


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Financial Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



Date October 3, 2023                                                     Signature /s/ Ryan Tyler
                                                                                        Ryan Tyler

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
                         Case 23-18093-MAM                Doc 1         Filed 10/03/23       Page 120 of 157




                                               United States Bankruptcy Court
                                                      Southern District of Florida
 In re   Molekule, Inc.                                                                           Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Chief Financial Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




Date:     October 3, 2023                                /s/ Ryan Tyler
                                                         Ryan Tyler/Chief Financial Officer
                                                         Signer/Title
    Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 121 of 157



}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




             140 Partners, LP
             c/o Darin T. Judd, Esq.
             Thompson Welch Soroko & Gilbert, LLP
             3950 Civic Center Dr, Suite 300
             San Rafael, CA 94903


             2231192 Ontario Inc.
             99 Alcorn Dr
             Lindsay ON K9V0M8


             3CG DimeTyd, LLC
             16192 Coastal Hwy
             Lewes, DE 19958


             4000 North Combee Road, LLC
             41 Lake Morton Drive
             Lakeland, FL 33801


             8x8, Inc
             2125 O'nel Dr
             San Jose, CA 95131


             Acevedo, Christian
             1501 Shepherd Rd
             Apt # 55
             Lakeland, FL 33811


             ADO Professional Solutions
             LHH Recruitment
             4800 Deerwood Campus Pkwy
             Building 800
             Jacksonville, FL 32246


             Afterpay US, Inc.
             Afterpay US Services, LLC
             Attn: Legal
             760 Market St, Floor 2 Unit 2.03
             San Francisco, CA 94102


             Airgas USA, LLC
             6601 East 14th Ave
             Tampa, FL 33619-2913


             Alarm Center, Inc.
             PO Box 6281
             Lakeland, FL 33807
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 122 of 157




         ALOM Technologies Corp
         ALOM - Fremont
         44660 Osgood Rd
         Fremont, CA 94539


         Alrich, Inc.
         130 Erick Street
         Crystal Lake, IL 60014


         Alsova, Irina
         57 4th St
         Apt. 3
         Ashland, OR 97520


         Amazon Advertising Canada, Inc
         120 Bremner Blvd
         26th Floor
         Toronto, ON M5J 0A8


         Amazon Advertising, LLC
         P.O. Box 81207
         Seattle, WA 98108-1207


         American Express Merchant Marketing
         Attn: Department 87
         PO Box 299051
         Fort Lauderdale, FL 33329


         ARE Labs, Inc.
         15320 S. Cornice Street
         Olathe, KS 66062


         Arevalo, Barbara M.
         4870 St. James Ct
         Winter Haven, FL 33881


         Arroyo Process Equipment, Inc
         1550 Centennial Blvd
         Bartow, FL 33830


         Association of Home Appliance Manufactur
         1111 19th St NW
         Suite 402
         Washington, DC 20036
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 123 of 157




         Attanayake, Supun
         14612 North 43rd St
         Apt 39
         Tampa, FL 33613


         Atterman, Melanie R.
         8921 Alana Cove
         Cordova, TN 38016


         Auprey, Shannon M.
         108 Locustberry Ln
         101
         Jupiter, FL 33458


         Aura Smart Air, Inc
         1007 Orange St
         10th Floor
         Wilmington, DE 19801


         Avalara
         PO Box 3213
         Carol Stream, IL 60132-3213


         Avalara Inc.
         255 S. King St #1800
         Seattle, WA 98104


         AVASK Accounting
         2570 North First Street, Suite 500
         San Jose, CA 95131


         Azhar M. Zuberi
         13510 Sagewood Drive
         Poway, CA 92064


         Baker & Hostetler, LLP
         Key Tower
         127 Public Sq
         Suite 2000
         Cleveland, OH 44114-1214


         Barkley, Austin D.
         211 Southeast 52nd Ct
         Ocala, FL 34471
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 124 of 157




         Based on a Budget, LLC
         1000 Lake Street, Unit D
         Venice, CA 90291


         Bay Alarm Co.
         Suite #102 Peninsula Branch
         510 Myrtle Avenue South
         South San Francisco, CA 94080


         Beisel, Rachel L.
         3339 West Kiowa St
         Colorado Springs, CO 80904


         Bennett, Lara E.
         P.O. Box #867
         Morongo Valley, CA 92256


         Benton, Brad M.
         309 Washington St
         2402
         Conshohocken, PA 19428


         Bianco, Frank
         6718 Aberdale Cir
         San Ramon, CA 94582


         Blair Greenwood Consulting LLC
         Attn.: Blair Greenwood
         1215 Saint John Place
         Fort Collins, CO 80525


         Blair Greenwood Consulting, LLC
         1215 Saint John Pl
         Fort Collins, CO 80525


         Bobby Whitson
         125 Temple Crest Trail
         Franklin, TN 37069


         Boryszewski-Peters, Anna E.
         837 Bayou View Dr
         Brandon, FL 33510
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 125 of 157




         BPM, LLP
         600 California St
         Suite 600
         San Francisco, CA 94108


         Brandography.com, LLC
         1910 East Medicine Lake Blvd
         Plymouth, MN 55441


         Brian T. Jackson
         120 Bremner Blvd, 26th Floor
         Toronto ON M5J 0A8


         Bruggeman, Rory E.
         1976 South 1700 E
         Salt Lake City, UT 84108


         C Clean, Inc.
         214 Frida Kahlo Way
         San Francisco, CA 94112


         CA Distributing LLC
         35 Rod and Gun Club Road
         Forestburgh, NY 12777


         California Dept of Revenue
         PO Box 942879
         Sacramento, CA 94279


         Canteen Refreshment Services
         d/b/a A Div of Canteen
         P.O. Box 50196
         Los Angeles, CA 90074-0196


         Capgemini America Inc.
         79 Fifth Ave, 3rd FL
         New York, NY 10003


         Capgemini America, Inc
         79 Fifth Ave
         Third Floor
         New York, NY 10003
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 126 of 157




         Catherine Poslusny
         3112 Cristo Ct
         Norman, OK 73071


         Chambers, Erin M.
         19521 West 59th Ave
         Golden, CO 80403


         Chidambaram, Subramanian
         477 West San Juan Ct
         Mountain House, CA 95391


         Chris Thorpe
         8300 N. View Blvd
         Norfolk, VA 23518


         Christian Haslett
         393 Hamilton St, H1
         Costa Mesa, CA 92627


         Churn Buster, LLC
         237 A St #74803
         San Diego, CA 92101


         Cigna Health and Life Insurance Company
         900 Cottage Grove Road
         Bloomfield, CT 06002


         Cintas Document Management
         P.O. Box 633842
         Cincinnati, OH 45263-0921


         Citrin Cooperman
         529 Fifth Ave
         New York, NY 10017


         Ciulla, Shannon K.
         3464 Diamond Terr
         Mulberry, FL 33860


         Client Partner Mgmt Group LLC
         1111 19th Street NW, Suite 402
         Washington, DC 20036
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 127 of 157




         Cointepoix, Robert T.
         330 South F St
         Lake Worth, FL 33460


         Columbus Industries Texas, LLP
         Columbus Industries Inc
         2938 State Route 752
         P.O. Box 257
         Amanda, OH 43102


         Commerce Technologies, LLC
         d/b/a CommerceHub
         800 Troy-Schenectady Rd
         Suite 100
         Latham, NY 12110


         Comprise
         1919 14th St
         Suite 700
         Boulder, CO 80302


         Comprise
         1919 14th St. #700
         Boulder, CO 80302


         Computershare, Inc
         Dept CH 19228
         Palatine, IL 60055-9228


         Cook, Crystal M.
         6908 Culver Ave
         Fort Worth, TX 76116


         Cooper, Rob Y.
         7901 Margate Way
         Lakeland, FL 33809


         Creare, LLC
         2570 North First Street, Suite 500
         San Jose, CA 95131


         Criteo Corp
         387 Park Ave S
         12th Floor
         New York, NY 10016
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 128 of 157




         Cromwell, Troy
         16906 Forked Lake Dr
         Houston, TX 77044


         Dandelion, Inc
         211 Yonge St
         Suite 400
         Toronto, ON M5B 1M4


         Dauwalter, Ashley
         2522 South Crystal Lake Dr
         Lakeland, FL 33801


         Davis, Josh A.
         4202 Havenstone Way
         Valrico, FL 33596


         De Lage Landen Financial Services, Inc.
         1111 Old Eagle School Road
         Wayne, PA 19087


         DeBoard, Tanner J.
         330 Crescent Village Cir
         Unit 2416
         San Jose, CA 95134


         Deel
         425 1st Street
         San Francisco, CA 94105-4621


         DelGaldo, Jim M.
         13 Norwich Pl.
         Somerset, NJ 08873


         Dell
         1 Dell Way
         Round Rock, TX 78664


         Dhau, Jaspreet S.
         15258 Anguilla Isle Ave
         Tampa, FL 33647


         DHL Express
         16416 Northchase Dr
         Houston, TX 77060
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 129 of 157




         DiBona, Jason
         1402 Dakota Dr
         Jupiter, FL 33458


         DigiKey Electronics
         701 Brooks Ave S
         Thief River Falls, MN 56701


         Dimass Group B.V.
         Laak, Grote Laak 17
         6088 NJ Roggel
         Netherlands


         Dynamic Logistix, LLC
         7220 West 98th Terr
         Overland Park, KS 66212


         Ehrbar, Gene M.
         1940 Southeast Bidwell St
         Portland, OR 97202


         Elise Skiver
         3086 W. Denver Pl
         Denver, CO 80211


         EMA Design Automation
         PO Box 50196
         Charlotte, NC 28217


         Employee Wages



         Epic Strategies LLC
         1370 E Primrose St, Suite A
         Springfield, MO 65804


         FAB
         1265 Sand Hill Road
         Candler, NC 28715


         Fabbro, Ali F.
         65 Granada Ct
         Portola Valley, CA 94028
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 130 of 157




         Fans-Tech
         P.O. Box 11904
         Mulberry, FL 33860


         FedEx
         P.O. Box 7221
         Pasadena, CA 91109-7321


         Fenwick & West, LLP
         P.O. Box 742814
         Los Angeles, CA 90074-2814


         Figma
         1321 Upland Dr. PMB 19236
         Houston, TX 77043


         Fintland, Brian R.
         1210 Pacific Ave
         Alameda, CA 94501


         Fisher Scientific Co, LLC
         Acct#060778-001
         300 Industry Dr
         Pittsburgh, PA 15275


         Flexport
         760 Market St
         8th Floor
         San Francisco, CA 94102


         Florida Department of Revenue
         P.O. Box 6668
         Tallahassee, FL 32314-6668


         Freas, Jasmine J.
         6914 Minaxi Dr
         Lakeland, FL 33810


         Freightquote.com, Inc
         P.O. Box 9121
         Minneapolis, MN 55480


         Gajula, Veena Badaje
         11594 Fenwick Ct
         Dublin, CA 94568
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 131 of 157




         gandi.net
         121 2nd St
         5th Floor
         San Francisco, CA 94105


         Garcia Ramos, Demetrio D.
         563 Eagle Landing Blvd
         Winter Haven, FL 33880


         Gardens Bio Science Partners, LLC
         525 Okeechobee Blvd, Suite 1650
         West Palm Beach, FL 33401


         Gatty, Christopher A.
         147 Pine Dr
         Fairfax, CA 94930


         Global Industrial
         11 Harbor Park Dr
         Port Washington, NY 11050


         Goldfarb Gross Seligman & Co.
         98 Yigal Alon Street
         Tel Aviv, Israel 6789141


         Gonzalez-Laboy , Orlando
         1348 Fairway Dr
         Lakeland, FL 33801


         Grainger
         100 Grainger Pkwy
         Lake Forest, IL 60045-5201


         Graywolf Sensing Solutions, LLC
         6 Research Dr
         Shelton, CT 06484


         GRIN Technologies, Inc.
         2820 S. English Station Road
         Louisville, KY 40299


         Haldane C. King
         7849 Lynch Road
         Sebastopol, CA 95472
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 132 of 157




         Hallwachs, Alec N.
         9652 South Brown Rd
         Fenwick, MI 48834


         Hammond, Hayden
         275 Murcia Dr
         Apt 203
         Jupiter, FL 33458


         Hammond, William A.
         456 Amethyst Ave
         Auburndale, FL 33823


         Handy Spark Co, LLC
         Robert Ayers
         1312 Sugar Pine Rd
         Apopka, FL 32703


         Harkey, Jody D.
         2034 Windward Pass
         Lakeland, FL 33813


         Harris, Moore M.
         100 New Place Rd
         HIllsborough, CA 94010


         Hartford
         2705 S. Lake Park Rd Suite 103
         Appleton, WI 54915


         Holland & Knight, LLP
         560 Mission Street, Ste 1900
         San Francisco, CA 94105


         Hollister, David R.
         2726 Bush
         San Francisco, CA 94115


         Homestead Studio, LLC
         PO Box 14970
         Greenville, SC 29610
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 133 of 157




         Homestead Studio, LLC
         Riley Trotter
         2705 Lake Park Rd #103
         Appleton, WI 54915


         HongKong MirDan Technology co. Ltd
         PO Box 50196
         Charlotte, NC 28217


         Houzz Media Company
         285 Hamilton Ave, 4th FL
         Palo Alto, CA 94301


         Houzz, Inc
          285 Hamilton Ave
         4th Floor
         Palo Alto, CA 94301


         Howard, Kareem L.
         5350 Bridge St
         # 5408
         Tampa, FL 33611


         HP Holdings, Inc
         d/b/a Invariant
         901 7th St NW
         Suite 600
         Washington, DC 20001


         Hunter Holthaus
         4320 48th St
         San Diego, CA 92115


         Hyman, Phelps & McNamara,           PC
         700 Thirteenth St NW
         Suite 1200
         Washington, DC 20005


         Illuminate Social
         214 Frida Kahlo Way
         San Francisco, CA 94112


         Independent Machine Works
         2810 Parkway St
         Lakeland, FL 33811
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 134 of 157




         InkHouse, LLC
         260 Charles St
         Suite 200
         Waltham, MA 02453


         Innovative Bioanalysis
         3188 Airway Ave
         Unit D
         Costa Mesa, CA 92626


         Insight Global Finance DBA LEAF
         PO Box 5066
         Hartford, CT 06102-5066


         Internal Revenue Service
         Attn: Special Procedures
         P.O. Box 34045
         Stop 572
         Jacksonville, FL 32202


         Internal Revenue Service
         P.O. Box 7346
         Philadelphia, PA 19114


         Intertek Testing Services NA, Inc
         P.O. Box 405176
         Atlanta, GA 30384-5176


         Intrado Digital Media, LLC
         c/o Intrado Corp
         P.O. Box 74007143
         Chicago, IL 60674-7143


         Inventec Appliances Corporation
         37 Wugong 5th Rd,Industrial Park Wugu Di
         New Taipei, 24890 Taiwan


         Inventec Appliances Corporation
         No.37, Wugong 5th Road
         Wugu District, New Taipei City
         Taiwan 24890


         Ironclad, Inc.
         71 Stevenson St #600
         San Francisco, CA 94105
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 135 of 157




         Iterable
         71 Stevenson St, #300
         San Francisco, CA 94105


         JACS Solutions, Inc.
         1763 Main St. Apt 120-E
         Dunedin, FL 34698


         James R Whitson
         3019 Wilshire Blvd, Suite 206
         Santa Monica, CA 90403


         Jamie Sutor
         P.O Box 14970
         Greenville, SC 29610


         Jasmeet Singh
         #2199/12, Street No.2
         Islamabad, Amritsar


         Jason DiBona
         1402 Dakota Dr
         Jupiter, FL 33458


         Jaylon King
         4058 Cornell Blvd SW
         Atlanta, GA 30331


         Jeffer Mangels Butler & Mitchell, LLP
         1900 Avenue of the Stars
         7th Floor
         Los Angeles, CA 90067


         Jiang, Xunge
         3534 Vanet Rd
         Chamblee, GA 30341


         Jimmy Thompson
         18660 SE River Ridge Rd
         Jupiter, FL 33469


         Joe Campos
         25 Redondo St
         San Francisco, CA 94124
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 136 of 157




         Joe Lesters
         25819 Ross St
         Plainfield, IL 60585


         John Detzauer
         c/o Joshua B. Swigart, Esq.
         2221 Camino Del Rio S, Suite 308
         San Diego, CA 92108


         Joseph Synnott
         56 Greenbank Drive
         Glenhaven NSW 2156
         Australia


         Jun, Jane W.
         4122 Raleigh St
         Denver, CO 80212


         K Of Course LLC
         2711 18th st., Apt 9
         San Francisco, CA 94110


         K of Course, LLC
         c.o Shanna Polesovsky
         3175 Wright St
         Wheat Ridge, CO 80215


         Kargo Global Inc.
         826 Broadway, 4th FL
         New York, NY 10003


         Kargo Global, LLC
         826 Broadway
         5th Floor
         New York, NY 10003


         Katherine Elizabeth Ouimette
         445 Cole St. #3
         San Francisco, CA 94117


         KB Commercial Services, LLC
         d/b/a Office Pride of Lakeland
         401 West Belvedere St
         Lakeland, FL 33803
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 137 of 157




         KBA Document Solutions, LLC
         P.O. Box 3687
         Hayward, CA 94540-3687


         Kelly Jo Grandy
         1432 South Gary Place
         Tulsa, OK 74104


         Kelly M. Leonardson
         23592 Windsong #29J
         Aliso Viejo, CA 92656


         Kelly, Jenn M.
         15184 81st Terrace N
         Palm Beach Gardens, FL 33418


         Kelsey Johnson
         4130 Wycliff Ave, #104
         Dallas, TX 75219


         Kershner, Jay T.
         144 Occidental Ave
         Burlingame, CA 94010


         King, Kristian S.
         2013 Sancerre Ln
         Carrollton, TX 75007


         Kinloch, Tim A.
         4994 Black Falcon Way
         Sun Valley, NV 89433


         KlientBoost Performance, LLC
         Van Nelleweg 1 3044
         BC Rotterdam


         KlientBoost, LLC
         2787 Bristol St
         Costa Mesa, CA 92626


         Knight Agency, Inc.
         P.O. Box 405176
         Atlanta, GA 30384-5176
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 138 of 157




         Knights of Security
         2418 Auto Park Way
         Escondido, CA 92029


         Koclanes, Saiya Z.
         5565 East Yale Ave
         Apt 4
         Denver, CO 80222


         Korth, Katie E.
         315 South Pope St
         Apt 6
         Athens, GA 30605


         Kosulin, Igor V.
         1367 Oslo Ln
         San Jose, CA 95118


         Largo, Gerson A.
         20702 Grove Park Pl
         Hayward, CA 94541


         Larrabee Albi Coker, LLP
         P.O. Box 919016
         San Diego, CA 92191-9016


         Lauren McCaully Patch
         P.O. Box 405176
         Atlanta, GA 30384-5176


         Law Office of Stacy J. Grossman
         500 Mamaroneck Ave
         Suite 320
         Harrison, NY 10528


         Lesters, Joseph
         25819 Ross St
         Plainfield, IL 60585


         Levi, Ronen
         120 Peaceable Hill Rd
         Brewster, NY 10509
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 139 of 157




         Li, Elizabeth Y.
         9 Ben Lomond
         Hercules, CA 94547


         Life Trucks, Inc.
         Toyota/Nationwide Lift Trucks, Inc.
         3900 N. 28th Terrace
         Hollywood, FL 33020-1105


         Lindsey Solden Reiser DBA LMSR LLC
         6073 Horseshoe Bend Road
         Ludlow Falls, OH 45339


         Linkator Group, LLC
         2570 North First Street Suite 500
         San Jose, CA 95131


         Linkedin
         601 Lexington Ave 31st Floor
         New York, NY 10022


         Lirik, Inc
         1525 McCarthy Blvd
         Suite 228
         Milpitas, CA 95035


         Lite on Singapore PTE Ltd
         1020 Crews Rd., Suite K
         Matthews, NC 28105


         Lite-On Technology Corp
         90, Chien 1 Road
         Chung Ho New Taipei City


         LMS Technologies, Inc
         P.O. Box 24185
         Edina, MN 55424-0185


         Lob
         210 King St
         San Francisco, CA 94107


         Loctek Inc. (Flexispot)
         6475 Las Positas Rd
         Livermore, CA 94551
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 140 of 157




         Lojistic, LLC
         1225 Deer Valley Dr
         Suite 201
         Park City, UT 84060


         Lombardo, Betty G.
         1491 Crooked Stick Loop
         Lakeland, FL 33801


         Longs Peak Digital, LLC
         21 Garner Ln
         Erie, CO 80516


         Louie, Kai A.
         206 Johnce Rd
         Newark, DE 19711


         Luis Lopez
         PO Box 677973
         Dallas, TX 75267-7973


         Lumanlan, Khyle
         2025 Yankee Ct
         San Leandro, CA 94579


         Lunya
         1032 Broadway
         Santa Monica, CA 90401


         Mack Molding Company, Inc
         608 Warm Brook Rd
         Arlington, VT 05250


         Macy's Marketplace, LLC
         145 Progress Pl
         Cincinnati, OH 45246-1717


         Manz AG
         Steigäckerstrasse 5
         72768 Reutlingen
         Germany
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 141 of 157




         Marbury Law Group
         11800 Sunrise Valley Dr
         Floor 15
         Reston, VA 20191


         Marks, John A.
         3732 Mott Rd
         Dover, FL 33527


         Martinez, Flor E.
         2917 Wheeler St
         Bartow, FL 33830


         Mary Frances Pierson Brizz
         P.O. Box 405176
         Atlanta, GA 30384-5176


         Materials, Inc.
         4244 South Market Court Suite D
         Sacramento, CA 95834


         Mathew, George
         150 Sabine St
         413
         Houston, TX 77007


         Mattio Communications
         4515 Waldo Ave
         Bronx, NY 10471


         McGarrity, Elizabeth A.
         12 Calle La Espalda
         San Clemente, CA 92673


         McMaster Carr Supply
         600 North County Line Rd
         Elmhurst, IL 60126


         MDT Agency
         461 Bush St
         Suite 350
         San Francisco, CA 94108
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 142 of 157




         Mediant Communications Inc.
         PO Box 677973
         Dallas, TX 75267-7973


         MERR Consulting Group
         6708 Lipscomb Dr
         Wilmington, NC 28412


         Meta Platforms, Inc
         Facebook, Inc
         Attn: Accounts Receivable
         15161 Collections Center Dr
         Chicago, IL 60693


         Meta Platforms, Inc
         1601 Willow Rd
         Menlo Park, CA 94025


         MethodSense Inc.
         Russ King
         One Copley Parkway Ste 410
         Morrisville, NC 27560


         Milavsky, Sonia
         2815 Sunbury Dr
         Jupiter, FL 33458


         Mirriad, Inc
         96 Great Suffolk St
         London, SE1 0BE
         England


         MisterBit Ltd
         4 HaBonim St
         Ramat Gan, Israel


         MNTN Digital, Inc
         823 Congress Ave
         #182
         Austin, TX 78768


         Mohapatra, Jeotikanta
         19419 Via Del Mar
         207
         Tampa, FL 33647
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 143 of 157




         MoP/Modern
         24700 Center Ridge Road Suite 280
         Westlake, OH 44145


         Muir Sustainability Solutions, LLC
         78 Harbor Rd
         Oyster Bay, NY 11771


         Muro-Small, Maria L.
         4020 Prima Lago Cir
         Lakeland, FL 33810


         Murodshoev, Timur
         2 Kingwood Rd
         Oakland, CA 94619


         Narayana Rao, Nagaraj
         37923 Bright Common
         Fremont, CA 94536


         Narvar, Inc
         50 Beale St
         7th Floor
         San Francisco, CA 94105


         Nasdaq, Inc
         Nasdaq Corporate Solutions, LLC
         151 West 42nd St


         Navarrete, Edgar W.
         8 Stowa Way
         Daly City, CA 94014


         Near Future, LLC
         2954 Treat Blvd
         Suite F
         Concord, CA 94518


         Neighborhood Goods, Inc
         1321 Upland Dr
         PMB 19236
         Houston, TX 77043
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 144 of 157




         New Vision Display, Inc
         1430 Blue Oaks Blvd
         Suite 100
         Roseville, CA 95747-5156


         NexGen IOT Solutions, LLC
         450 Century Pkwy
         Suite #250
         Allen, TX 75013


         Nicholas DeAngelis
         552 Freedom Blvd
         West Brandywine, PA 19320


         Nicolay, Matthew W.
         625 Clearfield Dr
         Millbrae, CA 94030


         Nicole M. Fiore
         215 Marlberry Circle
         Jupiter, FL 33458


         Nookncranny, LLC dba Nook Tiny Homes
         22111 Hwy 71 West, Suite 801
         Spicewood, TX 78669


         Nova Module
         7901 Oakport St #4250
         Oakland, CA 94621


         Nunez, Jose E.
         5028 Elon crescent
         Lakeland, FL 33810


         Office of Attorney General
         State of Florida
         The Capitol PL-01
         Tallahassee, FL 32399-1050


         Oracle
         500 Oracle Pkwy
         Redwood City, CA 94065
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 145 of 157




         Oracle America, Inc
         2300 Oracle Way
         Austin, TX 78741


         Ossentjuk & Botti
         2815 Townsgate Rd
         Suite 320
         Westlake Village, CA 91361


         Ouraring Inc.
         c/o WeWork
         415 Mission St, 37th Floor
         San Francisco, CA 94105


         Packform USA LLC
         3802 Spectrum Blvd, Suite # 143
         Tampa, FL 33612


         Palacio, Henry A.
         381 Almansa St
         Davenport, FL 33837


         Paramount Financial Communications, Inc.
         1001 Conshohocken State Rd, #600
         West Conshohocken, PA 19428


         Patch, Ryan M.
         2172 Queen Palm Rd
         Boca Raton, FL 33432


         Patel, Margi B.
         1918 Garden Bing Cir
         San Jose, CA 95131


         Pathens, Inc. DBA Office Solutions
         735 Coleman Ave
         San Jose, CA 95110


         Paylocity
         1400 American Ln
         Schaumburg, IL 60173


         Peck, Tabitha S.
         9777 Osceola St
         Westminster, CO 80031
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 146 of 157




         Pepperjam, LLC
         2125 Delaware Ave, Ste E
         Santa Cruz, CA 95060


         Persistent Systems Limited
         Bhageerath, 402, Senapati Bapat Road
         Maharashtra State, Pune 411016
         India


         Photon Interactive Services, Inc.
         12300 Ford Road, Ste #B270
         Dallas, TX 75234


         Plan Management Corp
         78 Harbor Road
         Oyster Bay, NY 11771


         PowerReviews
         1 North Dearborn
         Suite 800
         Chicago, IL 60602


         PricewaterhouseCoopers, LLP
         4040 West Boy Scout Blvd
         Tampa, FL 33607


         PrideBites
         Danielle Lotz
         3616 Far West Blvd
         Suite 117-356
         Austin, TX 78731


         Prime Group
         16192 Coastal Hwy
         Lewes, DE 19958


         PTTOW! LLC
         21 Alton Rd
         Miami Beach, FL 33140


         Puljan, Meredith M.
         1645 West Huron St
         Apt 3F
         Chicago, IL 60622
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 147 of 157




         Quintana, Brian R.
         15290 West 50th Dr
         Golden, CO 80403


         Ravacan
         1600 East Franklin Avenue Suite D
         El Segundo, CA 90245


         Raymond Cromwell
         9407 Super Street
         Waldorf, MD 20603


         Raymond Handling Consultants, LC
         P.O. Box 865491
         Orlando, FL 32886


         Raymond Leasing Corporation
         Corporate Headquarters
         PO Box 130
         Greene, NY 13778


         Raymond Leasing Corporation
         Attn: Accounts Receivable
         PO Box 130
         Greene, NY 13778


         Recharge Inc.
         1507 20 St.
         Santa Monica, CA 90404


         Recycling Services of Florida
         3560 126th Ave North
         Clearwater, FL 33762


         Republic Services of Florida
         8595 Pelam Road, Suite 400 #318
         Greenville, SC 29615


         Rickert, Darin S.
         2950 North Sheridan Rd
         804
         Chicago, IL 60657
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 148 of 157




         Ritankar Pal
         225 Down Path
         Southampton, NY 11968


         Riveron Consulting, LLC
         2515 McKinney Ave
         Suite 1200
         Dallas, TX 75201


         RK Strategies, LLC
         1405 Baychester Ave


         Ryan Patch, ESQ
         2172 Queen Palm Rd
         Boca Raton, FL 33432


         Ryan Tyler
         1711 West Community Dr
         Jupiter, FL 33458


         Saba Faruqui
         c/o Rudy, Exelrod, Zieff & Lowe, LLP
         351 California Street, Ste 700
         San Francisco, CA 94104


         Safety Products, Inc
         3517 Craftsman Blvd
         Lakeland, FL 33803


         Salesforce, Inc.
         Salesforce Tower
         415 Mission St, 3rd FL
         San Francisco, CA 94105


         Salesforce.com, Inc
         415 Mission St
         3rd Floor
         San Francisco, CA 94105


         Salman Abdallah Mohamed Hassan Saifedeen
         Dept CH 19228
         Palatine, IL 60055-9228
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 149 of 157




         Samantha Hermann
         16018 Ames Ave
         Omaha, NE 68111


         San Diego Model Management Inc.
         760 Market Street, Floor 10
         San Francisco, CA 94102


         Sanabria, David F.
         4305 Forest Hills Dr
         Lakeland, FL 33813


         Savaram, Shashwathi Rao
         2700 East Grand Reserve Cir
         Apt 1034
         Clearwater, FL 33759


         SCHOX, PLC
         500 3rd St
         Suite 215
         San Francisco, CA 94107


         Schraner, Danielle M.
         2811 California St
         14
         San Francisco, CA 94115


         SEC Headquarters
         100 F Street, NE
         Washington, DC 20549


         Securities and Exchange Commission
         801 Brickell Ave., Suite 1800
         Miami, FL 33131


         Sensrion
         3251 W 135th St
         Hawthorne, CA 90250


         Sering, Glenn C.
         1650 Highland Blvd
         Bartow, FL 33830
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 150 of 157




         Shanks, Yelizaveta B.
         5343 Maui Way
         Fair Oaks, CA 95628


         Shivan Bassaw
         c/o Ian Piasecki, Esq.
         Mizrahi Kroub, LLP
         225 Broadway, FL 39
         New York, NY 10007


         Shopify Inc.
         151 O'Connor St, Ground Floor
         Ottawa, ON K2P2L8


         Shred Connect
         760 E Lambert, Unit B
         La Habra, CA 90631


         Sigma-Aldrich, Inc
         3050 Spruce St
         Saint Louis, MO 63103


         Silicon Valley Bank, a Division of
         First Citizens Bank and Trust
         3003 Tasman Dr, HF150
         Santa Clara, CA 95054


         Singh, Avtar
         10310 Venitia Real Ave
         203
         Tampa, FL 33647


         Sisco, Joshua S.
         4215 Southeast Yamhill St
         Portland, OR 97215


         Sjoberg, Shea B.
         P.O. Box 3575
         Idyllwild, CA 92549


         Small, Roderick L.
         2868 Barton Pl
         Bartow, FL 33830
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 151 of 157




         ST Micro
         2 Radcliff Road
         Tewksbury, MA 01876


         Staples Contract & Commercial, LLC
         d/b/a Staples Business Advantage
         P.O. Box 105748
         Atlanta, GA 30348-5748


         Steve Elster
         8595 Pelam Road, Suite 400 #318
         Greenville, SC 29615


         Steve O. Small
         4020 Prima Lago Cir
         Lakeland, FL 33810


         Steven Cervantes
         500 Lynbrook Drive
         Pacifica, CA 94044


         Stufflebeam, Adam H.
         888 Biscayne Blvd
         Miami, FL 33132


         Supermetrics Inc.
         1175 Peachtree St NE
         Atlanta, GA 30361


         Synergy North America, Inc
         11001 West 120th Ave
         Suite 400,
         Broomfield, CO 80021


         Talend, Inc.
         7220 W 98th Terrace
         Overland Park, KS 66212


         Talend, Inc.
         800 Bridge Pkwy #200
         Redwood City, CA 94065
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 152 of 157




         Tamonan Wendell
         Rm 15AA-2, No. 528
         Wensin South 3rd Road, Nantun District
         Taichung City 40855 - Taiwan


         Tampa Bay Technology Incubator
         Attn: Director, Business Incubation
         3802 Spectrum Blvd, Suite 100
         Tampa, FL 33612


         Taylor, Brett A.
         245 Indian Peaks Dr
         Erie, CO 80516


         TBC Supply
         732 Joseph E Lowery Blvd. NW
         Atlanta, GA 30318


         Tealium, Inc
         9605 Scranton Rd
         Suite 600
         San Diego, CA 92121


         Tella, Rao R.
         16900 Stonehaven Dr
         Village of Loch Lloyd, MO 64012


         TELUS International (US) Corp
         TELUS Customer Payments
         2251 South Decatur
         Las Vegas, NV 89102


         Thammaiah, Namitha K.
         1001 Tahiti Ln
         Alameda, CA 94502


         The Bluebird Group, LLC
         81 South 9th St
         Suite 420
         Minneapolis, MN 55402


         The Dog Agency, LLC
         135 Madison Ave
         5th Floor
         New York, NY 10016
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 153 of 157




         The EMC Shop
         Dept CH 19228
         Palatine, IL 60055-9228


         The Flip Hubb, LLC
         1265 Sand Hill Rd
         Candler, NC 28715


         The Pooch Coach
         7220 W 98th Terrace
         Overland Park, KS 66212


         The Quality Edit, LLC
         113 North San Vicente Blvd
         Suite 236
         Beverly Hills, CA 90211


         The Ruthvens
         41 Lake Morton Drive
         PO Box 2420
         Lakeland, FL 33806-2420


         The Univerity of South Florida
         Board of Trustees
         4202 East Fowler Ave
         Tampa, FL 33620


         The Yocca Law Firm, LLP
         18881 Von Karman Ave
         Suite 1620
         Irvine, CA 92612


         Theodore Sage Davis
         102 N Glassell St
         Orange, CA 92866


         Thermo Fisher Scientific Chemicals Inc.
         9605 Scranton Rd Ste 600
         San Diego, CA 92121


         ThinkLite
         117 West Central St
         Suite 201
         Natick, MA 01760
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 154 of 157




         Thompson, Jimmy
         18660 Southeast River Ridge Rd
         Tequesta, FL 33469


         Thorncrest Coastal, LLC
         1310 Rosecrans St
         Suite C
         San Diego, CA 92106


         Thorpe, Christopher
         331 Greens Edge Dr
         Chesapeake, VA 23322


         TikTok, Inc
         5800 Bristol Pkwy
         Suite 100
         Culver City, CA 90230


         Timothy L. Buys
         1524 1st Ave #503
         Oakland, CA 94606


         Toney, Regina J.
         5026 Long Lake Cir
         Apt 303
         Lakeland, FL 33805


         Toppan Merrill
         P.O. Box 74007295
         Chicago, IL 60674


         Toyoplas
         117 W Central Street, Suite 201
         Natick, MA 01760


         Trinity Capital Inc.
         3075 West Ray Road, Suite 525
         Chandler, AZ 85226


         Trinity Capital, Inc.
         3075 West Ray Road
         Chandler, AZ 85226
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 155 of 157




         Troy Cromwell
         12823 Ilderton Drive
         Humble, TX 77346


         Truckenbrod, Lukas R.
         172 46th St
         Pittsburgh, PA 15201


         Tyler, Ryan
         1711 West Community Dr
         Jupiter, FL 33458


         UCPS
         18881 Von Karman Ave, Suite 1620/650
         Irvine, CA 92612


         UL, LLC
         75 Remittance Dr
         Suite #1524
         Chicago, IL 60675-1524


         Uline
         P.O. Box 88741
         Chicago, IL 60680-1741


         Unified Accounting & Tax, LLP
         1308 Wisteria Dr
         Fremont, CA 94539


         United States Attorney General's Office
         US Department of Justice
         950 Pennsylvania Avenue
         Washington, DC 20530-0001


         University of South Florida
         Research Foundation
         445 Cole Street # 3
         San Francisco, CA 94117


         Valdez, Chris P.
         615 West 6th Ave
         Fort Morgan, CO 80701
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 156 of 157




         Vallarta, Annabelle L.
         2831 Blossom Ct
         El Monte, CA 91733


         Valuecart Private Limited
         1075 Curtis Street
         Menlo Park, CA 94025


         Vanessa N. Graham
         19993 Questhaven Rd
         Escondido, CA 92029


         VanScoy, Shari A.
         313 Sparrow Ave
         Sebring, FL 33870


         Velasco, Hans
         146 La Verne Ave
         Long Beach, CA 90803


         Well Shin
         14118 Pemberley Passage Ave
         Bakersfield, CA 93311


         White, Claire A.
         1219 Knob Hill Blvd
         Georgetown, IN 47122


         Wickramaratne, Chatura
         5100 Burchette Rd
         Unit 606
         Tampa, FL 33647


         Williams, Jeremiah H.
         8032 Sugar Pine Blvd
         Lakeland, FL 33810


         Wrike, Inc.
         P.O. Box 660916
         Dallas, TX 75266-0916


         Wursta Corporation
         2614 South 5th St
         Allentown, PA 18103
Case 23-18093-MAM   Doc 1   Filed 10/03/23   Page 157 of 157




         Yellow Logistics
         P.O. Box 775556
         Chicago, IL 60677-5556


         Young, Lydia
         10381 Farmland Dr
         Frisco, TX 75035


         Younus, Kamran
         6 Hallmark Gardens
         Apt 1
         Burlington, MA 01803


         Zendesk, Inc
         1019 Market St
         San Francisco, CA 94103


         Zoom Video Communications Inc.
         55 Almaden Blvd, 6th FL
         San Jose, CA 95113
